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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

AMBER WOOD, GUY WEST, NICK
GIZZARELLI, ROBERT & DEBORAH              Case No. 5:20-cv-11054-JEL-APP
JOHNSTON, MICHELLE SCHMID,
KYLE DAVIS, NATHANEAL                     District Judge Judith E. Levy
ROMANCHUK, NICOLETTE
WATSON, DESIREE TARRO,                    Magistrate Judge Anthony P. Patti
THOMAS WEINER, REBEKAH
AAREN WRIGHT, CHERYL MILLER,
PAMELA ANDERSON, CATHERINE                  CONSOLIDATED MASTER
COPPINGER, CAREN CHRISTMAN,                     CLASS ACTION
KELLY JOHNSON, HOLLY KUNDEL,               COMPLAINT AND DEMAND
RYAN HALL, ROBERTO                             FOR JURY TRIAL
HERNANDEZ, KIMBERLY EAGER,
LUIS MUNOZ, SHERRI MCCALL,
JOSHUA CAPLES, MIKAELYN
MCDOWELL, KRISHAWN DURHAM,
KATIE KUCZKOWSKI, DANIELLE
COATES, KELSEY WILLIAMS,
DANIEL SCOTT, RYAN GRAHAM,
DANIEL MCGORREY, KAREN
BURKE, ROSALIND BURKS, HOLLY
HICKMAN, AMBER PORTUGAL,
MICHAEL SANCHEZ, ADAM DYER,
ARTEAL JORDAN, VIVIEN NAGY,
KATLYN WILLS, and TERA
CASTILLO, individually and on behalf
of all others similarly situated,

            Plaintiffs,

            v.

FCA US LLC,

            Defendant.
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       Plaintiffs Amber Wood, Guy West, Nick Gizzarelli, Robert & Deborah

 Johnston, Michelle Schmid, Kyle Davis, Nathaneal Romanchuk, Nicolette Watson,

 Desiree Tarro, Thomas Weiner, Rebekah Aaren Wright, Cheryl Miller, Catherine

 Coppinger, Pamela Anderson, Kelly Johnson, Caren Christman, Holly Kundel, Ryan

 Hall, Joshua Caples, Kimberly Eager, Luis Munoz, Roberto Hernandez, Sherri

 McCall, Mikaelyn McDowell, Krishawn Durham, Katie Kuczkowski, Danielle

 Coates, Kelsey Williams, Daniel Scott, Ryan Graham, Daniel McGorrey, Karen

 Burke, Rosalind Burks, Holly Hickman, Amber Portugal, Michael Sanchez, Adam

 Dyer, Arteal Jordan, Vivien Nagy, Tera Castillo, and Katlyn Wills (“Plaintiffs”)

 bring this action on behalf of themselves and all those similarly situated who

 purchased or leased any vehicle equipped with a 2.4L Tigershark MultiAir II Engine

 (the “Defective Vehicles”) manufactured and sold by FCA US LLC, formerly known

 as Chrysler Group LLC (“FCA” or “Defendant”). All allegations made in this

 Complaint are based on investigation of counsel, except those allegations that pertain

 to Plaintiffs, which are based on personal knowledge:

                                     INTRODUCTION

       1.     Car manufacturers have a responsibility to ensure that the vehicles they

 sell to consumers are safe and that they disclose material facts related to safety when

 they advertise. A car manufacturer violates this duty when it sells vehicles that,

 unbeknownst to drivers: (a) consume excessive engine oil so that oil pressure drops



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 too low before recommended oil changes; (b) to avoid engine damage when oil

 pressure drops too low, shut off during operation without warning; and (c) release

 excessive oil into the exhaust system causing vehicles to emit higher levels of toxic

 emissions that exceed relevant emissions standards. This is incredibly dangerous

 both to the individual driver and to public health as a whole. But this is exactly what

 happens with the Defective Vehicles. And when FCA was selling these vehicles it

 knew of these safety and emissions issues, knew they were material to a reasonable

 consumer, and failed to disclose these facts.

        2.    The Defective Vehicles contain several defects. One is a significant

 design and/or manufacturing defect in their engines that causes them to improperly

 burn off and/or consume abnormally high amounts of oil. As a result of this “Oil

 Consumption” defect, Defective Vehicles can shut down during the course of their

 normal operation—placing the occupants and surrounding vehicles at an increased

 risk of serious injury and death. Indeed, FCA has expressly acknowledged in other

 unrelated safety recalls that “an engine stall could cause a crash without prior

 warning.”1

        3.    The second defect arises because the sudden shutoffs caused by the Oil

 Consumption defect could be avoided if FCA’s oil indicator system alerted drivers


    1
      Exhibit 1, Important Safety Recall T65/NHTSA 17V-670, available at
 https://static.nhtsa.gov/odi/rcl/2017/RCONL-17V670-2523.pdf (last visited Oct.
 14, 2020).

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 of the Defective Vehicles that their engine oil was running low. But it does not. And

 this “Oil Indicator” defect means that drivers of the Defective Vehicles only become

 aware of a dangerously low engine-oil level after it causes an engine stall or shut-

 down, putting their lives at risk. Indeed, the Defective Vehicles shut down without

 warning when FCA’s oil change indicator does not yet recommend an oil change.

       4.     The third defect arises as follows. The Oil Consumption defect causes

 excess oil to enter into the Defective Vehicles’ exhaust systems. Oil in the exhaust

 systems will compromise the oxygen (O2) sensors and the catalytic converter which

 converts the harmful emissions produced during the combustion process into less

 harmful gases. As a result of this “Excess Emissions” defect, Defective Vehicles

 have been emitting harmful emissions at levels that, unknown to the consumer, are

 in excess of state and federal regulations. Consumers were completely unaware as

 there was no indication of the Excess Excess Emissions defect until FCA has

 recently disclosed in an SEC filing that “[i]n connection with internal testing, we

 determined that approximately 1 million vehicles equipped with the 2.4L Tigershark

 engine may have excess tailpipe emissions.” At no time has FCA informed class

 members of this issue.

       5.     FCA has long known about the Oil Consumption and Oil Indicator

 defects, as hundreds of Defective Vehicle owners and lessees have reported

 instances of their vehicles shutting down without warning due to low oil levels



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 and/or pressure. FCA has long known about the Excess Emissions defect through its

 own pre-release testing of the Defective Vehicles Yet rather than being honest about

 these problems, FCA has not disclosed the three defects or engaged in efforts to

 conceal some of them by describing the excess oil consumption as “normal” in a

 technical service bulletin.

       6.      By characterizing the excessive oil consumption rate as “normal,” FCA

 has avoided the economic fallout that would inevitably result from recalling the

 millions of Defective Vehicles. As a result, Defective Vehicle owners must fend for

 themselves, attempting to have the defects diagnosed and repaired on their own or

 otherwise drive unsafe vehicles that could suffer from mechanical breakdown at any

 time, even while the car is travelling at full speed. And by not disclosing the Oil

 Consumption Defect at the point of sale, FCA was able to induce Plaintiffs and Class

 members to pay more for their vehicle than they would have if FCA had disclosed

 the defect.

       7.      The Oil Consumption and Oil Indicator defects pose a material safety

 risk to the operators and passengers of all Defective Vehicles. The dangers of

 excessive and/or abnormal oil consumption include increased mechanical breakdown

 and a resulting increase in the risk of injury or death. The Excess Emissions defect

 poses a grave risk to public health. Harmful emissions from internal combustion

 engines irritate the lungs causing cardiovascular problems and respiratory illnesses



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 such as asthma either of which can result in premature death. These emissions can

 react to form smog and acid rain as well as being central to the formation of fine

 particles (PM) and ground level ozone. Plaintiffs and many other class members have

 experienced the Oil Consumption, Oil Indicator, and Excess Emissions defects, and

 FCA continues to put owners and lessees of the Defective Vehicles and the public as

 a whole at risk by refusing to replace the Defective Vehicles.

        8.     The alleged defects not only threaten every passenger in a Defective

 Vehicle, but also, Consumers who purchased Defective Vehicles have been harmed

 by purchases they would not have made or paid as much for had they known the

 truth. FCA should be required to compensate consumers for its deceptive conduct

 and remedy these defects. Plaintiffs bring claims on behalf of themselves and all

 those similarly situated for FCA’s violation of the consumer protection laws of each

 of the fifty states.

                                      JURISDICTION

        9.     This Court has subject matter jurisdiction over this action under 28

 U.S.C. § 1332 because Plaintiffs and Defendant reside in different states. The Court

 has supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C.

 § 1367.

        10.    This Court also has original jurisdiction over this lawsuit pursuant to

 28 U.S.C. § 1332(a)(1), as modified by the Class Action Fairness Act of 2005,



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 because Plaintiffs and Defendant are citizens of different states; there are more than

 100 members of the Class (as defined herein); the aggregate amount in controversy

 exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Class

 members reside across the United States 28 U.S.C. § 1332(d)(1), (2). The citizenship

 of each party is described further below in the “Parties” section.

       11.    This Court has personal jurisdiction over FCA pursuant to 18 U.S.C.

 § 1965(b) & (d). This Court has personal jurisdiction over FCA because it has its

 principal place of business here, minimum contacts with the United States, this

 judicial district, and this State, and it intentionally availed itself of the laws of the

 United States and this state by conducting a substantial amount of business

 throughout the state, including the design, manufacture, distribution, testing, sale,

 lease, and/or warranty of FCA vehicles in this State and District. At least in part

 because of FCA’s misconduct as alleged in this lawsuit, the Defective Vehicles

 ended up on this state’s roads and in dozens of franchise dealerships.

                                            VENUE

       12.    Venue is proper in this Court under 28 U.S.C. § 1391 because FCA

 maintains its principal place of business in this District, because a substantial part of

 the events or omissions giving rise to Plaintiffs’ claims occurred in this District,

 including, inter alia, FCA’s decision-making, design, promotion, marketing, and

 distribution of the Defective Vehicles occurred in this District, and because



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 Defendant conducts a substantial amount of business in this District. Accordingly,

 Defendant has sufficient contacts with this District to subject Defendant to personal

 jurisdiction in the District and venue is proper. Venue is also proper under 18 U.S.C.

 § 1965(a) because FCA is subject to personal jurisdiction in this District, as alleged

 in the preceding paragraph, and FCA has agents located in this District. Thus, venue

 is proper in this District for all pre-trial or trial proceedings.

                                            PARTIES

        Plaintiffs

      1.      Arizona Plaintiff

                  a. Guy West

        13.    Plaintiff Guy West (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is an Arizona citizen and resident of Goodyear, Arizona. On or about

 July 10, 2019, Plaintiff purchased a 2018 Jeep Renegade (for purposes of this

 section, “Defective Vehicle”) from Chapman Jeep, an authorized FCA dealership

 located in Scottsdale, Arizona.

        14.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

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 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       15.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       16.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       17.    Approximately two weeks after Plaintiff purchased the Defective

 Vehicle, he checked the oil, noticed it was low, and added just under a quart. The

 same thing happened two weeks later. Since purchasing the Defective Vehicle,

 Plaintiff has had to add about ¾ quart of oil every two weeks.

       18.    Plaintiff told the FCA dealership he purchased the Defective Vehicle

 from that his vehicle consumes oil at an abnormally high pace. The dealership told



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 him this was “normal.” Plaintiff also asked the FCA dealership near his home about

 it and they told him it was “normal.” Plaintiff has owned a lot of vehicles over the

 years and has never had to add oil like this.

       19.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff continues to endure the expense and inconvenience of having to

 constantly add oil.

       20.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.




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      2.     California Plaintiffs

                 a. Nick Gizzarelli

       21.    Plaintiff Nick Gizzarelli (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a California citizen and resident of Brentwood, California. On or about

 November 1, 2018, he purchased a new 2019 Jeep Compass (for purposes of this

 section, his “Defective Vehicle”) from Stoneridge Chrysler Jeep Dodge RAM, an

 authorized FCA dealership located in Dublin, California.

       22.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       23.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in



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 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       24.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       25.    Plaintiff has delivered his vehicle to an authorized FCA dealership four

 times for diagnosis and repair. The FCA technician diagnosed the vehicle with low

 oil. When Plaintiff asked the dealership personnel about the oil consumption

 problem, the dealership said they were aware of the issue. The FCA technician added

 oil to the vehicle and directed Plaintiff to add oil at least every 1,000 miles.

       26.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace.

 Plaintiff contacted FCA directly and was told that he needed documentation to prove

 the problem. Plaintiff took his vehicle to the dealer the same day and they topped off

 the oil but would not give him any sort of documentation. The dealer also told

 Plaintiff that cars get towed in all the time due to the oil consumption problem.

       27.    Plaintiff submitted a complaint to NHTSA on January 16, 2020.

 Plaintiff’s complaint stated the following:

       2.4L MULTIAIR MOTOR BURNS OIL AT EXCESSIVE RATE. NEW CAR
       BURNS 1QT OF OIL PER 850 MILES. NO "LOW OIL" INDICATOR LIGHT.


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       WHEN LOW ON OIL, CAR STALLS, JOLTS, OR SHUTS OFF. STALL
       GENERALLY OCCURS WHEN TURNING AT LOW SPEEDS (LESS THAN 30
       MPH). SIGNIFICANT SAFETY HAZARD IF TURNING IN FRONT OF
       ONCOMING TRAFFIC. CAR WILL STALL IF DOWN 2 QUARTS.
       THEREFORE, IF YOU DO NOT REFILL OIL EVERY 1500 MILES, YOU RISK
       STALLING ON ROADWAYS. CURRENT VEHICLE HAS 26,000 MILES.
       NORMALLY ADD 5 QUARTS OF OIL BETWEEN SCHEDULED OIL
       CHANGES. STALLING HAS OCCURRED APPROXIMATELY 10 TIMES.
       TWO TIMES STALL OCCURRED IN INTERSECTION, ALMOST
       RESULTING IN HIGH SPEED COLLISION FROM OPPOSING TRAFFIC.

       28.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased his Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff specifically shopped for an FCA vehicle because he believed

 FCA’s broad advertising messaging that its vehicles were safe and reliable. None of

 the advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Michelle Schmid




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       29.    Plaintiff Michelle Schmid (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a California citizen and resident of California. On or about January

 26, 2018, she purchased a new 2017 Jeep Renegade (for purposes of this section,

 “Defective Vehicle”) from Moss Bros. Chrysler Dodge Jeep RAM, an authorized

 FCA dealership located in San Bernardino, California.

       30.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       31.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or



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 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       32.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       33.    In or around May 2018, Plaintiff’s vehicle stalled while traveling

 approximately 55 mph on a highway, presenting a serious risk of crashing. Plaintiff

 took the Defective Vehicle to Victorville Motors, an authorized FCA dealership,

 which discovered that the oil pan was completely empty.

       34.    A few months later, the Defective Vehicle stalled again while Plaintiff

 was driving, one again presenting a serious safety risk. The dealership had Plaintiff

 return after 1,000 miles in order to perform an oil consumption test. When Plaintiff

 returned, the dealer said that some oil consumption was normal. Nevertheless, they

 told Plaintiff that she would need to change her oil every 4,000 miles and check her

 dipstick whenever refilling her gas tank.

       35.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace.

 Plaintiff has continued to complain about the oil consumption issue during her

 subsequent oil changes but has received no additional repair or assistance. Plaintiff

 fears the Defective Vehicle will stall again and continues to endure the expense and

 inconvenience of more frequent than expected oil changes.



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       36.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 c. Robert and Deborah Johnston

       37.    Plaintiffs Robert and Deborah Johnston (for purposes of this Plaintiff’s

 allegations, “Plaintiffs”) are California citizens and residents of Hughson,

 California. On or about May 5, 2018, Plaintiffs purchased a new 2018 Jeep Cherokee

 (for purposes of this section, “Defective Vehicle”) from Central Valley Automotive,

 an authorized FCA dealership located in Modesto, California.




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       38.    Unknown to Plaintiffs at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       39.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       40.    Since purchasing the Defective Vehicle, Plaintiffs have experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.



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       41.    For example, commencing at or around 10,000 miles, the Defective

 Vehicle began intermittently stalling. Further, in or around August 2019, only a few

 months after their most recent oil change, the Defective Vehicle lost power several

 times. Finally, while Ms. Johnston was driving, the engine completely died in the

 middle of traffic. She was able to restart the Defective Vehicle and drive to work.

 However, the Defective Vehicle died again the following day.

       42.    On or around August 31, 2019, when the engine in Plaintiffs’ vehicle

 failed to start entirely. Plaintiffs had to have the Defective Vehicle towed to Central

 Valley Automotive dealership for diagnosis and repair. The FCA technician

 diagnosed the Defective Vehicle with low oil and performed an oil change ahead of

 schedule, even though the engine oil in Plaintiffs’ vehicle had just been “topped off”

 by the dealership just a month earlier. Both this “topping off” of oil and the oil

 change that the dealership performed on this visit were entirely ineffective at

 resolving the problem. During this visit, the dealership personnel conducted an oil

 change ahead of schedule. The FCA US dealership personnel informed Plaintiffs

 that the vehicle has abnormally high oil consumption and that Plaintiffs would need

 to add oil supplements frequently, even between their regularly scheduled oil

 changes, to prevent the Defective Vehicle from continuing to spontaneously stall.




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        43.    Plaintiffs’ vehicle continues to consume oil at an abnormally high pace.

 Plaintiffs fear the Defective Vehicle will stall again and continue to endure the

 expense and inconvenience of more frequent than expected oil changes.

        44.    FCA never told Plaintiffs about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiffs purchased the

 Defective Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle

 would be reliable and safe and would retain all of its operating characteristics

 throughout its useful life. Plaintiffs chose an FCA vehicle because Plaintiffs believed

 FCA’s broad advertising messaging that its vehicles were safe and reliable. None of

 the advertisements reviewed or representations received by Plaintiffs contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiffs to pay out-of-pocket costs, including

 repair costs, Plaintiffs would not have purchased the Defective Vehicle or would

 have paid less for it.

      3.      Florida Plaintiffs

                  a. Nicolette Watson

        45.    Plaintiff Nicolette Watson (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Florida citizen and resident of Pinellas County, Florida. On or about

 June 17, 2018, she purchased a 2018 Jeep Compass (for purposes of this section,



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 “Defective Vehicle”) from Airport Chrysler Dodge Jeep Ram, an authorized FCA

 dealership located in Orlando, Florida.

       46.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       47.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.




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       48.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       49.    On at least five occasions, Plaintiff’s Defective Vehicle has stalled

 while Plaintiff has been driving it. Plaintiff has called Airport Chrysler Dodge Jeep

 three times to obtain information about how to address the stalling. However, each

 time Plaintiff has called the dealership, Plaintiff is advised that there is nothing they

 can do about the issue and that it is not a known problem, so she should simply add

 more oil.

       50.    On or about February 18, 2020, Plaintiff took the Defective Vehicle to

 Airport CDJR for a routine oil change. At the time, the Defective Vehicle’s mileage

 was approximately 16,400 miles. At this oil change, Plaintiff again asked the dealer

 about the frequent need for oil, and she was again advised to “keep adding more oil.”

       51.    Thereafter, on or about April 20, 2020, Plaintiff’s Defective Vehicle

 stalled again and required a quart-and-a-half of oil.

       52.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace.

 Plaintiff fears the Defective Vehicle will stall again and continues to endure the

 expense and inconvenience of more frequent than expected oil changes.

       53.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective



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 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Kyle Davis

       54.    Plaintiff Kyle Davis (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Florida citizen and resident of Fort Walton Beach, Florida. On or

 about April 10, 2018, Plaintiff purchased a 2015 Dodge Dart (for purposes of this

 section, “Defective Vehicle”) from Carvana in Fort Walton Beach, Florida.

       55.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a



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 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       56.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       57.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       58.    Plaintiff replaced the spark plugs for the Defective Vehicle after less

 than 800 miles because the Defective Vehicle kept shutting down on him. When

 Plaintiff checked the oil, he noticed the dipstick was completely dry and had to use

 three quarts of oil to refill it. In November 2019, Plaintiff was driving 60 miles per



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 hour on the freeway when the Defective Vehicle shut down on him without warning.

 This was particularly dangerous because the other vehicles on the freeway also had

 no warning that the Defective Vehicle would suddenly slow down.

       59.    Plaintiff delivered the Defective Vehicle to an authorized FCA

 dealership in Fort Walton Beach, Florida, for engine repairs and the vehicle was

 there for four weeks. The FCA dealership refused to provide Plaintiff with a loaner

 vehicle while his vehicle was being repaired. Plaintiff paid more than $4,000 to

 repair the Defective Vehicle’s engine.

       60.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       61.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and



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 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 c. Nathaneal Romanchuk

       62.    Plaintiff Nathaneal Romanchuk (for purposes of this Plaintiff’s

 allegations, “Plaintiff”) is a Florida citizen and resident of Florida. On or about

 December 15, 2018, Plaintiff purchased a new 2019 Jeep Renegade (for purposes of

 this section, “Defective Vehicle”) from Phillips Chrysler Jeep Dodge Ram, which is

 an authorized FCA dealership in Ocala, Florida.

       63.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.




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       64.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       65.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       66.    On or about February 1, 2019, Plaintiff’s vehicle stalled out while his

 wife was driving it. Shortly thereafter, Plaintiff presented his vehicle to the

 dealership and they discovered that the oil pan was completely empty. The Defective

 Vehicle had 3,000 miles on it at this time and no dashboard notification had alerted

 him that the oil was low.

       67.    The dealership had him return after 1,500 miles in order to perform an

 oil consumption test. When he returned, the dealership personnel said that some oil

 consumption was normal. Nevertheless, they told Plaintiff that he would need to




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 change his oil every 4,000 miles and check his dipstick whenever refilling his gas

 tank.

         68.   Plaintiff continued to complain about the oil consumption issue during

 his subsequent oil changes but did not receive any additional repair or assistance for

 his vehicle. During this time, his car stalled again when the vehicle’s odometer was

 around 12,000 miles.

         69.   Out of fear that his vehicle would stall again, Plaintiff traded his vehicle

 in for a 2020 Jeep Renegade, which he believed would not suffer from the same

 defects. However, since purchasing his new vehicle, it has begun apparent the new

 vehicle also suffers from these defects.

         70.   FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair



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 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      4.     Idaho Plaintiff

                 a. Desiree Tarro

       71.    Plaintiff Desiree Tarro (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Idaho and resident of Kooskia, Idaho. In or around August

 2019, Plaintiff purchased a 2018 Jeep Renegade (for purposes of this section,

 “Defective Vehicle”) from Wysup Chrysler Jeep Dodge Ram, an authorized FCA

 dealership in Pullman, Washington.

       72.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.




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       73.   Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       74.   Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       75.   Plaintiff first began to experience issues with the Defective Vehicle

 several months after purchasing it from Wysup Chrysler. She first noticed that, when

 coming to a stop, the engine began to make unusual noises that sounded like it was

 turning off, rather than idling. The Defective Vehicle would return to functioning

 normally when Plaintiff began to accelerate.

       76.   After Plaintiff had driven the Defective Vehicle about 10,000 miles, the

 vehicle began to shut down completely or fail to start. On a number of occasions,

 Plaintiff was forced to borrow a vehicle or be driven to work because the Defective

 Vehicle’s engine would not start.



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       77.    On four separate occasions, the Defective Vehicle shut off completely

 while either Plaintiff or her fiancée were driving. On three of those occasions, her

 children were in the vehicle. Each time, while driving the Defective Vehicle around

 a corner, the low oil pressure light turned on, the power steering suddenly locked up,

 and the vehicle shut itself off.

       78.    On the fourth occasion that the Defective Vehicle shut itself off,

 Plaintiff was forced to leave the vehicle in the middle of the road on a blind corner

 and return to her home on foot to get assistance.

       79.    The day after the Defective Vehicle stalled in the middle of the road,

 Plaintiff was driving around a corner when the low oil pressure light became

 illuminated. Plaintiff immediately stopped to check the oil level and found that it

 was almost completely empty, despite the fact that she added a quart of oil less than

 500 miles prior.

       80.    When the issues with the Defective Vehicle first developed, Plaintiff

 began to regularly check her oil level and take the Defective Vehicle to have its oil

 filled. However, Plaintiff did not realize that the oil consumption of the vehicle was

 irregular. Nor did she connect the oil consumption of the Defective Vehicle to the

 issues with the Defective Vehicle failing to start or shutting down until after the

 fourth incident. After the fourth shutdown, when her low oil pressure light again

 illuminated while she was driving around a corner, Plaintiff returned to Napa



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 Automotive to have her oil filled and found that the oil was almost completely gone,

 despite having only driven 500 miles since last filling the Defective Vehicle with

 oil. At that time, the mechanic refilling the Defective Vehicle’s oil commented to

 Plaintiff that the oil consumption the Class Vehicle was experiencing was abnormal.

 Plaintiff estimates that she filled the Defective Vehicle with over ten quarts of oil

 over a period of several months.

       81.    Soon thereafter, Plaintiff presented the Vehicle to Wysup Chrysler to

 diagnose the cause of the shutdowns and excessive oil consumption. According to

 the maintenance technicians, the engine’s seals were not lined up correctly and the

 engine needed to be completely replaced.

       82.    Since replacing the engine, Plaintiff has driven approximately 5,000

 miles and had to fill the Defective Vehicle with three quarts of oil. Plaintiff has had

 to add over thirteen quarts of oil to the Defective Vehicle outside of normal service

 intervals since purchasing it in August 2019. This was all in order to prevent it from

 stalling and shutting down without warning, despite never being alerted by the

 Defective Vehicle’s oil indicator system that the Defective Vehicle was low on oil

 outside of the alerts immediately preceding a shutdown.

       83.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again. Plaintiff continues to endure

 the expense and inconvenience of more frequent than expected oil changes.



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       84.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

     5.      Illinois Plaintiffs

                  a. Amber Wood

       85.    Plaintiff Amber Wood (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is an Illinois citizen and resident of Aurora, Illinois. On or about

 November 18, 2018, Plaintiff purchased a 2018 Jeep Compass (for purposes of this

 section, “Defective Vehicle”) from Bettenhausen Chrysler Dodge Jeep RAM, an

 authorized FCA dealership in Tinley Park, Illinois.



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       86.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       87.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       88.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.



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        89.    In fact, only a few weeks after purchasing the Defective Vehicle,

 Plaintiff was driving the vehicle to work and while she was making a left turn, it shut

 off and would not move. Plaintiff called her father because he is a mechanic and he

 told her to keep trying to turn it back on. Plaintiff was finally able to get the Defective

 Vehicle to start and drove it to her nearby home. Once she was home, Plaintiff called

 the dealership. The dealership told her if she did not feel safe enough to drive it to

 the dealership, which was 35 minutes away, to have it towed for diagnosis and repair.

 The FCA technician said he was not sure what happened. FCA kept the Defective

 Vehicle for a couple of days then told Plaintiff that the vehicle was sucking down

 oil and needed a new motor. The engine was replaced. Recently, the oil change

 indicator light came on even though it had only been 2,000 miles since the last oil

 change.

        90.    Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

        91.    FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad



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 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                  b. Thomas Weiner

       92.    Plaintiff Thomas Weiner (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is an Illinois citizen and resident of Illinois. In or around February 2018,

 Plaintiff purchased a new 2018 Jeep Compass (for purposes of this section,

 “Defective Vehicle”) from Jack Phelan Chrysler Dodge Jeep Ram, an authorized

 FCA dealership in Countryside, Illinois.

       93.    Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with



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 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       94.    Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       95.    Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       96.    In early September 2019, while Plaintiff was driving to work in the

 morning, Plaintiff attempted a right turn at an intersection at a speed of less than 25

 mph. Suddenly, Plaintiff’s emergency brake engaged, his engine stalled, and

 Plaintiff lost the ability to accelerate his vehicle. Plaintiff was forced to drift his

 Defective Vehicle to the side of the road in order to avoid a collision.




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       97.    Only after his vehicle’s engine stalled did the Defective Vehicle’s

 instrument panel indicate that his engine oil was critically low. While Plaintiff was

 able to restore his engine’s power, unlock his emergency brake, and resume driving,

 his engine stall caused him to narrowly avoid crashing the vehicle. Later that same

 day, Plaintiff’s vehicle stalled again without warning.

       98.    Plaintiff brought the Defective Vehicle to the Jack Phelan dealership on

 September 9, 2019, where he informed the repair technician that his vehicle had

 stalled without warning, requested a repair under warranty, and was informed by the

 technician that his engine cutoff was caused by his vehicle being 2 ½ quarts low on

 engine oil. The technician refilled the engine oil and directed Plaintiff to return his

 vehicle in 1,000 miles for further testing. At that point, Plaintiff’s vehicle had

 accumulated just 23,574 miles and he had owned his Defective Vehicle for less than

 two years. Plaintiff was charged $48.00 to replenish the Defective Vehicle’s oil in

 order to begin the “oil consumption test.”

       99.    Plaintiff returned the Defective Vehicle to the dealership on October 3,

 2019, when the vehicle had registered 24,568 miles. Although the Defective Vehicle

 had accumulated less than 1,000 miles since his last engine oil refill, he was

 informed that the vehicle had burned through another 2 quarts of oil, and he was

 directed to return in another 1,000 miles. His Defective Vehicle was burning through

 a quart of oil approximately every 500 miles.



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       100. Within a mere 994 miles, Plaintiff’s engine oil had descended below

 the threshold Defendant designates as safe, rendering his vehicle at risk of sudden

 engine stalling without warning. Exacerbating the danger is the fact that Plaintiff’s

 Oil Indicator Light and other engine oil monitors fail to engage prior to engine

 stalling and vehicle inoperability.

       101. Plaintiff returned his Defective Vehicle to the dealership a third time,

 on November 21, 2019, after his vehicle had registered 26,535 miles. The dealership

 determined that his engine oil levels were low, but again failed to provide any long-

 term repair and merely directed Plaintiff to return again in another 1,000 miles.

       102. Plaintiff returned his Defective Vehicle to the dealership a fourth time,

 on December 12, 2019, after the vehicle had registered 27,541 miles. The dealership

 again determined his vehicle’s oil engine levels were problematic, but failed, for the

 fourth time, to provide any actual repair for the Oil Consumption Defect.

       103. Plaintiff returned his Defective Vehicle to the dealership for a fifth

 time, on January 7, 2020, after the vehicle had registered 28,556 miles, for yet

 another test. The dealership again confirmed Plaintiff’s engine had burned nearly a

 quart of oil in 1,000 miles but failed to provide a repair.

       104. Only upon Plaintiff’s sixth attempt to obtain a repair did Defendant

 authorize an engine replacement. On February 4, 2020, six months after Plaintiff’s

 first complaint about the Oil Consumption Defect, Defendant’s authorized



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 dealership acknowledged that Plaintiff’s 2.4L Tigershark engine had suffered

 damage from the Oil Consumption Defect and may require replacement. On

 February 13, 2020, Plaintiff had his engine replaced. B

       105. Because of reports that replacement engines have continued to exhibit

 the Oil Consumption Defect, Plaintiff has been forced to expend time, money, and

 effort in monitoring his engine’s oil levels with increased frequency and accounting

 for the risks of engine stalling.

       106. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.



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      6.    Kansas Plaintiff

       a.   Rebekah Aaren Wright

       107. Plaintiff Rebekah Aaren Wright (for purposes of this Plaintiff’s

 allegations, “Plaintiff”) is a Missouri citizen and resident of Kansas City, Missouri.

 On or about March 26, 2016, Plaintiff purchased a 2016 Jeep Cherokee (for purposes

 of this section, “Defective Vehicle”) from Reed Jeep Overland Park, an authorized

 FCA dealership located in Overland Park, Kansas.

       108. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       109. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in



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 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       110. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       111. Plaintiff has had to have the Defective Vehicle towed multiple times to

 an FCA dealership because it shut off while stopped at a stop light. Each time they

 told Plaintiff the Defective Vehicle needed oil. The FCA mechanic told Plaintiff this

 was normal and it was her fault for not checking her oil at home. On October 29,

 2019, Plaintiff’s vehicle stalled while she was driving, presenting a serious safety

 risk. The Defective Vehicle was towed to Gladstone Jeep in Gladstone, Missouri ,

 discovered that the oil was 3.5 quarts low despite the fact that the Defective

 Vehicle’s oil had been changed not long ago. Gladstone Jeep kept Plaintiff’s

 Defective Vehicle for three days, did not provide her with a replacement vehicle,

 and charged Plaintiff $200 for service. On May 11, 2020, Plaintiff’s vehicle stalled

 again while Plaintiff was driving, once again presenting a serious safety risk. The

 Defective Vehicle was towed to Reed Jeep in Overland Park, Kansas, an authorized

 FCA dealership, discovered the oil pan was completely empty.



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       112.        Plaintiff’s vehicle continues to consume oil at an abnormally high

 pace and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues

 to endure the expense and inconvenience of having to have the vehicle towed to the

 dealership.

       113. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      7.       Louisiana Plaintiff

                   a. Cheryl Miller




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       114. Plaintiff Cheryl Miller (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Louisiana citizen and resident of Houma, Louisiana. On or about

 April 30, 2018, Plaintiff purchased a 2016 Chrysler 200 (for purposes of this section,

 “Defective Vehicle”) from N & N Auto Sales located in Houma, Louisiana.

       115. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       116. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or




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 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       117. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       118. Soon after Plaintiff purchased the Defective Vehicle, she noticed the oil

 kept getting low but the Oil Indicator Light never came on. She brought the

 Defective Vehicle to the local FCA dealership because it was still under warranty.

 The FCA dealership told Plaintiff they could not find anything wrong and

 recommended they do an oil change. Plaintiff informed the FCA dealership that she

 just had an oil change two weeks ago, but the FCA dealership insisted that she have

 it done again. When Plaintiff picked up the Defective Vehicle, the FCA dealership

 told Plaintiff she would need to bring the Defective Vehicle in every month for an

 oil change so they could monitor the situation.

       119. In July 2020, the Defective Vehicle shut down on Plaintiff without

 warning while she was driving. Plaintiff was able to get the vehicle restarted and

 drove home. Two days later, Plaintiff’s 17-year-old daughter was driving the

 Defective Vehicle when it shut down on her without warning on the highway.

 Plaintiff’s daughter was stopped on the highway and was unable to restart the

 Defective Vehicle until another driver stopped to help her.



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       120. Plaintiff brought the Defective Vehicle to an FCA dealership for

 diagnosis and repair. The dealership initially called Plaintiff and told her the head

 gasket needed to be replaced and that this would be covered by the warranty. The

 dealership called Plaintiff again a few days later and told her the Defective Vehicle’s

 engine needed to be replaced and that it should be covered under the warranty. Two

 days later, the dealership called Plaintiff and told her that FCA would not cover the

 cost of the new engine because she is not the original owner of the Defective Vehicle.

       121. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of having to have the vehicle towed to the

 dealership.

      122.     FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and



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 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      8.    Maryland Plaintiff

                 a. Pamela Anderson

       123. Plaintiff Pamela Anderson (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Maryland citizen and resident of Maryland. On or about May 18,

 2018, Plaintiff purchased a 2019 Jeep Cherokee (for purposes of this section,

 “Defective Vehicle”) from Fitzgerald Auto Mall, an authorized FCA dealership in

 Lexington Park, Maryland.

       124. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.



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       125. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       126. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       127. To the best of her recollection, Plaintiff’s Defective Vehicle has stalled

 five times. In or around late summer 2018, when her Defective Vehicle had just over

 3,000 miles on the odometer, the dash lights flashed and the vehicle stalled while

 Ms. Anderson was turning right at an intersection, presenting a serious risk of a

 collision. She reported this incident to Fitzgerald Auto Mall as well as FCA’s

 hotline.

       128. After performing an oil consumption test on her Defective Vehicle,

 during which it was found that her vehicle was consuming between 3 to 4 quarts of

 oil in 3,000 miles of driving, Fitzgerald Auto Mall replaced the engine block on



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 April 11, 2019. At the time, her Defective Vehicle had approximately 11,644 on the

 odometer.

       129. On September 4, 2019, when her Defective Vehicle had approximately

 14,172 on the odometer, Plaintiff took her vehicle to the dealership for an oil change.

 Before the oil change began, the technician noted that the oil level in her vehicle was

 below the minimum mark on the dipstick. The dealership asked Plaintiff to bring in

 her vehicle every 1,000 miles so they could continue to monitor the oil level.

       130. On September 20, 2019, Plaintiff returned her Defective Vehicle to the

 dealership, which performed another oil consumption test and changed the oil in her

 vehicle. The dealership asked that Plaintiff continue to bring in her vehicle every

 1,000 miles so they could continue to monitor the oil level.

       131. On November 18, 2019, Plaintiff returned her Defective Vehicle to the

 dealership, which performed another oil consumption test and changed the oil in her

 vehicle. The technician noted that the engine oil level in her vehicle was half a quart

 low and “within spec currently.”

       132. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       133. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective



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 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

     9.     Massachusetts Plaintiff

                 a. Catherine Coppinger

       134. Plaintiff Catherine Coppinger (for purposes of this Plaintiff’s

 allegations, “Plaintiff”) is a Massachusetts citizen and resident of Dedham,

 Massachusetts. On or about May 4, 2018, Plaintiff purchased a 2019 Jeep Cherokee

 (for purposes of this section, “Defective Vehicle”) from McGovern Chrysler Dodge

 Jeep Ram, an authorized FCA dealership in Newton, Massachusetts.

       135. Unknown to Plaintiff at the time his Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and



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 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       136. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       137. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       138. Plaintiff’s Defective Vehicle has shut off on her multiple times without

 warning while driving. The first time this happened was in July 2018, when the



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 Defective Vehicle had less than 5,000 miles on it. Plaintiff brought the Defective

 Vehicle back to the dealership she purchased it from and was told that the oil was

 low and that she needed an oil change at 3,500 miles. In one instance, Plaintiff’s

 vehicle stalled when she was making a left turn and cars were coming. Thankfully,

 Plaintiff was able to get the vehicle restarted and moved out of the way before she

 was hit.

       139. In April 2020, Plaintiff’s vehicle stalled while she was taking a right

 turn. She brought the vehicle to the FCA dealership for diagnosis and repair and the

 FCA technician told her there was a crack in the engine and it needed to be replaced.

 Plaintiff emailed FCA and provided them with a timeline of everything that has

 happened with her vehicle.

       140. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       141. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the



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 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

     10.    Michigan Plaintiffs

                 a. Caren Christman

       142. Plaintiff Caren Christman (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Michigan citizen and resident of Michigan. In or around August

 2018, Plaintiff leased a new 2018 Jeep Compass (for purposes of this section,

 “Defective Vehicle”) from McInerney’s Chrysler Dodge Jeep Ram, an authorized

 FCA dealership in Woodhaven, Michigan.

       143. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with



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 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       144. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       145. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       146. In or around November 2018, after less than 5,000 miles, Plaintiff’s

 engine stalled while she was driving due to low oil, creating a serious risk of a crash.

 Plaintiff brought the car into her dealership, which added additional engine oil.

       147. In January 2019, Plaintiff’s engine stalled again while she was driving.

 She visited the dealership on January 16, 2019. The service representative noted that

 the oil was low and instructed Plaintiff to return every 1,000 miles for three



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 consecutive times in order to conduct an oil consumption test. On March 7, 2019,

 when she returned for an oil level check, the dealership informed her that “normal”

 oil consumption for her vehicle is 1 quart for every 1,000 miles up to 50,000 miles,

 and 1 quart for every 750 miles above 50,000 miles.

       148. On April 3, when she returned for another oil level check, the dealership

 noted that the oil was low and that the vehicle had burned off one quart of oil per

 1,000 miles. Once again, the dealership told her that “normal” oil consumption for

 her vehicle is 1 quart for every1,000 miles up to 50,000 miles, and 1 quart for every

 750 miles above 50,000 miles.

       149. To the best of her recollection, Plaintiff returned to the dealership twice

 in or around May and June 2019 for additional oil consumption tests.

       150. In or around late June of 2019, Plaintiff’s engine stalled again while she

 was driving due to low oil. She brought her vehicle back to the dealership, which

 performed an oil change on July 2.

       151. In or around late November or early December of 2019, Plaintiff’s

 engine stalled again while she was driving due to low oil. The dealer performed an

 oil change on December 6.

       152. To the best of her recollection, Plaintiff returned to the dealership two

 more times in or around January and February of 2020 for additional oil




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 consumption tests. The dealer again found her vehicle burns approximately one quart

 of oil every 1,000 miles.

       153. The service center has told Plaintiff that this problem is common in

 these vehicles and that the only fix would be an engine replacement that FCA would

 have to approve. To date, FCA has not done so.

       154. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       155. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and




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 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Kelly Johnson

       156. Plaintiff Kelly Johnson (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Michigan citizen and resident of Boyne City, Michigan. On or

 around June 28, 2018, Plaintiff purchased a used 2015 Jeep Cherokee with

 approximately 45,000 miles (for purposes of this section, “Defective Vehicle”) from

 Fletch’s GMC Buick Audi in Petoskey, Michigan.

       157. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       158. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the



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 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       159. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       160. Plaintiff’s Defective Vehicle has shut off 8 times while she or her

 daughter have been driving it, including on July 31, 2020 when the vehicle stalled

 in the middle of the road while Plaintiff’s daughter was driving it to work. Plaintiff

 and her daughter were forced to push the vehicle over to the side of the road.

       161. Plaintiff took the vehicle to Nick’s Auto Repair and had the battery

 replaced at a cost of approximately $341. Neither Plaintiff nor Nick’s Auto Repair

 knew that the defects were present in the Defective Vehicle and that they caused the

 stalling of the vehicle.

       162. On August 10, 2020, Plaintiff contacted Brown Motors, an authorized

 FCA dealership in Petoskey, Michigan. Brown Motors was unable to look at the

 vehicle until August 24, 2020. Brown Motors advised Plaintiff to participate in an




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 oil consumption test, which she did. On October 8, 2020, the dealership instructed

 Plaintiff to undergo a second oil consumption test.

       163. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       164. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

     11.    Minnesota Plaintiff

                 a. Holly Kundel



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       165. Plaintiff Holly Kundel (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Minnesota citizen and resident of Forest Lake, Minnesota. On or

 about August 17, 2019, Plaintiff purchased a 2018 Jeep Compass (for purposes of

 this section, “Defective Vehicle”) from Forest Lake Chrysler Dodge Jeep Ram, an

 authorized FCA dealership located in Forest Lake, Minnesota.

       166. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       167. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or



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 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

        168. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

        169. The Defective Vehicle had 3,086 miles on it when Plaintiff purchased

 it. Plaintiff first noticed low oil in December 2019 when the Defective Vehicle had

 approximately 5,100 miles. Plaintiff’s father checked the oil and it was really low

 even though the Oil Indicator light never came on. Plaintiff and her father checked

 the Owner’s Manual to make sure they were checking the oil right. Plaintiff’s father

 went out and bought her oil that day and put 2.5 quarts in. Plaintiff took the Defective

 Vehicle to Valvoline the following week for a professional oil change.

        170. In early August 2020, Plaintiff checked the oil level in the Defective

 Vehicle and it was really low again. She added a quart and called the dealership. The

 dealership instructed her to bring the Defective Vehicle in. When she arrived, the

 dealership checked the oil and told her she needed an oil change even though she

 had just added oil. Plaintiff paid for the oil change. The dealership also instructed

 Plaintiff to begin oil consumption testing. The Defective Vehicle had 7,641 miles on

 it at that time.




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       171. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff continues to endure the expense and inconvenience of having to bring

 the Defective Vehicle to the dealership for oil consumption testing. On September

 19, 2020, Plainitff brought the Defective Vehicle to the dealership for oil

 consumption testing. The Defective Vehicle had approximately 8,200 miles on it at

 that time. The dealership initially refused to add oil because “it wasn’t low” and told

 Plaintiff, “it is typical for this engine to use one quart every 1,000 miles.” Plaintiff

 persisted and the dealership topped off the oil as they are supposed to for the oil

 consumption test.

       172. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and



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 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      12.   Missouri Plaintiffs

                 a. Ryan Hall

       173. Plaintiff Ryan Hall (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a Missouri citizen and resident of St. Charles, Missouri. On or about

 July 27, 2018, Plaintiff purchased a 2019 Jeep Cherokee (for purposes of this section,

 “Defective Vehicle”) from Lou Fusz Chrysler Dodge Jeep Ram Fiat, an authorized

 FCA dealership located in O’Fallon, Missouri.

       174. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       175. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s



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 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       176. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       177. A few months after purchasing the Defective Vehicle, Plaintiff’s wife

 called him and told him the vehicle shut off on her without warning. After ten

 minutes of trying to restart the vehicle, she was finally able to get it started and drove

 home. The next day, Plaintiff’s wife was driving the Defective Vehicle to school

 when it shut down on her without warning and she was almost hit by another vehicle.

       178. Plaintiff called the dealership and was told that he needed an oil change.

 But the Defective Vehicle has continued to shut down on them with no warning even

 after the oil change. On March 1, 2019, Plaintiff brought the Defective Vehicle to

 Northwest Jeep in Beaverton, Oregon. They were able to verify that this was

 happening and noted that the engine oil was low.




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       179. Plaintiff fears the Defective Vehicle will stall again and continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       180. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

     13.    Nevada Plaintiffs

                 a. Roberto Hernandez

       181. Plaintiff Roberto Hernandez (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Nevada and resident of Las Vegas, Nevada. On or about

 April 2, 2015, Plaintiff purchased a 2015 Dodge Dart (for purposes of this section,



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 “Defective Vehicle”) from Chapman Las Vegas Dodge Chrysler Jeep Ram, an

 authorized FCA dealership in Las Vegas, Nevada.

       182. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       183. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.




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       184. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       185. Plaintiff checks his oil once or twice a week and noticed that he was

 adding oil within the first 100 miles so he brought it to the dealership.

       186. In September 2017, Plaintiff was driving the Defective Vehicle on the

 highway with his family inside and the vehicle shut down without warning. This was

 particularly dangerous because Plaintiff was driving fast at the time and the steering

 wheel locked up. Plaintiff was able to get the vehicle to the side of the road and

 called a friend to come and tow the Defective Vehicle back to his house.

 Additionally, in December 2018, Plaintiff was driving the Defective Vehicle home

 after Christmas and the vehicle shut down multiple times without warning.

       187. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       188. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad



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 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      14.   New Jersey Plaintiffs

                 a. Luis Munoz

       189. Plaintiff Luis Munoz (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of New Jersey and resident of New Jersey. On or about June

 15, 2017, Plaintiff purchased a 2017 Jeep Compass (for purposes of this section,

 “Defective Vehicle”) from City Auto Park, an authorized FCA dealership in

 Burlington, New Jersey.

       190. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in



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 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       191. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       192. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       193. In or around July 2018, Plaintiff observed that his Defective Vehicle

 had burned nearly 1 quart of oil after driving approximately 1,000 miles. Shortly

 thereafter, he presented his vehicle to the dealership and was told by the dealership

 personnel that it is normal for these vehicle models to burn 1 quart of oil every 1,000

 miles of driving. No dashboard notification had alerted him that his oil was low.



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       194. The dealership had him return after another 1,000 miles in order to

 perform an oil consumption test. When he returned, the dealer told him that the

 consumption was normal. Plaintiff has continued to complain about the oil

 consumption issue during his subsequent oil changes but has received no additional

 repairs or assistance.

       195. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       196. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and




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 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Kimberly Eager

       197. Plaintiff Kimberly Eager (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of New Jersey and resident of Waterford Works, New Jersey.

 On or about February 28, 2018, Plaintiff purchased a 2018 Jeep Compass (for

 purposes of this section, “Defective Vehicle”) from Cherry Hill Triplex: Chrysler

 Dodge Jeep Kia Mitsubishi and Ram, an authorized FCA dealership in Cherry Hill,

 New Jersey.

       198. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       199. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s



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 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       200. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       201. For example, about six months after Plaintiff purchased the Defective

 Vehicle, the Defective Vehicle shut down without warning while her 18-year-old

 daughter was driving it. Plaintiff’s daughter took the vehicle to a nearby friend’s

 house after she was able to restart it and the friend’s parents checked the oil and it

 was four quarts low. When Plaintiff purchased the Defective Vehicle, she expected

 that she would change the oil every 5,000 miles, but the Defective Vehicle shut down

 well before 5,000 miles. Since then, Plaintiff has been checking the oil every 500

 miles, which was not what she expected when she purchased the Defective Vehicle.

       202. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.



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       203. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      15.    New York Plaintiff

                 a. Sherri McCall

       204. Plaintiff Sherri McCall (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of New York and resident of New York. On or about October

 31, 2019, Plaintiff purchased a 2019 Jeep Cherokee (for purposes of this section,

 “Defective Vehicle”) from RS Motors, an authorized FCA dealership in Falconer,

 New York.



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       205. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       206. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       207. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.



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       208. After owning the vehicle for approximately a month, Plaintiff and her

 husband noticed that the oil was low. She took it into the dealership which had her

 return after 1,000 miles in order to perform an oil consumption test. When Plaintiff

 returned, the dealer said that some oil consumption was normal.

       209. On a subsequent visit to the dealership for the problem, the dealer

 changed her PCV valve. This repair did not improve the oil consumption problem.

       210. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       211. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and



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 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      16.    North Carolina Plaintiffs

                 a. Joshua Caples

       212. Plaintiff Joshua Caples (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a North Carolina and resident of North Carolina. In or around

 September 2018, Plaintiff purchased a 2019 Jeep Cherokee (for purposes of this

 section, “Defective Vehicle”) from Nichols Dodge Chrysler Jeep, now known as

 Cox Chrysler Dodge Jeep Ram, an authorized FCA dealership in Burlington, North

 Carolina.

       213. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.




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       214. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       215. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       216. On or around February 17, 2020, Plaintiff’s Defective Vehicle stalled

 out while he was driving and was nearly hit by another vehicle. There was no

 dashboard notification of any issue, or to alert him that his oil was low. After

 managing to restart his vehicle, Plaintiff called Cox Chrysler Dodge Jeep Ram to

 report the stall and ask for a repair under warranty. A service technician asked him

 if his vehicle had the 2.4L engine. When Plaintiff confirmed that his vehicle did have

 this engine, the technician informed him that he should check the oil because the

 Tigershark engines, if even the least bit low on oil, have a tendency to shut off. The




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 technician did not advise Plaintiff to bring his vehicle in for an oil consumption test,

 or other inspection or repair.

       217. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       218. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      17.   Ohio Plaintiff

                 a. Danielle Coates



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       219. Plaintiff Danielle Coates (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Ohio and resident of Cincinnati, Ohio. On or about

 February 23, 2019, Plaintiff purchased a 2016 Jeep Cherokee (for purposes of this

 section, “Defective Vehicle”) from Jeff Wyler Ft. Thomas Chrysler Ram Jeep, an

 authorized FCA dealership in Ft. Thomas, Kentucky.

       220. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       221. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or



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 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       222. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       223. For example, in August 2019, while driving her Defective Vehicle

 down a busy street, it sputtered and stalled while turning left into a mall parking lot.

 This was a very dangerous situation because the vehicle stalled as Plaintiff was

 turning left and crossing lanes of traffic flowing in the opposite direction. Because

 the vehicle stalled, Plaintiff was unable to accelerate the vehicle through the turn,

 and was forced to coast, barely making it into the parking lot. Plaintiff, with the

 assistance of a woman who worked at a nearby restaurant, pushed the Defective

 Vehicle into a safer location. Plaintiff called her family members for assistance.

 After her family members arrived, they checked the vehicle’s oil level and

 determined that the oil level was bone dry. Prior to and even after stalling, there was

 no check oil level warning from the vehicle. Plaintiff’s family then drove her to a

 nearby Advanced Auto store where Plaintiff purchased a 5-qt container of oil and

 funnel, spending $32.22. After adding approximately 4 quarts of oil to the vehicle,

 the vehicle started and was operational.




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       224. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       225. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Krishawn Durham

       226. Plaintiff Krishawn Durham (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Ohio and resident of Cleveland, Ohio. In or around July

 2017, Plaintiff purchased a 2017 Jeep Compass (for purposes of this section,



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 “Defective Vehicle”) from Fred Martin Superstore, an authorized FCA dealership in

 Barberton, Ohio.

       227. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       228. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.




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       229. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       230. In or around August 2017, Plaintiff was driving the Defective Vehicle

 when the engine shut down without warning. Plaintiff made several attempts to

 restart the Defective Vehicle, but it was entirely inoperable. At the time this

 occurred, Plaintiff had owned the Defective Vehicle for approximately a month and

 was within the coverage period of the warranty.

       231. Soon thereafter, Plaintiff presented the Defective Vehicle to Fred

 Martin Superstore’s service department to diagnose the cause of the shutdown.

 According to the maintenance technicians, the engine shut down because the

 Defective Vehicle was low on oil.

       232. The Defective Vehicle’s oil indicator system never alerted her to the

 fact that the Defective Vehicle was running low on oil. Not only had she only owned

 the Defective Vehicle for approximately a month when the shutdown occurred, she

 drives it no more than approximately 600 miles a month on average. Plaintiff

 conveyed this information to the dealer, complaining that there was an obvious

 problem with the vehicle oil consumption and oil system indicator. But according to

 the dealership technicians, the rapid rate of oil consumption she experienced was

 “normal” for the type of vehicle she was driving.



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       233. Since August 2017, Plaintiff has needed to replenish the Defective

 Vehicle’s engine oil with a quart once a month to prevent it from stalling and shutting

 down without warning.

       234. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       235. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 c. Mikaelyn McDowell



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       236. Plaintiff Mikaelyn McDowell (for purposes of this Plaintiff’s

 allegations, “Plaintiff”) is a citizen of Ohio and resident of Columbus, Ohio. On or

 about January 13, 2018, Plaintiff leased a 2018 Jeep Compass (for purposes of this

 section, “Defective Vehicle”) from Crown Chrysler Jeep, an authorized FCA

 dealership in Dublin, Ohio.

       237. Unknown to Plaintiff at the time his Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       238. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or



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 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       239. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       240. Plaintiff’s Defective Vehicle has shut down on her twice while she was

 driving. Both times, when Plaintiff checked the dipstick in her vehicle, the oil was

 completely empty. Both time when Plaintiff brought her Defective Vehicle to Jeep

 Chrysler, they told her the vehicle is designed to shut off when the oil is low and that

 the Defective Vehicle needed an oil change. Yet both times this happened, it was

 well before the maintenance schedule for oil changes. The most recent time the

 Defective Vehicle shut down, it was 2,000 miles early for an oil change.

       241. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       242. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad



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 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 d. Katie Kuczkowski

       243. Plaintiff Katie Kuczkowski (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Ohio and resident of Ohio. On or about February 25, 2018,

 Plaintiff leased a 2018 Jeep Compass (for purposes of this section, “Defective

 Vehicle”) from Medina Auto Mall, an authorized FCA dealership in Medina, Ohio.

       244. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect



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 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       245. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       246. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       247. On or around February 6, 2020, Plaintiff’s vehicle stalled out while

 driving in the middle of a busy intersection. Shortly thereafter, she presented her

 vehicle to the dealership and they discovered her oil was two quarts low. Plaintiff’s

 Defective Vehicle had approximately 25,000 miles at the time and no dashboard

 notification had alerted her that her oil was low.

       248. The dealership had her return after 1,000 miles in order to perform an

 oil consumption test. When she returned, the dealership personnel said that some oil



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 consumption was normal. Nevertheless, they told Plaintiff that she would need to

 change her oil every 4,000 miles and check her dipstick whenever refilling her gas

 tank.

         249. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

         250. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.




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      18.    Oklahoma Plaintiff

                 a. Kelsey Williams

       251. Plaintiff Kelsey Williams (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is an Oklahoma citizen and resident of Oklahoma City, Oklahoma. On

 or about March 17, 2017, Plaintiff purchased a 2016 Fiat 500X (for purposes of this

 section, “Defective Vehicle”) from Edmund Hyundai located in Edmond,

 Oklahoma.

       252. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       253. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in



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 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       254. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       255. Plaintiff has had to have the Defective Vehicle towed multiple times to

 an FCA dealership eight times because it shut off while Plaintiff was driving. The

 first time the Defective Vehicle shut down was in June 2017 after Plaintiff has just

 had the oil changed. Plaintiff was driving 75 mph on the freeway when the Defective

 Vehicle shut down, the power steering went out, and Plaintiff had to frantically pull

 over to the shoulder. Once Plaintiff was able to restart the Defective Vehicle, she

 brought it to the dealership and they had it for over a month. Since then, the

 Defective Vehicle has continued to shut down on Plaintiff with no warning every 3-

 4 months. In November 2017, the Defective Vehicle was at the dealership for almost

 two months.

       256. The first time the dealership said anything about the oil was last year

 after the Defective Vehicle shut off while Plaintiff was driving and she brought it to




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 the dealership. The dealership told Plaintiff that these vehicles burn a lot of oil and

 are designed to shut down.

       257. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       258. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

         19. Oregon Plaintiffs

                 a. Daniel Scott



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       259. Plaintiff Daniel Scott (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is an Oregon citizen and resident of Portland, Oregon. On or about March

 20, 2018, Plaintiff purchased a 2018 Jeep Cherokee (for purposes of this section,

 “Defective Vehicle”) from Lithia Chrysler Dodge Jeep Ram of Portland, an

 authorized FCA dealership located in Portland, Oregon.

       260. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       261. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or



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 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       262. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       263. About a month or two after Plaintiff purchased the Defective Vehicle,

 it shut down on him without warning when he was turning left. This scared him.

 Plaintiff called the dealership and described what happened. The dealership asked if

 he was able to get it started again and instructed Plaintiff to let them know if the

 Defective Vehicle shuts down again. Plaintiff contacted the dealership again after

 the Defective Vehicle shut down again while Plaintiff was driving two weeks later.

 The dealership told Plaintiff the oil is low and to bring it in. Since then, the Defective

 Vehicle has continued to shut down on Plaintiff.

       264. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       265. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its



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 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Ryan Graham

       266. Plaintiff Ryan Graham (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is an Oregon citizen and resident of Canby, Oregon. On or about

 September 27, 2017, Plaintiff purchased a 2014 Jeep Cherokee (for purposes of this

 section, “Defective Vehicle”) from Canby Ford located in Canby, Oregon.

       267. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with



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 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       268. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       269. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       270. The Defective Vehicle has shut down on Plaintiff approximately 12

 times while he was driving it. Plaintiff brought the Defective Vehicle to NW Jeep in

 Beaverton, Oregon twice to obtain information about how to address the stalling.

 However, each time, Plaintiff was advised to change the oil. Plaintiff carries spare

 oil with him at all times.




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       271. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       272. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      20.   Pennsylvania Plaintiff

                 a. Karen Burke

       273. Plaintiff Karen Burke (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Pennsylvania and resident of Johnstown, Pennsylvania.



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 On or about June 13, 2018, Plaintiff purchased a 2018 Jeep Renegade (for purposes

 of this section, “Defective Vehicle”) from Laurel Chrysler Dodge Jeep Ram, an

 authorized FCA dealership in Johnstown, Pennsylvania.

       274. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       275. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.



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        276. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

        277. In October 2019, the Defective Vehicle completely shut down when

 Plaintiff was merging onto a highway. There was a huge truck behind Plaintiff at the

 time who almost hit the Defective Vehicle and had to swerve around to miss hitting

 her.   Plaintiff brought the Defective Vehicle to her FCA dealership and the

 technician said, “You could use a little oil. Just make sure you check your oil more

 often.” However, the low oil indicator light had not come on to alert her.

        278. Plaintiff delivered her vehicle to an authorized FCA dealership for

 diagnosis and repair. The FCA technician diagnosed the vehicle with low oil. When

 Plaintiff asked the dealership personnel about the cause of the oil consumption

 problem, the dealership told her to check the oil every few days herself.

        279. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

        280. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its



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 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and

 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

                 b. Daniel McGorrey

       281. Plaintiff Daniel McGorrey (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of Pennsylvania and resident of Pennsylvania. On or about

 November 21, 2018, Plaintiff purchased a 2018 Jeep Renegade (for purposes of this

 section, “Defective Vehicle”) from Chapman Chrysler Jeep Dodge Ram, an

 authorized FCA dealership in Horsham, Pennsylvania.

       282. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in



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 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       283. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

       284. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

       285. On or around January 25, 2019, Plaintiff’s Defective Vehicle stalled out

 while making a left turn on a four-lane road. Shortly thereafter, he presented his

 vehicle to the dealership and they discovered his oil pan was completely empty. His

 vehicle had 3,020 miles at this time and no dashboard notification had alerted him

 that his oil was low.



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       286. The dealership had Plaintiff return the Defective Vehicle after 1,000

 miles in order to perform an oil consumption test. When he returned, the dealership

 personnel said that some oil consumption was normal. Nevertheless, they told

 Plaintiff that he would need to change his oil every 4,000 miles and check his

 dipstick whenever refilling his gas tank.

       287. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

 and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

 endure the expense and inconvenience of more frequent than expected oil changes.

       288. FCA never told Plaintiff about the Oil Consumption defect, Oil

 Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

 Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

 reliable and safe and would retain all of its operating characteristics throughout its

 useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

 advertising messaging that its vehicles were safe and reliable. None of the

 advertisements reviewed or representations received by Plaintiff contained any

 disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

 Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

 the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

 costs, Excess Emissions defect and that the Defective Vehicles violated state and




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 federal emissions standards and/or had defective emissions systems, Plaintiff would

 not have purchased the Defective Vehicle or would have paid less for it.

      21.   South Carolina Plaintiff

                 a. Rosalind Burks

       289. Plaintiff Rosalind Burks (for purposes of this Plaintiff’s allegations,

 “Plaintiff”) is a citizen of South Carolina and resident of Columbia, South Carolina.

 On or about October 28, 2019, Plaintiff purchased a 2019 Jeep Cherokee (for

 purposes of this section, “Defective Vehicle”) from Galeana Chrysler Jeep, an

 authorized FCA dealership in Columbia, South Carolina.

       290. Unknown to Plaintiff at the time his Defective Vehicle was purchased,

 it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

 did not function safely, as advertised, or as intended by its design and (2) released

 excess levels of harmful emissions such as NOx into the environment and/or had a

 defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

 the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

 has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

 paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

       291. Plaintiff uses the Defective Vehicle for personal, family, and/or

 household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s



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 advertising regarding the safety and reliability of the vehicle. FCA had the

 opportunity to disclose the defects through its advertising, in owner’s manuals, in

 correspondence sent to Plaintiffs and Class members, through representations by

 FCA dealerships, through vehicle brochures and other informational documents, or

 on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

 possessed any defects.

         292. Since purchasing the Defective Vehicle, Plaintiff has experienced the

 Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

 FCA’s suggested maintenance schedule for oil changes.

         293. For example, in December 2019, Plaintiff was driving the Defective

 Vehicle and the vehicle shut down without warning. Plaintiff delivered her vehicle

 to an authorized FCA dealership for diagnosis and repair. The FCA technician

 diagnosed the vehicle with low oil. The FCA technician added oil to the vehicle and

 directed Plaintiff to return after 2,000 miles of driving so that the dealership could

 conduct an oil consumption test. After only roughly 2,000 miles, Plaintiffs’ vehicle

 was already a quart of oil low, and it continued to consume oil at an abnormally high

 pace.

         294. On May 15, 2020, Plaintiff’s vehicle shut off again without warning

 while Plaintiff was driving with her grandchildren in the vehicle. The vehicle’s oil

 had recently been changed on March 3, 2020. Plaintiff brought the vehicle back to



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  an authorized FCA dealership for diagnosis and repair. The FCA technician showed

  Plaintiff the oil stick and there was no oil on it. When Plaintiff asked the dealership

  personnel about the cause of the oil consumption problem, the dealership said that

  the vehicle shut off due to a safety mechanism. The FCA technician added oil to the

  vehicle and directed Plaintiff to return after 1,000 miles of driving so that the

  dealership could conduct an oil consumption test.

        295. On May 29, 2020, Plaintiff brought her vehicle to an authorized FCA

  dealership for oil consumption testing and the vehicle was two quarts low in oil. The

  service department instructed Plaintiff to return on June 3, 2020, because Plaintiff’s

  vehicle possibly needed a new motor. Plaintiff brought the vehicle to the dealership

  and provided them with the receipts for the oil changes that had been performed.

  The dealership topped off the oil and instructed her to check the oil after 1,000 miles

  and return to the dealership if the oil was low.

        296. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

  and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

  endure the expense and inconvenience of more frequent than expected oil changes.

        297. FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its



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  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.

       22.   Tennessee Plaintiff

                  a. Holly Hickman

        298. Plaintiff Holly Hickman (for purposes of this Plaintiff’s allegations,

  “Plaintiff”) is a citizen of Tennessee and resident of Kodak, Tennessee. On or about

  September 5, 2018, Plaintiff purchased a 2018 Jeep Renegade (for purposes of this

  section, “Defective Vehicle”) from Jim Cogdill Dodge Chrysler Jeep Ram, an

  authorized FCA dealership in Knoxville, Tennessee.

        299. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a



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  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        300. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in

  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.

        301. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        302. Plaintiff’s grandfather checked the oil only a couple of months after

  Plaintiff purchased the Defective Vehicle, and he added a quart of oil because the

  oil was low. About a month later, Plaintiff checked the oil and it was low again so




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  she added half a quart. When the oil indicator light came on, Plaintiff brought the

  Defective Vehicle to an FCA dealership and they added oil.

        303. After approximately 5,000 miles, Plaintiff brought the Defective

  Vehicle to an FCA dealership for an oil change. She mentioned to the FCA

  technician that she was concerned about the vehicle’s oil consumption and asked

  them to begin oil consumption testing. The FCA dealership instructed Plaintiff to

  bring her vehicle in for testing every 1,000 miles. During oil consumption testing at

  3,000 miles, the Defective Vehicle’s oil level was low and the FCA dealership added

  a quart of oil. At 5,000 miles, the Defective Vehicle’s oil level was showing that it

  was on the add oil mark but the FCA dealership did not add more oil.

        304. Plaintiff was concerned about the Defective Vehicle’s oil consumption

  and contacted FCA directly. Plaintiff was told that she would need to restart oil

  consumption testing because the FCA dealership had been doing the testing wrong.

  Plaintiff was then told that she would need to bring the vehicle in for testing every

  500 miles. Plaintiff has contacted FCA repeatedly to discuss her concerns about the

  Defective Vehicle’s excessive oil consumption. FCA continually tells Plaintiff that

  there is nothing that can be done and that she needs to keep working with the

  dealership.




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        305. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

  and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

  endure the expense and inconvenience of more frequent than expected oil changes.

        306. FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its

  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.

       23.   Texas Plaintiffs

                  a. Amber Portugal and Michael Sanchez

        307. Plaintiffs Amber Portugal and Michael Sanchez (for purposes of these

  Plaintiffs’ allegations, “Plaintiffs”) are citizens of Texas and residents of Irving,



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  Texas. On or about May 30, 2018, Plaintiffs purchased a 2018 Jeep Compass (for

  purposes of this section, “Defective Vehicle”) from Covert Chrysler Jeep Dodge

  Ram, an authorized FCA dealership in Austin, Texas.

        308. Unknown to Plaintiffs at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a

  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        309. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in

  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.



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        310. Since purchasing the Defective Vehicle, Plaintiffs have experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        311. Plaintiffs’ Defective Vehicle has shut down on them multiple times

  without warning while driving. When this happens, every light on the dashboard

  comes on and the Defective Vehicle slows down and then stops. Plaintiffs contacted

  FCA and they were assigned a case manager who told them the Defective Vehicle

  needed a new battery and that FCA would cover the costs. Plaintiffs delivered their

  vehicle to an authorized FCA dealership for diagnosis and repair. The FCA

  technician diagnosed the vehicle with low oil and told Plaintiffs they would need to

  bring the Defective Vehicle back to have the oil checked at 500 miles. Additionally,

  Plaintiffs were told they were responsible for paying for the new battery and the

  dealership refused to provide Plaintiffs with a loaner vehicle for the four days the

  Defective Vehicle was being repaired.

        312. Even though the FCA technician added oil to the Defective Vehicle and

  replaced the battery, Plaintiffs’ vehicle continues to consume oil at an abnormally

  high pace and Plaintiffs fear the Defective Vehicle will stall again and Plaintiffs

  continue to endure the expense and inconvenience of more frequent than expected

  oil changes.




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         313. FCA never told Plaintiffs about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiffs purchased the

  Defective Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle

  would be reliable and safe and would retain all of its operating characteristics

  throughout its useful life. Plaintiffs chose an FCA vehicle because Plaintiffs believed

  FCA’s broad advertising messaging that its vehicles were safe and reliable. None of

  the advertisements reviewed or representations received by Plaintiffs contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiffs to pay out-of-pocket costs, including

  repair costs, Plaintiffs would not have purchased the Defective Vehicle or would

  have paid less for it.

                   b. Adam Dyer

         314. Plaintiff Adam Dyer (for purposes of this Plaintiff’s allegations,

  “Plaintiff”) is a New Mexico citizen and resident of Las Cruces, New Mexico. On

  or about March 16, 2019, Plaintiff purchased a 2018 Jeep Renegade (for purposes of

  this section, “Defective Vehicle”) from Dick Poe Chrysler Jeep, an authorized FCA

  dealership located in El Paso, Texas.

         315. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and



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  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a

  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        316. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in

  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.

        317. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        318. On at least 20 occasions, Plaintiff’s Defective Vehicle has stalled while

  Plaintiff has been driving it. Plaintiff took the Defective Vehicle to an authorized



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  FCA dealership for diagnosis and repair and was told they were unable to duplicate

  the problem and to always check his oil because these vehicles consume a lot of it.

        319. The Defective Vehicle has continued to shut down on Plaintiff with no

  warning. Plaintiffs’ vehicle continues to consume oil at an abnormally high pace and

  Plaintiffs fear the Defective Vehicle will stall again and Plaintiffs continue to endure

  the expense and inconvenience of more frequent than expected oil changes.

        320.    FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its

  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.




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       24.   Virginia Plaintiff

                  a. Arteal Jordan

        321. Plaintiff Arteal Jordan (for purposes of this Plaintiff’s allegations,

  “Plaintiff”) is a citizen of Virginia and resident of Chesapeake, Virginia. In March

  2018, Plaintiff purchased a 2014 Dodge Dart (for purposes of this section,

  “Defective Vehicle”) from Priority Chevrolet, an authorized FCA dealership in

  Chesapeake, Virginia.

        322. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a

  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        323. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in



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  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.

        324. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        325. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption and Oil Indicator defects. Plaintiff changes the oil in his 2014

  Dodge Dart every 2,000–3,000 miles. Despite this relatively quick oil change rate,

  Plaintiff has experienced four instances where the engine stalled due to low oil

  levels. Plaintiff believes that this engine consumption defect results in a dangerous

  safety issue for himself and other drivers. After experiencing multiple engine-

  stalling events related to low oil levels, Plaintiff had his engine evaluated by

  Greenbriar Dodge in Chesapeake, Virginia. Greenbriar Dodge determined that the

  vehicle needed a replacement engine due to the Oil Consumption defect. In January

  2020, Greenbriar installed a used 2.4 Liter Tiger Shark replacement engine with

  approximately 40,000 miles in Plaintiff’s vehicle. Except for the $100 deductible

  that Plaintiff paid, the cost of the replacement engine was covered by an extended

  warranty that Plaintiff previously purchased. Within a couple of months following



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  the installation of the replacement engine, Plaintiff’s vehicle again began to stall.

  Plaintiff returned to Greenbriar Dodge. Greenbriar Dodge told Plaintiff that his

  engine oil was low and recommended a 1,000-mile oil consumption test and Plaintiff

  agreed to the test. Greenbriar replaced the Defective Vehicle’s oil and instructed

  Plaintiff to return the Defective Vehicle after he had driven it for an additional 1,000

  miles. When Plaintiff returned his vehicle to Greenbriar in May 2020 after driving

  it for 1,000 miles, the technician checked the oil level and determined that the vehicle

  consumed 1 ¼ quarts of oil during that time period. At this rate of oil consumption,

  Plaintiff’s vehicle would have essentially no oil remaining after driving only 4,800

  miles. Greenbriar recommended that Plaintiff return again after driving the vehicle

  for another 1,000 miles to see how much oil has been consumed. Plaintiff then

  contacted FCA Chrysler customer care to file a formal complaint about the oil

  consumption defect on May 12, 2020.

        326. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

  and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

  endure the expense and inconvenience of more frequent than expected oil changes.

        327. FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its



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  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.

       25.   Washington Plaintiff

                  a. Vivien Nagy

        328. Plaintiff Vivien Nagy (for purposes of this Plaintiff’s allegations,

  “Plaintiff”) is a Washington citizen and resident of Kenmore, Washington. On or

  about February 11, 2017, Plaintiff purchased a 2015 Jeep Renegade (for purposes of

  this section, “Defective Vehicle”) from Rairdon Dodge Jeep of Kirkland, an

  authorized FCA dealership located in Kirkland, Washington.

        329. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a



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  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        330. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in

  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.

        331. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        332. In June 2020, Plaintiff was driving the Defective Vehicle when it shut

  off without warning. Plaintiff was able to restart the Defective Vehicle and drove

  home. The Defective Vehicle shut off without warning again on Plaintiff again ten

  days later when she was driving on the freeway. This was particularly dangerous



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  because the other vehicles on the freeway also had no warning that the Defective

  Vehicle would suddenly slow down. Once Plaintiff was able to get the Defective

  Vehicle started again, she drove to work and called the dealership and was instructed

  to bring the Defective Vehicle in the next day. The next day on the way to the

  dealership the Defective Vehicle shut off on Plaintiff. When she brought the

  Defective Vehicle to the dealership they told her the vehicle shut off on her because

  it was out of oil. The dealership told Plaintiff that these cars consume a lot of oil and

  that she should top off her oil every time she gets gas. She was also instructed to

  bring her vehicle to the dealership for an oil change every 3000 miles.

        333. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

  and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

  endure the expense and inconvenience of more frequent than expected oil changes.

        334. FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its

  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil



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  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.

       26.   West Virginia Plaintiff

                  a. Katlyn Wills

        335. Plaintiff Katlyn Wills (for purposes of this Plaintiff’s allegations,

  “Plaintiff”) is a West Virginia citizen and resident of Shady Spring, West Virginia.

  On or about August 1, 2018, Plaintiff purchased a 2018 Jeep Renegade (for purposes

  of this section, “Defective Vehicle”) from Lake Norman Chrysler Dodge Jeep Ram,

  an authorized FCA dealership located in Lake Norman, North Carolina.

        336. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a

  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect




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  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        337. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in

  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.

        338. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        339. Within the first six months of owning the vehicle, Plaintiff noticed the

  Defective Vehicle was burning a lot of oil. Nearly every 1,000 miles Plaintiff would

  add oil to the Defective Vehicle. In approximately May 2020, the Defective

  Vehicle’s check engine light came on and within seconds the vehicle completely

  shutdown on the road. Plaintiff checked the oil level and found the reservoir to be

  dry. About two months later, the Defective Vehicle stalled. Plaintiff checked the oil

  level and found the level to be slightly below the minimum level.



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        340. Plaintiff has talked with service advisors at Sheets Chrysler Dodge Jeep

  Ram about the Defective Vehicle’s oil consumption issue when the Defective

  Vehicle was being serviced for other issues. The service advisors told her the

  consumption was normal. Plaintiff was told “these motors were made to burn oil.”

        341. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

  and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

  endure the expense and inconvenience of more frequent than expected oil changes.

        342. FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its

  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.



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       27.   Wisconsin Plaintiff

                  a. Tera Castillo

        343. Plaintiff Tera Castillo (for purposes of this Plaintiff’s allegations,

  “Plaintiff”) is a citizen of Wisconsin and resident of Wisconsin. On or about August

  12, 2019, Plaintiff purchased a 2018 Jeep Compass (for purposes of this section,

  “Defective Vehicle”) from Sheboygan Jeep Chrysler, an authorized FCA dealership

  in Sheboygan, Wisconsin.

        344. Unknown to Plaintiff at the time the Defective Vehicle was purchased,

  it was equipped with a 2.4L TigerShark Multi Air engine that was (1) defective and

  did not function safely, as advertised, or as intended by its design and (2) released

  excess levels of harmful emissions such as NOx into the environment and/or had a

  defective emissions system. FCA’s unfair, unlawful and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the Defective Vehicle with

  the Oil Consumption defect, Oil Indicator defect, and the Excess Emissions defect

  has caused Plaintiff to pay more at the time of purchase than Plaintiff would have

  paid had the truth been disclosed and deprived Plaintiff of the benefit of the bargain.

        345. Plaintiff uses the Defective Vehicle for personal, family, and/or

  household uses. Prior to purchasing the Defective Vehicle, Plaintiff relied on FCA’s

  advertising regarding the safety and reliability of the vehicle. FCA had the

  opportunity to disclose the defects through its advertising, in owner’s manuals, in



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  correspondence sent to Plaintiffs and Class members, through representations by

  FCA dealerships, through vehicle brochures and other informational documents, or

  on FCA’s website. However, FCA failed to disclose that the Defective Vehicle

  possessed any defects.

        346. Since purchasing the Defective Vehicle, Plaintiff has experienced the

  Oil Consumption, Oil Indicator, and Excess Emissions defects, despite adhering to

  FCA’s suggested maintenance schedule for oil changes.

        347. On or around April 10, 2020, Plaintiff’s vehicle stalled out while

  driving around a corner. Then on April 14, 2020, her vehicle stalled out again, but

  this time while driving 35 mph on a roadway. Shortly thereafter, she contacted the

  dealership and she stated her vehicle still had 2,500 miles before her next oil change

  and there was no low oil warning light on her dashboard when stalling incident

  occurred. She set up an appointment to have the car checked the next day at the

  dealership. In the meantime, she had someone check her oil and discovered that the

  oil pan was completely empty.

        348. At the appointment, the dealership inspected her vehicle and then

  advised that she would need to bring in her vehicle every 500 miles for at least the

  next 2,500 miles as part of an oil consumption test. The results of the test would

  determine if her engine needed to be replaced.




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        349. Plaintiff’s vehicle continues to consume oil at an abnormally high pace

  and Plaintiff fears the Defective Vehicle will stall again and Plaintiff continues to

  endure the expense and inconvenience of more frequent than expected oil changes.

        350. FCA never told Plaintiff about the Oil Consumption defect, Oil

  Indicator defect, or the Excess Emissions defect so Plaintiff purchased the Defective

  Vehicle on the reasonable, but mistaken, belief that his Defective Vehicle would be

  reliable and safe and would retain all of its operating characteristics throughout its

  useful life. Plaintiff chose an FCA vehicle because Plaintiff believed FCA’s broad

  advertising messaging that its vehicles were safe and reliable. None of the

  advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Defective Vehicle had the Oil Consumption defect, the Oil

  Indicator defect, or Excess Emissions defect. Had FCA disclosed the defects, and

  the fact that FCA would require Plaintiff to pay out-of-pocket costs, including repair

  costs, Excess Emissions defect and that the Defective Vehicles violated state and

  federal emissions standards and/or had defective emissions systems, Plaintiff would

  not have purchased the Defective Vehicle or would have paid less for it.

        Defendant

        1.     Defendant

        351. Defendant FCA US LLC is a limited liability corporation organized and

  in existence under the laws of the State of Delaware. FCA’s corporate headquarters



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  are located at 1000 Chrysler Drive, Auburn Hills, Michigan 48326. At all relevant

  times, Defendant was and is engaged in the business of designing, manufacturing,

  constructing, assembling, marketing, distributing, and selling automobiles and

  motor vehicle components throughout the United States.

         352. FCA sells the Defective Vehicles through FCA franchise dealerships.

  FCA distributes information about the vehicles to its dealers for the purpose of

  passing that information to consumers. FCA also understands that its dealers pass on

  information from FCA about the characteristics, benefits, and quality of its vehicles

  to consumers. The dealers act as FCA’s agents in selling the Defective Vehicles and

  disseminating information about the Defective Vehicles to customers and potential

  customers. FCA also disseminates information about its vehicles on its website. At

  the point of sale, as well as in written materials and on its website, FCA could have

  told the truth.

                                FACTUAL ALLEGATIONS

         FCA’s 2.4L Tigershark MultiAir II Engine

         353. Prior to 2013, consumers had complained that some of the Defective

  Vehicles were underpowered, so the larger 2.4L Tigershark MultiAir II Engine 2.4L

  supplanted the World Gas Engine used previously by Chrysler and was a near top-

  down overhaul.




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        354. This advertisement depicts the new engine:




        355. The Defective Vehicles equipped with this engine include the

  following:

           • 2014 – 2020 Jeep Cherokee;

           • 2017 – 2020 Jeep Compass;

           • 2015 – 2020 Jeep Renegade;

           • 2015 – 2016 Chrysler 200;

           • 2013 – 2016 Dodge Dart; and

           • 2016 – 2020 Fiat 500X.

        356. The 2.4L Tigershark engine employs an electro-hydraulic “MultiAir”

  technology proprietary to FCA. MultiAir is supposed to offer more controllable flow

  of air during the engine combustion cycle when compared to mechanical variable

  valve timing systems. According to FCA, the MultiAir technology is supposed to

  increase engine power and torque, reduce fuel consumption, and reduce emissions.




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  Based on information and belief, FCA’s MultiAir hydraulic system requires strict

  maintenance of oil volume to function properly.

        The Defects in the Defective Vehicles

               The Oil Consumption defect creates a safety hazard for class
               members.

        357. Engine oil is necessary to reduce wear on moving parts throughout the

  engine, improve sealing within the combustion chamber, and to cool the engine by

  carrying heat away from the moving parts. If there is insufficient engine oil, the

  engine will not have the necessary lubrication or cooling, causing premature wear of

  internal parts, inadequate performance, and catastrophic engine failure.

        358. As explained by FCA in a July 31, 2015 Technical Service Bulletin,

  “Engines require oil to lubricate and protect the load bearing and internal moving

  parts from wear including cylinder walls, pistons and piston rings.”

        359. But according to FCA dealerships, there is a problem with the pistons

  and/or rings causing the Oil Consumption defect.

           • A March 29, 2019 National Highway Traffic Safety Administration

               (“NHTSA”) complaint regarding a 2015 Jeep Cherokee indicates that

               the “dealership says this is an oil consumption issue” having “to do with

               the pistons.”

           • An April 2, 2019 NHTSA complaint regarding a 2018 Jeep Compass

               says that the “consumer stated dealer told him [it was the] rings and


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                pistons in the engine” and the “engine was burning a tremendous

                amount of oil.”

              • A November 22, 2019 NHTSA complaint regarding a 2016 Jeep

                Cherokee says that an “engine piston [was] blown” due to a “faulty

                engine with excessive oil consumption.”

        360. Likewise, a January 26, 2019 NHTSA complaint regarding a 2015

  Chrysler 200 says that the driver took the car to a mechanic “to figure out why the

  oil was running out so fast,” and it “turn[ed] out the piston rings in the car are bad,

  [and] to fix this he said the engine would have to be taken [a]part fully and fixed.”

        361. In a Technical Service Bulletin dated July 31, 2015, FCA addresses oil

  consumption in its vehicles but hides the precise cause of the defect. Instead of

  describing the cause and the fix in the bulletin, FCA instead directs the dealership

  “to   the    detailed   diagnostic   procedures   available   in   DealerCONNECT>

  TechCONNECT.”

        362. On information and belief, and based on the description of the defect in

  another case involving similar allegations, the top sidewall of each engine piston

  contains piston rings that prevent engine oil from entering the combustion chamber,

  as well as optimizing compression. But the oil control strategy in the Defective

  Vehicles does not work as intended, allowing engine oil to escape past the oil control

  piston ring and into the combustion area. This is the result of oil control piston rings



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  that do not integrate properly with the cylinders in which they operate. Although

  piston rings do not require maintenance, and are purportedly lifetime parts, the rings

  in Defective Vehicles wear down, whereby the oil control piston ring is worn flush

  with the piston wall, allowing engine oil to be consumed during the compression

  cycle.

           363. And if there is insufficient engine oil, the engine will not have the

  necessary lubrication or cooling, causing premature wear of internal parts and

  catastrophic engine failure.

           364. To avoid such catastrophic engine failure, FCA employs what it calls a

  “safety feature”—the Defective Vehicles upon detecting low oil pressure simply

  shut down. As repeatedly remarked upon in NHTSA complaints regarding the Jeep

  Cherokee, the “dealership says it is a safety feature to shut engine off in the middle

  of the freeway” and “the car shutting off while in motion was referred to as a safety

  feature by the dealership.” But consumers say it is “an unsafe safety feature and

  downright dangerous” and “a safety feature to save [the] engine but apparently not

  human lives.” And one consumer called it not a “safety feature” but a “danger

  switch.”

           365. The Oil Consumption defect unreasonably threatens the safety of

  drivers and passengers using the Defective Vehicles. Because of the Oil

  Consumption defect, the Defective Vehicles are prone to sudden and unexpected



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  shut down, creating unsafe driving conditions when the vehicle stalls or shuts off

  without warning, as indicated in these NHTSA complaints:

           • I PURCHASED A 2019 JEEP CHEROKEE AND IN LESS THAN
             3,000 MILES THE CAR BROKE DOWN. IT GAVE NO
             INDICATION, JUST COMPLETELY SHUT OFF WHILE I WAS
             DRIVING IN THE MIDDLE LANE OF A FAST-PACED
             HIGHWAY AND ALMOST KILLED ME. THE DEALERSHIP
             TOLD ME IT WAS LOW ON OIL. June 12, 2019, complaint regarding
             2019 Jeep Cherokee.

           • VEHICLE, WHILE IN MOTION, STALLS AND ENGINE SHUTS
             OFF AT ANY SPEED. BEING TOLD OIL BURNS TOO QUICKLY
             IN THESE VEHICLES AND THIS IS A SAFETY FEATURE THE
             CAR HAS ALTHOUGH IT HAS ALMOST COST ME MULTIPLE
             SERIOUS/POTENTILLY FATAL COLLISIONS WITH MY
             INFANT CHILDREN IN THE VEHICLE. NO OIL INDICATOR
             HAS EVER TURNED ON INDICATING OIL LEVEL IS LOW.
             HAD SAME ISSUE WITH THIS CAR AT 15,000 MILES IN WHICH
             ENGINE WAS COMPLETELY REPLACED BUT NOW IS DOING
             THE SAME THING AS BEFORE. THIS IS A WELL
             DOCUMENTED ISSUE AMONGST JEEPS - WHY HAS THERE
             NOT BEEN A RECALL? THIS IS A MAJOR SAFETY CONCERN
             AND OUR LIVES AND THE LIVES OF OUR CHILDREN ARE AT
             RISK AS I ALMOST WAS T-BONED TODAY AS MY ENGINE
             STALLED IN A BUSY INTERSECTION. I WAS ATTEMPTING TO
             TURN BUT HAD NOT YET MANEUVERED AND WAS LEFT
             STALLED IN THE MIDDLE BLOCKING ONCOMING TRAFFIC
             ON A BUSY CITY STREET BUT HAD HAD THIS SAME
             PROBLEM HAPPEN ON A HIGHWAY. August 6, 2019, complaint
             regarding a 2016 Jeep Cherokee.

           • CAR JUST RANDOMLY SHUT OFF IN MIDDLE OF A 50 MPH
             HIGHWAY, ALMOST CAUSED ACCIDENT. IT DID IT A COUPLE
             MORE TIMES BEFORE I GOT IT LOOKED AT. DEALER SAID IT
             WAS SO LOW ON OIL IT SHUT OFF. January 5, 2017, complaint
             regarding a 2015 Jeep Cherokee.




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          • THE DEALER EXPLAINED WHEN THE DIPSTICK DOES NOT
            “FEEL” OIL THE ENTIRE CAR ESSENTIALLY SHUTS DOWN
            AND LOCKS UP IN ORDER TO “PROTECT THE ENGINE”
            CAUSING THE DRIVER TO LOSE ALL ABILITY TO CONTROL
            IT. THEY MIGHT BE PROTECTING THE ENGINE FROM
            BURNING OIL, BUT TO LOSE FUNCTIONALITY PUTS MY
            LIFE AND FAMILY IN DANGER. JEEP/CHRYSLER HAVE HAD
            THIS REPORTED BEFORE AS I FOUND NUMEROUS CASES OF
            THE SAME STORY. HOWEVER NO RECALL HAVE BEEN
            ISSUED. I COULD HAVE BEEN IN A VERY SERIOUS
            ACCIDENT. I WAS NOT TOLD ANY OF THIS INFORMATION
            WHEN I PURCHASED THE CAR. May 21, 2019, complaint
            regarding 2016 Jeep Cherokee.

          • WHEN CAR STALLS OUT IT IS WHILE YOU ARE DRIVING AND
            HAPPENS WITHOUT WARNING, I WAS IN THE MIDDLE OF AN
            INTERSECTION THE FIRST TIME IT HAPPENED TO ME. I
            COULD HAVE BEEN KILLED TO “SAVE THEIR ENGINE.”
            January 8, 2019, complaint regarding 2016 Jeep Cherokee.

          • WHILE DRIVING THE ENGINE CUT OUT. I DRIFTED TO THE
            SIDE OF THE ROAD, PUT IT IN PARK AND RESTARTED IT.
            THERE WASN'T ANY MESSAGE THERE WAS A PROBLEM. IT
            WAS FINE FOR A COUPLE OF DAYS AND THEN WHILE
            DRIVING TO WORK THE SAME THING HAPPEN AGAIN. I WAS
            ABLE TO GET TO THE SIDE WITHOUT BEING HIT. ON
            CHECKING THE INTERNET IT SHOWED OTHERS HAD THE
            SAME PROBLEM AND WAS RELATED TO OIL. . CHECKED OIL
            AND IT WAS LOW. I TOOK IT TO THE DEALERSHIP AND
            THEY CONFIRMED THE 2.4 CUTS OFF EVEN IF THE
            VEHICLE IS IN MOTION WITH NO WARNING WHEN OIL IS
            LOW. NO ONE EVER TOLD ME THIS. HAD I BEEN ON A
            BUSIER MULTI LANE ROAD I MAY HAVE BEEN INVOLVED
            IN AN ACCIDENT. I HAVE NEVER NEEDED TO CHECK MY OIL
            BETWEEN SERVICE ON A NEWER CAR BEFORE THIS IS AN
            UNSAFE DEFAULT TO LOW OIL. IT PUTS THE DRIVER AND
            PUBLIC IN DANGER. HAD I BEEN TOLD THE VEHICLE MAY
            SHUT OFF WHILE I WAS DRIVING I WOULD NEVER HAVE
            BOUGHT THE CAR. I CANT BELIEVE THAT THEY ARE



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               ALLOWED TO HAVE THIS AS A FEATURE WITH NO
               WARNING. April 28, 2018, complaint regarding 2016 Jeep Cherokee.

           • WHILE DRIVING MY CAR, THE ENGINE SHUT OFF IN MID
             DRIVE, IN MOTION, IN A PARKING STRUCTURE GETTING
             READY TO GET ON THE FREEWAY. I COMPLAINED TO THE
             DEALER AND THEY SAID IT WAS BECAUSE I NEEDED AN OIL
             CHANGE AND I WASN’T OVER MILEAGE BY THAT MUCH, HE
             SAID HE HAS HEARD THIS HAPPEN BEFORE TO A
             CUSTOMER. I WAS SO TERRIFIED BECAUSE I COULD HAVE
             BEEN ON THE FREEWAY AND COULD HAVE GOTTEN INTO
             AN ACCIDENT AND INJURED AND UNTIL THIS DAY I AM
             VERY DISTURBED AND WORRY IF IT WILL TURN OFF
             WHILE DRIVING AND EVEN MORE TERRIFIED IF I AM ON
             THE FREEWAY! I JUST WANT TO REPORT THIS BECAUSE
             THE DEALERSHIP’S RESPONSE DIDN’T SIT WELL WITH ME
             AND I THINK IT IS VERY VERY DANGEROUS FOR THE CAR
             TO TURN OFF JUST BECAUSE YOU NEED AN OIL CHANGE,
             IS THERE A DEFECT IN MY CAR? August 20, 2018, complaint
             regarding 2018 Jeep Cherokee.

           • CAR IS BURNING OIL AND SHUTTING OFF ON THE ROAD,
             WHICH I OR MY CHILDREN, CAN EASILY GET HURT OR
             KILLED. HAVE TRIED TO HAVE RESOLVED NUMEROUS
             TIMES WITH UNSATISFACTORY RESULTS FROM THE CAR
             LOT. AS ADVISED FROM THE SERVICE MANAGER THIS IS
             NORMAL UNDER CHRYSLER STANDARDS. February 23, 2018,
             complaint regarding 2015 Jeep Cherokee.

        366. The Oil Consumption Defect also increases the expected cost of

  ownership and maintenance of the Defective Vehicles. In order to prevent their

  vehicles from stalling, Plaintiffs and class members have needed to replenish the oil

  of their vehicles at excessive abnormal rates. Additionally, the Oil Consumption

  defect has the consequential effect of shortening the expected lifespan of other

  mechanical components of the Defective Vehicles. Because of this, Plaintiffs and


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  class members have and will be forced to replace these components at a much higher

  rate than they reasonably expected when purchasing the vehicles, thereby increasing

  their overall cost of ownership.

               The Oil Indicator defect creates a safety hazard for class members.

        367. The dangers of the Oil Consumption defect are worsened by the

  Defective Vehicles’ inability and/or failure to alert drivers to dangerously low oil

  levels and/or oil pressure.

        368. FCA has equipped the Defective Vehicles with an oil change indicator

  system. This is a software based, algorithm-driven device that purportedly takes into

  account various engine operating conditions to determine when the oil needs

  changing, such as ambient temperature and typical trip length. It then alerts the driver

  of the need for an oil change. As FCA states in the Owner’s Manual:

               Your vehicle is equipped with an automatic oil change
               indicator system. The oil change indicator system will
               remind you that it is time to take your vehicle in for
               scheduled maintenance.
               Based on engine operation conditions, the oil change
               indicator message will illuminate. This means that service
               is required for your vehicle. Operating conditions such as
               frequent short-trips, trailer tow, extremely hot or cold
               ambient temperatures will influence when the “Change
               Oil” or “Oil Change Required” message is displayed.
        369. FCA also explains in its Owner’s Manuals that “Severe Operating

  Conditions can cause the change oil message to illuminate as early as 3,500 miles




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  (5,600 km) since last reset. Have your vehicle serviced as soon as possible, within

  the next 500 miles (805 km).”

        370. And it further explains that oil should be changed “at 4,000 miles (6,500

  km) or 350 hours of engine run time if the vehicle is operated in a dusty and off road

  environment or is operated predominately at idle or only very low engine RPM’s,”

  as that “type of vehicle use is considered Severe Duty.”

        371. Otherwise, the oil change intervals should not exceed “10,000 miles

  (16,000 km), twelve months or 350 hours of engine run time, whichever comes first.

  The 350 hours of engine run or idle time is generally only a concern for fleet

  customers.”

        372. So a reasonable consumer driving under normal—as opposed to

  severe—driving conditions is instructed to change their oil either when prompted to

  do so by the oil change indicator or by 10,000 miles or twelve months.

        373. Remarkably, FCA’s oil change indicator does not take into account

  actual, as opposed to predicted, oil levels. So it does not alert drivers of the Defective

  Vehicles to low oil levels or oil loss, even when oil levels are critically, dangerously

  low. Indeed, consumers routinely report not having yet received a change oil

  message at the time their vehicles stalled or shut off. Put another way, the Defective

  Vehicles regularly experience such severe shortages of oil that they automatically

  shut down to protect the engine before FCA’s indicator system tells them they are



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  due for an oil change. This represents a complete failure of the oil change indicator

  system to monitor and provide meaningful information regarding the real world

  status of the Defective Vehicle’s oil levels.

        374. FCA also misrepresents that the Defective Vehicles are equipped with

  a separate Oil Pressure Warning Light designed to illuminate when “low engine oil

  pressure” is detected. This messaging appears in the Owner’s Manual as follows:




        375. According to FCA, a “Red Telltale Light” will illuminate and a chime

  will sound to alert the driver to “stop the vehicle and shut off the engine as soon as

  possible.” FCA further instructs owners not to operate the vehicle until the cause is

  corrected. But this system also fails to alert drivers of the Defective Vehicles in

  advance of the vehicle spontaneously shutting off as a result of low levels.

        376. As a result of the Oil Indicator defect, consumers are not warned in time

  to avert sudden shut off of their vehicles, creating unsafe driving conditions, as

  indicated in these NHTSA complaints:

            • THE VEHICLE IS BURNING OIL BETWEEN CHANGES, IT
              SHUTS OFF IN THE MIDDLE OF DRIVING ON A ROAD
              BECAUSE IT HAS NO OIL. NO WARNING MESSAGES OR
              LIGHTS POP UP. I HAVE ALMOST BEEN HIT BY OTHER CARS


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             TWICE (WITH A CHILD IN THE BACKSEAT) BECAUSE THE
             CAR SHUTS DOWN AND THERE IS NO OIL IN THE CAR. MY
             SCREEN SAYS I HAVE OVER 50% REMAINING UNTIL THE
             NEXT OIL CHANGE! I WAS DRIVING DOWN THE ROAD, AND
             THE VEHICLE SHUT OFF AND I WAS ALMOST HIT BY OTHER
             CARS! January 29, 2019, complaint regarding 2016 Jeep Cherokee.

          • THE CAR WILL SHUT DOWN WITH ABSOLUTELY NO
            WARNING, DOESN’T MATTER HOW FAST YOU ARE GOING.
            THIS HAS HAPPENED ON BOTH HIGHWAY AND BACK
            STREETS. I’M TOLD BY DEALER THAT THE ISSUE IS THE OIL
            WAS TOO LOW AND THAT SOME SENSOR SHUTS DOWN THE
            ENGINE. NO WARNING LIGHT, NOTHING. JUST HAPPENS.
            CAN’T BELIEVE THIS FLAW HAS NOT BEEN RECALLED OR
            CAUSED FATALITIES. November 1, 2017, complaint regarding 2014
            Jeep Cherokee.

          • WHILE      DRIVING, THE    JEEP     WILL    TURN        OFF
            AUTOMATICALLY DUE TO THE ENGINE BURING TOO MUCH
            OIL. IT CAUSES A SAFETY CONCERN WHEN THE CAR
            AUTOMATICALLY STOPS AND CAUSES OTHER CARS TO
            SWIRVE OR TO HIT THE CAR. I HAVE ALMOST BEEN HIT
            MULTIPLE TIMES BECAUSE OF THIS. THERE IS NO
            WARNING TO IT AND NO OIL LIGHT TO TELL ME THE
            ENGINE IS LOW OF OIL. December 31, 2019, complaint regarding
            2015 Jeep Cherokee.

          • MY 2015 JEEP CHEROKEE LATITUDE HAS STALL OUT 3
            TIMES ON ME WHILE DRIVING ON BUSY HIGHWAYS. I TOOK
            THE VEHICLE IN FOR REPAIR AND WAS TOLD THIS
            PARTICULAR ENGINE CONSUMES OIL AT A FAST RATE AND
            WITHOUT ANY WARNING, WHEN LOW, WILL STALL
            UNEXPECTEDLY. NO WARNING, NO OIL PRESSURE GAUGE
            ALERTS, CAR SIMPLE STALLS. I AM AFRAID THE VEHICLE
            WILL STALL AND ME AND ANY OCCUPANT WILL BE KILLED
            OR SERIOUSLY INJURED. November 7, 2019, complaint regarding
            2015 Jeep Cherokee.

          • WHILE DRIVING ON SUNDAY MY JEEP SUDDENLY
            WITHOUT NOTICE OR WARNING SHUT OFF AND WOULD
            NOT RESTART, I WAS STRANDED IN MIDDLE OF THE ROAD

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               SINCE THERE WAS NO WARNING I HAD NO TIME TO PULL
               TO SIDE. AAA TOWED TO CLARK CHRYSLER/JEEP WHERE IT
               WAS BOUGHT AND UNDER EXTENDED WARRANTY. ALL
               PM’S HAVE BEEN DONE THERE AND DONE TIMELY. WHAT
               THEY FOUND WAS JEEP WAS DOWN 3 QTS OF OIL, I ASKED
               HOW THAT COULD BE AND WHY WOULD ENGINE SHUT OFF
               SO ABRUPTLY THEY CLAIM THE 2.4 ENGINES USE 1QT PER
               1,000 MILES, THAT NO INDICATOR OR WARNING COMES ON
               AND ENGINE WILL SHUT OFF TO PROTECT IT. NO WHERE IS
               IT LISTED IN OWNERS MANUAL. November 15, 2017, complaint
               regarding 2015 Jeep Cherokee.

           • THE ENGINE BURNS THROUGH ALL OF THE OIL IN ABOUT
             1500 MILES OF DRIVING. OIL HAS TO BE FILLED IN BETWEEN
             OIL CHANGES OR ENGINE WILL STOP WITH NO WARNING
             OR OIL LIGHT... ENGINE STOPS WHILE MOVING. February 24,
             2020, complaint regarding 2018 Jeep Cherokee.

           •   FIAT 500X 2016 TURNS OFF. NO WARNING, WHILE IN
               MOTION ON A CITY STREET. MULTIPLE TIMES, LOW SPEED
               (20 MPH) AND HIGHER SPEED (45 MPH). DEALERSHIP TOLD
               ME IT WAS BECAUSE I NEEDED TO CHANGE MY OIL. January
               12, 2019, NHTSA complaint regarding 2016 Fiat 500X.

           • THE 2018 JEEP CHEROKEE LATITUDE CONSUMES OIL AND
             HAS A MECHANISM WHERE IF THE CAR IS LOW ON OIL IT
             WILL JUST SHUT OFF WHEN DRIVING. THIS IS A SERIOUS
             SAFETY HAZARD AS THE CAR GIVES NO WARNING IT IS
             LOW ON OIL. SOMEONE IS GOING TO GET KILLED ONE DAY
             WHEN THESE CARS JUST SHUT OFF IN THE MIDDLE OF
             DRIVING. December 9, 2019, complaint regarding 2018 Jeep
             Cherokee.

        377. Consumers reasonably relied on FCA’s representations in the Owner’s

  Manuals regarding the oil indicator system and its ability to give notice of the need

  for an oil change. Those material misrepresentations are false and have unreasonably

  placed Plaintiffs and class members at an increased risk of injury or death.



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               The Oil Consumption defect causes higher emissions.

        378. As discussed in Section IV.B.1. above, on information and belief, the

  oil control strategy in the Defective Vehicles does not work as intended, allowing

  oil to escape past the oil control piston ring and enter into the combustion chamber

  which is the area circled in magenta in the diagram below. Not all of the oil that

  enters the combustion chamber is burned. As the piston rises into the combustion

  chamber, pressure forces the excess oil passed the exhaust valve along with the hot

  exhaust gases resulting from the combustion.




        379. Once past the exhaust valve, the excess oil and exhaust gases enter into

  the exhaust manifold travelling down a pipe toward an oxygen (O2) sensor and the

  catalytic converter.

        380. The catalytic converter is the central component to a vehicle’s

  emissions system. Since 1975, all cars and light-duty trucks have come equipped



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  with when the Clean Air Act standards on harmful emissions came into effect. 2 The

  catalytic converter converts dangerous compounds produced in the combustion

  process such as carbon monoxide (CO), unburnt hydrocarbons (HC), and nitrogen

  oxides (Nox) into less harmful carbon dioxide (CO2), nitrogen (N2), and water

  (H2O).

         381. A catalytic converter has no moving parts and is designed to last the

  normal useful life of a vehicle. Pressure pushes exhaust gases through two ceramic

  honeycomb structures made of heat resistant clay contained within a stainless steel

  case. Each of the channels within the honeycomb structure are lined with precious

  metals such as platinum, rhodium and palladium that act as catalysts to the

  conversion process. When carbon monoxide (CO), unburnt hydrocarbons (HC), and

  nitrogen oxides (Nox) molecules come into contact with the platinum, rhodium and

  palladium, the molecules are stripped apart and then recombined into less harmful

  carbon dioxide (CO2), nitrogen (N2), and water (H2O). The honeycomb structure

  increases surface area for these precious metals to come into contact with the harmful

  carbon monoxide (CO), unburnt hydrocarbons (HC), and nitrogen oxides (NOx).

  The photograph below shows a catalytic converter with part of its stainless steel case



     2
       Exhibit 2, Automobile Emissions Reduction Efforts in the U.S. – Chronology,
  EPA Air and Radiation Office of Mobile Services (1999),
  http://www.ehso.com/ehshome/auto-emissions_chronol.htm (last visited Oct. 15,
  2020)

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  removed revealing one of the two ceramic honeycomb structures which is circled in

  yellow.




        382. If excess oil enters into the catalytic converter, the conversion process

  is disrupted. Excess oil will coat the working surfaces of the ceramic honeycombs

  so that the platinum, rhodium and palladium cannot react with the toxic exhaust

  gases. This is called “catalyst poisoning” and the result is that the vehicle will release

  higher levels of harmful emissions.

        383. Excess oil in the exhaust system can cause other problems that lead to

  higher emissions. On both sides of the catalytic converter, O2 sensors monitor the

  concentration of oxygen in the exhaust gases circled in green in the diagram below.

  The O2 sensors transmit that data to the Engine Control Unit (“ECU”) circled in red

  in the diagram below.



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        384. The phosphorus in the excess oil will foul the O2 sensor, causing the

  O2 sensor to degrade or fail. When the O2 sensor is fouled, it will tell the vehicle’s

  ECU that the fuel/air mixture circulating through the engine is too lean - meaning

  that there is too little fuel and too much air in the mixture.

         385. The ECU will respond by adding fuel to the fuel/air mixture creating a

  “rich” fuel mixture (“rich” because there is too much gasoline and too little air).

  When engines run using a “rich” fuel mixture, fuel economy declines because the

  engine is receiving more fuel than it can consume during the combustion process.

        386. If the issue is not repaired, the excess fuel will burn when it mixes with

  oxygen inside the catalytic converter and melt the ceramic honeycomb structures.

  As a result, the catalytic converter’s ability to reduce harmful emissions will be

  compromised.


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        387. When the catalytic converter or O2 sensors are compromised, the

  Check Engine light should illuminate on the display panel informing the driver of a

  problem. Upon information and belief, the Defective Vehicles fail to provide notice

  of an issue to the driver. The result is that drivers are left completely unaware that

  the dangerous Oil Consumption defect is also causing the Defective Vehicles to have

  an emissions system that is defective, pollutes at levels that exceed the intended

  levels, and violate state and federal emissions standards.

        388. Excess oil entering into the exhaust system is widely known to cause

  increases in harmful emissions. And even if it weren’t, FCA’s testing would have

  revealed the Emissions issue.

        389. On January 17, 2006, the EPA issued two final rules related to exhaust

  emission durability for passenger trucks and other vehicles. Under these rules, truck

  and engine manufacturers can use one of two methods for testing the - 83 -

  emissions’ durability—using a chassis dynamometer to test the vehicles after they

  have run for a given period of time, or using a “bench aging” procedure which

  involves using extreme heat to test certain components, including the catalytic

  converters.

        390. In either case, certificate holders must test and certify that the vehicles

  will comply with EPA emissions standards throughout their “useful life,” which is

  currently defined as 120,000 miles. As the Clean Air Act Handbook describes it,



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  “[t]he demonstration of light-duty vehicle emission durability for purposes of

  certification consists of two elements: (1) emission deterioration (the extent

  emissions will increase during the vehicle's useful life); and (2) component

  durability (whether emission-related components will operate properly for the useful

  life of the vehicle).”

         391. As a result, FCA knew about the Excess Emissions defect from the

  beginning, because they are required to test the Defective Vehicles for their useful

  life, and the Excess Emissions defect would have manifested itself during those tests.

  But they pushed forward with the development of the Defective Vehicles with the

  2.4L Tigershark engine anyway.

         392. And as discussed in greater detail in Section V.D.1 below, FCA was

  well aware of the Excess Emissions defect long before the Defective Vehicles first

  came to market. FCA successfully hid the Excess Emissions defect from the public

  for years. The Defective Vehicles fail to inform drivers that the emissions’ system

  is compromised. However, on July 31, 2020, FCA finally admitted that

  “approximately 1 million vehicles equipped with the 2.4L Tigershark engine may

  have excess tailpipe emissions.”3 With 1.6 million vehicles equipped with the 2.4L

  Tigershark engines, FCA’s representation that only 1 million vehicles “may have



     3
      Exhibit 3, Securities and Exchange Commission, Form 6-K, Fiat Chrysler
  Automobiles, N.V. (Jul. 31, 2020) at 71.

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  excess tailpipe emissions” is conservative at best and misleading at worst. 4 “As this

  population [of Defective Vehicles] ages some vehicles exceed in-use emission

  requirements, depending on drive cycle and mileage.”5

         FCA’s national advertising campaign misrepresents the safety and
         reliability of the Defective Vehicles.

         393. FCA knows that the safety of their vehicles is material to consumers. A

  car is more than just transportation: it is the primary means that consumers will use

  to ensure that their family and friends are safe and secure when travelling on

  America’s roads and highways. FCA spends millions of dollars every year on

  advertising that is specifically designed to persuade consumers that their vehicles

  are safe and reliable. However, FCA’s advertising entirely omits any mention of the

  safety risks posed by the Oil Consumption and Oil Indicator defects. Given that FCA

  knew about all of these defects and the safety risks they posed to consumers and the

  general public and knew that these issues were material to a reasonable consumer,

  FCA was obligated to disclose this information.




     4
       See id.
     5
       Exhibit 4, Eric D. Lawrence, Fiat Chrysler planning for big recall of engine
  used in Jeeps, Detroit Free Press, Aug. 5, 2020, available at
  https://www.freep.com/story/money/cars/chrysler/2020/08/05/fiat-chrysler-
  tigershark-engine-recall-oil-consumption/3288932001/ (last visited Oct. 15, 2020).

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        394. The following are examples of Jeep Cherokee advertisements

  concerning the Defective Vehicles that touted their safety and reliability while

  failing to disclose the Oil Consumption, Oil Indicator, and Excess Emissions defects:




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        395. These advertisements state: “Whatever the destination, the 2020 Jeep®

  Cherokee can help keep you and your passengers safe and secure on all your

  journeys. Over 80 standard and available safety and security features work together

  to help you stay protected on all your travels.” They also state: “The 2020 Jeep Grand

  Cherokee is always ready. Even when you’re not. With over 70 Standard and

  available safety and security features, plus new standard and available ProTech

  Packages, the Grand Cherokee may help keep you and your loved ones out of harm’s

  way.” And they state: “Courageous by nature. The 2020 Jeep® Cherokee offers over

  80 standard and available safety and security features designed to step in and help

  protect you from the unexpected.” But these representations are not in fact true due

  to the undisclosed Oil Consumption and Oil Indication defects.

        396. The following are examples of Jeep Compass advertisements

  concerning the Defective Vehicles that touted their safety while failing to disclose

  the Oil Consumption and Oil Indicator defects:


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        397. These advertisements state: “Equipped with over 70 standard and

  available safety and security features, the 2020 Jeep® Compass is engineered to

  inspire confidence with its every innovation.” And they also state: “Intuitive and

  always thinking ahead. The 2020 Jeep® Compass offers innovative standard and

  available safety and security technology designed to help protect you from the

  unexpected and anticipate the things you don’t.” But these representations are not in

  fact true due to the undisclosed Oil Consumption and Oil Indication defects.

        398. The following are examples of Jeep Renegade advertisements

  concerning the Defective Vehicles that touted their safety while failing to disclose

  the Oil Consumption and Oil Indicator defects:




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        399. These advertisements state: “Wherever you go, over 70 standard and

  available safety and security technologies can go with you in the 2020

  Jeep® Renegade—an ideal balance of excitement and peace of mind.” And these



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  advertisements state: While you’re on the lookout for thrills and adventure, the 2020

  Renegade offers over 70 standard and available safety and security features looking

  out for you and your crew.” But these representations are not in fact true due to the

  undisclosed Oil Consumption and Oil Indication defects.

        400. FCA had ample opportunity to disclose the truth about the Oil

  Consumption, Oil Indication, and Excess Emissions defects to consumers. FCA

  could have disclosed these material facts: a) in any one of their advertisements for

  the Defective Vehicles; or b) in the User Guide that comes with every Defective

  Vehicle; or c) in the Owner’s Manual that comes with every Defective Vehicle; or

  d) at FCA dealerships where FCA instructs dealers what to say about the Defective

  Vehicles; or e) in the written materials dealers give to consumers when they are

  considering whether to purchase a Defective Vehicle; or f) on the FCA website

  where FCA marketed the Defective Vehicles to consumers across the country.

        FCA has known of the dangerous defects present in the Defective Vehicles
        for years.

        401. Upon information and belief, FCA has known about the dangerous

  defects present in the Defective Vehicles since at least 2013 and acquired such

  knowledge through pre-release testing; post-release monitoring; dealership repair

  records; warranty and post-warranty claims; complaints made to NHTSA; complaints

  made on internet forums; and complaints made to FCA itself. Moreover, the defects

  themselves are pervasive, increasing the likelihood of FCA’s early knowledge.


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               Pre-release design, manufacturing, and testing data—as well as
               post-release monitoring—alerted FCA to the defects.

        402. It is standard practice for automobile manufacturers to engage in

  extensive pre-launch testing of its vehicles. FCA did so here and it would have been

  particularly robust given the switch to the new Tigershark MultiAir II Engine. This

  design, engineering, and testing data is unavailable to Plaintiffs without discovery,

  but upon information and belief, analysis of this data would have revealed the

  defects. Moreover, vehicle manufacturers such as FCA have significant and

  dedicated departments that monitor many public and subscription sites to ensure

  awareness of emerging safety-related issues, among others. Emerging problems such

  as the Oil Consumption and Oil Indicator defects would be tracked by FCA.

  Relevant information would be condensed and pushed to design, development,

  testing, service and quality departments for follow up.

        403. FCA routinely monitors the internet for consumer complaints. Its

  customer relations department routinely monitors the internet for customer

  complaints, and it retains the services of third parties to do the same. FCA’s customer

  relations division regularly receives and responds to customer calls concerning

  product defects. FCA’s customer relations department also collects and analyzes field

  data including, but not limited to, repair requests made at dealerships and service

  centers, technical reports prepared by engineers that have reviewed vehicles for

  which warranty coverage is requested, parts sales reports, and warranty claims data.


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        404. FCA knew about the defects because its customer relations department,

  which interacts with FCA-authorized service technicians in order to identify

  potentially widespread vehicle problems and assist in diagnosing vehicle issues, has

  received numerous reports that the Oil Consumption and Oil Indicator defects can

  cause mechanical breakdown and stall a moving vehicle without any warnings from

  the oil indicator system.

               Dealership repair records and warranty claims data also support
               FCA’s knowledge of the defects.

        405. Upon information and belief, FCA regularly compiles and analyzes

  detailed warranty service information regarding repairs performed under warranty

  at its network of dealerships. Indeed, FCA requires dealers to maintain detailed and

  meticulous records for any warranty repairs performed and routinely refuses to pay

  for warranty repairs made where the nature and cause of the malfunction is

  insufficiently described.

        406. Moreover, owners of Defective Vehicles have indicated that they made

  complaints directly to the dealerships as well as to FCA in 2015 and early in 2016.

  For example:

            • I WAS DRIVING AND ALL OF A SUDDEN THE VEHICLE
              ENGINE TURNED OFF. THANK GOODNESS THERE WAS NO
              TRAFFIC AS I WAS ONLY BLOCKS FROM THE JEEP DEALER.
              I WAITED APPROXIMATELY 30 SECONDS AND PUSHED THE
              START BUTTON AND LUCKILY THE VEHICLE STARTED BUT
              WOULD ONLY PUTT TO THE DEALER. THE DEALER HAD
              DIFFICULTY GETTING THE VEHICLE TO THE WORK


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              STATION. WHEN THEY CALLED ME TO TELL ME THEY FIXED
              IT THEY TOLD ME THE REASON IT STOP WAS BECAUSE IT
              WAS 2 QUARTS LOW OF OIL AND THAT WAS THE CAUSE.
              THIS WAS VERY STRANGE AS I REMINDED THEM TO LOOK
              AT MY SERVICE RECORD AT WHICH I HAD THE OIL SERVICE
              RECENTLY DONE AT THEIR FACILITY. THEY DID NOT KNOW
              HOW TO RESPOND.

              SUBSEQUENT I CONTACTED JEEP HEADQUARTERS
              (RESOLUTION DEPT.) AND EXPLAINED WHAT
              HAPPENED. May 11, 2015, NHTSA complaint for Jeep
              Cherokee.
           • WHILE DRIVING MY 2014 DODGE DART 2.4 TIGERSHARK
             ENGINE, THE VEHICLE SHUT OFF. THE BATTERY INDICATOR
             LIGHT CAME ON ALL ELECTRONICS INSIDE THE CAR WERE
             STILL OPERATIVE. I HAD A WRECKER TAKE THE CAR TO
             THE DEALERSHIP. DIAGNOSTIC TEST SHOWED LOST
             COMMUNICATION WITH THE BODY CONTROL MODULE.
             LOOKED AT OIL AND IT WAS LOW. I WAS TOLD BY AUTO
             TECHNICAN THAT THE AUTO SHUTS IT'S SELF OFF WHEN IT
             IS LOW ON OIL. THIS IS A VERY ALARMING SITUATION IF IT
             WOULD SHUT OFF WHILE DRIVING ON THE FREEWAY IN
             TRAFFIC I CALLED CHRYSLER AND REPORTED THIS. THE
             CALL CENTER STATED THAT SHE HAD 2 PEOPLE CALL THE
             DAY BEFORE AND 3 ON THE DAY I CALLED WITH THE
             EXACT PROBLEM. SHE SAID ALL THE CARS HAD OVER
             20,000 MILES ON THEM. March 19, 2016, NHTSA complaint for
             2014 Dodge Dart.

              By issuing its 2015 TSB, FCA implicitly acknowledged reports of
              abnormal oil consumption by 2015.

        407. Technical Service Bulletins (“TSBs”) document recommended

  procedures for repairing vehicles and are issued by a vehicle manufacturer when

  there are repeat occurrences of a reported problem.




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        408. On July 31, 2015, FCA issued an “Engine Oil Consumption Guideline,”

  TSB No. 09-007-15, to dealerships, providing guidance on what was an “acceptable

  rate of oil consumption” for all 2013-2016 vehicles equipped with gasoline engines,

  stating in relevant part:

               The accepted rate of oil consumption for engines used in
               the vehicles listed above is 1 quart (0.946 liter) in 2,000
               miles (3,200 km) for the 1st 50,000 miles (80,467 km). For
               vehicles with more then [sic] 50,000 miles the acceptable
               oil consumption for engines is 1 quart (0.946 liter) in 750
               miles (1,207 km).
        409. Of course, these guidelines are inconsistent with its oil change indicator

  and Owner’s Manual, as discussed above, and represent FCA’s attempt to

  “normalize” the excessive oil consumption of the Defective Vehicles. But more to

  the point here: they demonstrate that FCA was aware in 2015 that consumers were

  contacting FCA and dealers with oil consumptions issues necessitating the issuance

  of the TSB to address them. They also demonstrate that at minimum, FCA was on

  notice that problems arising from excessive oil consumption, such as the Excess

  Emissions defect, would be occurring in Defective Vehicles. And the Excess

  Emissions defect would become apparent if there were frequent warranty repairs or

  replacements to the oxygen (O2) sensors or catalytic converters—especially since

  the catalytic converters should last the normal useful life of the vehicle.




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              Complaints made to NHTSA and on internet forums also support
              FCA’s knowledge of the defects.

        410. In addition to the sampling of NHTSA complaints included throughout

  this complaint, there are hundreds of additional NHTSA complaints regarding the

  Oil Consumption and/or Oil Indication defects as to Jeep Cherokee alone, including

  dozens as to each of the 2014, 2015, 2016, 2017, 2018, and 2019 model years. The

  following is a sampling of NHTSA complaints from 2015 and early 2016 for Jeep

  Cherokee:

           • ON 12/19/14 WHILE DRIVING, MY VEH STALLED WITHOUT
             WARNING.     THERE     WAS     NO    WARNING    LIGHTS
             ILLUMINATED BEFORE, DURING/AFTER ITS FAILURE. I HAD
             TO HAVE THE CAR TOWED. AFTER INSPECTION, I WAS TOLD
             THAT THE ENGINE OF MY NEW JEEP WAS BURNING OIL.
             THE JEEP RECENTLY HAD BEEN IN FOR AN OIL CHANGE &
             RTD WITH THE MULTI POINT INSPECTION PAPERWORK
             INDICATING EVERYTHING WAS OK. HERB CHAMBERS,
             ALTHOUGH DIAGNOSISING THE JEEP TO BE “BURNING OIL”
             INSISTED, AT THE DIRECTION OF CHRYSLER PROTOCOL,
             THAT I DRIVE IT 5,000 MILES AND RETURN IT FOR FURTHER
             INSPECT. ONLY AFTER MY HUSBAND GOT INVOLVED DID
             THEY KEEP THE CAR, DRIVE IT, AND EVENTUALLY INSTALL
             A NEW ENGINE. June 15, 2015, NHTSA complaint.

           • NEXT MORNING DROVE 1/4 MILE DOWN ROAD AND IT HAD
             LOST ALL POWER AGAIN. CALLED DEALERSHIP TO LET
             THEM KNOW I WAS BRINGING IT BACK, JEEP WOULD NOT
             GO PAST 3RD GEAR, ALMOST HIT MULTIPLE TIMES TRYING
             TO GET OFF THE ROAD. GOT TO DEALERSHIP, THEY TOLD
             ME IT IS UN-DRIVEABLE AFTER DRIVING OVER AN HOUR TO
             GET THERE, THEY HAD JEEP ALMOST 3 WEEKS. MILEAGE
             WAS AROUND 18,000. WOULD NEED TO REPLACE
             TRANSMISSION, WHEN THEY FINALLY CALLED TO SAY IT
             WAS READY, I WAS TOLD IT WAS BC IT NEEDED AN OIL


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             CHANGE...WITH   ONLY   3500    MILES     ON   THIS
             CHANGE(FEB2015-MARCH2015). October 13, 2015, NHTSA
             complaint.

          • 2 TIMES ALREADY I HAVE HAD TO TAKE MY CAR INTO THE
            DEALERSHIP BECAUSE IT WOULD SHUT OFF RANDOMLY
            WHILE DRIVING. THIS HAS HAPPENED WHILE ON THE
            HIGHWAY AND ALSO WHILE ON BUSY STREETS. SO FAR I
            HAVE BEEN ABLE TO DRIFT TO THE SIDE OF THE ROAD, PUT
            THE CAR IN PARK AND THEN TURN THE CAR OFF AND BACK
            ON. THE CAR SPUTTERS WHEN RESTARTING AND ON
            MULTIPLE OCCASIONS WILL STALL AGAIN. BOTH TIMES
            THEY TRIED TO BLAME IT ON THE OIL CHANGE BEING
            OVERDUE. THE 2ND TIME I HAD TO HAVE THE CAR TOWED
            TO THE DEALERSHIP AND THEY STATED THERE WAS NO
            OIL IN THE CAR. HOW A CAR LOSES OIL IF THERE ISN’T A
            LEAK, I’M NOT SURE. THIS IS NOW THE THIRD TIME IT IS
            HAPPENING AND BASED ON THE CAR’S COMPUTER I STILL
            HAVE 30% TO GO BEFORE NEEDING AN OIL CHANGE AND
            THE CAR IS SHUTTING OFF ON ME AGAIN RANDOMLY. I
            WAS AT THE DEALERSHIP FOR THE 2ND TIME LESS THAN 3
            MONTHS AGO. I DRIVE IN MIAMI AND HAVE BEEN LUCKY
            THAT MY SON WAS NOT IN THE CAR WITH ME. November 17,
            2015, NHTSA complaint.

          • @3:30PM 12 /5 /15 CHEROKEE STOP IN THE MIDDLE OF THE
            INTERSECTION OF 13 MILE & UTICA. I HAD MY 7YR OLD IN
            THE CAR AND AVOIDED TRAFFIC ACCIDENT PULLED OVER
            AND IT SUDDENLY STOPPED AGAIN. FORTUNATELY WAS
            ABLE TO GET HOME WAS ONLY FIVE MINUTES AWAY.
            PLACED COMPLAINT TO CHRYSLER THEY TOWED THE
            VEHICLE 12/7/15. HOWEVER YESTERDAY 12/7/15 @6PM
            ROSEVILLE CHRYSLER JEEP DEALERSHIP SERVICE:(888)409-
            5930 CALLED TO TELL ME IT WAS MY ERROR THAT JEEP
            CHEROKEE STOP WORKING BECAUSE IT WAS “DUE AN OIL
            CHANGE IN OCTOBER”. I TOLD REPAIR SHOP MY HUSBAND
            AND I NEED TO SPEAK TO A MANAGER BECAUSE 1ST I
            RECEIVED NO LIGHT SIGNAL OR NOTIFICATION FROM
            THIS DIGITAL DISPLAY STATING I NEEDED AN OIL CHANGE
            WHICH IS PROVIDED BY 2014 JEEP CHEROKEE SECOND


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              THERE IS NO WAY THE VEHICLE SHOULD HAVE BEEN DRY
              OUT OF OIL UNLESS THERE IS LEAK OR SOMETHING
              CAUSED OIL TO DRY UP. December 8, 2015, NHTSA complaint.

           • NEW 2015 JEEP CHEROKEE LATITUDE WITH 4K MILES ON
             IT SUDDENLY TURNED ITSELF OFF WHILE DRIVING DOWN
             THE ROAD. NO WARNING OTHER THAN A MESSAGE ON THE
             DASH TO PUT THE CAR IN PARK TO CHANGE GEARS. VERY
             DANGEROUS, LOST CONTROL OF POWER STEERING, GAS
             AND BRAKES. WAS ABLE TO PUT CAR IN PARK ON SIDE OF
             ROAD, RESTART IT AND GET HOME. IT HAPPENED AGAIN
             THE NEXT MORNING AND WAS TOWED TO DEALERSHIP.
             SERVICE DEPT. RAN ALL UPDATES AND THE CAR SHUT OFF
             ON THEM WHILE TESTING IT TOO. HAS BEEN IN THE SHOP
             FOR 2 WEEKS AND THEY SAY IT WAS DUE TO EXCESSIVE
             OIL CONSUMPTION AND AR REPLACING THE ENGINE. I
             DON'T BELIEVE THIS TO THE CAUSE; NEVER GOT A
             WARNING LIGHT AT ALL AND CAR DOES RESTART AND
             RUN AFTER IT SHUTS ITSELF OFF. SCARED TO DRIVE IT
             ONCE I GET IT BACK AGAIN, IT IS REALLY LIKE A DEATH
             TRAP WHEN IT SHUTS OFF. YOU ARE THE MERCY OF ALL
             THE DRIVERS AROUND YOU TO GET OUT OF YOUR WAY.
             SOMEONE IS GOING TO GET HURT OR GET KILLED IF THEY
             DON'T FIGURE THIS OUT SOON. January 18, 2016.

        411. The following are some NHTSA complaints from 2015 and early 2016

  for Dodge Dart and Chrysler 200:

           • CAR CONSUMES 1QT OF OIL EVERY 1000 MILES. THE
             VALVETRAIN IS HYDRAULIC AND WHEN LOW THE CAR
             STUTTERS AND STALLS. June 26, 2015, NHTSA complaint for
             2013 Dodge Dart.

           • TL* THE CONTACT OWNS A 2014 DODGE DART. THE
             CONTACT STATED THAT THE ENGINE OIL WAS DEPLETING
             PREMATURELY. THE DEALER STATED THAT THE ENGINE
             MOTOR FAILED. THE DEALER STATED THAT THE MOTOR
             MAY NEED TO BE REBUILT. THE VEHICLE WAS NOT
             REPAIRED. THE MANUFACTURER WAS NOTIFIED. THE


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             APPROXIMATE FAILURE MILEAGE WAS 7,000. July 10, 2015,
             NHTSA complaint for 2014 Dodge Dart.

          • TL* THE CONTACT OWNS A 2014 DODGE DART. THE
            CONTACT      STATED THAT      WHILE     DRIVING      AT
            APPROXIMATELY 55 MPH, THE VEHICLE STALLED. THE
            CONTACT WAS ABLE TO RESTART THE VEHICLE. THE
            VEHICLE WAS TAKEN INTO THE DEALER WHERE IT WAS
            INFORMED THAT THE VEHICLE WAS LOW ON OIL. THE
            MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
            APPROXIMATE FAILURE MILEAGE WAS 31,000. THE VIN
            WAS NOT AVAILABLE. October 30, 2015, NHTSA complaint for
            2014 Dodge Dart.

          • CAR STALLED WHILE OPERATING UNDER FULL POWER ON
            THE INTERSTATE. IT TOOK APPROX. 3 MINUTES AND IT
            FINALLY RESTARTED. TOOK CAR TO DEALERSHIP. THEY
            STATE CAR IS NOT PART OF ANY RECALL BASED ON VIN #.
            THEY STATE STALLING WAS RESULT OF EXTREMELY LOW
            OIL…. November 13, 2015, NHTSA complaint for 2013 Dodge Dart.

          • MY 2014 DODGE DART LOSES OIL. THE OIL INDICATOR
            LIGHT DOES NOT WORK. HOWEVER THE OIL IS NOT
            LEAKING ON THE GROUND AND ONCE THERE IS NO OIL AT
            ALL IN THE VEHICLE, IT SHUTS OFF WHILE DRIVING. THIS
            HAPPENS UPON TAKING OFF. THE CAR HAS TO PUT IN
            NEUTRAL IN ORDER TO START. January 18, 2016, NHTSA
            complaint for 2014 Dodge Dart.

          • TIGER SHARK MULTI-AIR 2 ENGINE CONSUMES 1QT OIL PER
            1000 MILES. I WAS UNAWARE OF THIS CONSUMPTION ISSUE
            AND THE OIL WENT TO LOW AND ENGINE IS DESIGNED TO
            SHUT OFF. THIS STALLING HAS HAPPEN 3 TIMES TO AND 1
            TO THE DEALERSHIP. NONE OF THE CARS WARNING
            INDICATORS COME ON WHEN PRESSURE IS LOW THE CAR
            JUST        STALLS.    DEALERSHIP       RESOLUTION
            WATCH OIL LEVEL AND THERE IS FIX FOR THE
            CONSUMPTION OR ANY WAY FOR THE WARNING LIGHTS TO
            BE TRIGGERED. SO IF I FORGET TO CHECK THE OIL I AM
            GAMBLING WITH MY LIFE AND OTHERS ON THE ROAD IF



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             THE CAR STALLS WHILE ON THE HIGHWAY. January 21, 2016,
             NHTSA complaint for 2014 Dodge Dart.

          • I WAS DRIVING MY BRAND NEW CHRYSLER 200 THAT I
            BOUGHT 4 MONTHS PRIOR AND IT WAS COMPLETELY
            SHUTTING OFF IN THE MIDDLE OF THE ROAD... I LOST
            CONTROL OF STEERING UNTIL IT SHUT COMPLETELY OFF
            SO I COULD RESTART IT. VERY SCARY WHEN YOU HAVE
            YOUR NEWBORN BABY AND 10 YEAR OLD IN THAT BACK
            SEAT. NOT ONCE DID A CHECK ENGINE LIGHT COME ON OR
            ANY SENSOR COME ON TO TELL ME THAT MY VEHICLE
            HAD NO OIL IN IT. SO I BELIEVE THE ENGINE, ELECTRICAL,
            AND SENSORS ARE ALL MESSED ON THIS VEHICLE. I DO
            NOT FEEL LIKE I SHOULD BE STUCK WITH IT BECAUSE IN
            THE BACK OF MY HEAD I NO LONGER FEEL SAFE IN THIS
            VEHICLE. I AM REACHING OUT FOR HELP BECAUSE
            CHRYSLER WON’T AND I HAVE OWNED THIS CARE SINCE
            AUGUST AND IT WAS IN SHOP FOR 17 DAYS IN JANUARY, I
            HAVE IT BACK BUT I STILL DON’T THINK IT’S RUNNING
            CORRECTLY. February 7, 2016, NHTSA complaint for 2015 Chrysler
            200.

          • ON 3 SEPARATE OCCASIONS, MY 2013 DODGE DART GT
            WITH A 2.4 TIGER SHARK ENGINE WITH MULTIAIR HAS
            SHUT DOWN WHILE THE CAR WAS MOVING ON THE ROAD.
            THE REASON FOR THIS THE DEALERSHIP TOLD ME WAS
            DUE TO LOW OIL, WHICH WE RECENTLY REALIZED USES AT
            LEAST 1/2 QUART PER 1,000 MILES. THE DEALER SAYS THIS
            IS WITHIN NORMAL LIMITS. THEY SAID THAT BEFORE 50,000
            MILES IT IS WITHIN NORMAL LIMITS TO BURN 1 QUART FOR
            EVERY 1000 MILES AND AFTER 50,000 MILES IT IS NORMAL
            TO BURN 1 QUART FOR EVERY 750 MILES. THIS WAS NEVER
            DIVULGED TO ME WHEN I PURCHASED THE VEHICLE. IT
            FIRST DID THIS STARTING AT 35,000 MILES. THE VEHICLE
            NOW HAS 42,000 MILES. THERE HAS NEVER BEEN ANY OIL
            LIGHT OR ANY OTHER ENGINE LIGHT THAT GOES ON
            BEFORE THE VEHICLE DIES. IT HAS LEFT ME STRANDED IN
            THE MIDDLE OF THE ROAD IN SOME VERY DANGEROUS
            SITUATIONS. I NO LONGER FEEL SAFE DRIVING THIS CAR
            AND WHO WOULD WANT TO BUY IT FROM ME? TWO


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             DEALERSHIPS HAVE TOLD ME THAT IT IS NORMAL FOR
             THE ENGINE ON THIS CAR TO BURN LOTS OF OIL, TO DIE
             WHILE THE CAR IS MOVING IF THE OIL IS LOW, AND FOR
             THE OIL LIGHT NOT TO GO ON BECAUSE THE CAR WILL
             STOP RUNNING BEFORE THE SENSOR IS ACTIVATED. THEY
             TELL ME THEY HAVE SEEN THIS BEFORE. THE MAJOR
             PROBLEM IS THE OIL SENSOR NEVER ACTIVATES TO TELL
             ME THE OIL IS LOW. THEY TELL ME TO CHECK THE OIL
             LEVEL EVERY TIME I PUT GAS IN THE CAR. I FIND THAT TO
             BE AN UNACCEPTABLE SOLUTION. THE OIL HAS ALWAYS
             BEEN CHANGED AT NORMAL INTERVALS. February 10, 2016,
             NHTSA complaint for 2013 Dodge Dart.

          • I HAVE A 2014 DODGE DART THAT IS BURNING OIL AT
            WHAT SEEMS TO ME TO BE AN ALARMING RATE. I HAVE
            HAD MY VEHICLE IN THE SHOP OVER 4 TIMES. I AM BEING
            TOLD I HAVE NO LEAKS AND MY CAR IS FINE, AND THAT IT
            IS CHARACTERISTIC THAT MY CAR NEEDS TO
            HAVE OIL ADDED EVERY 2K MILES. I DRIVE MY CAR TO
            AND FROM WORK AND I RARELY TRAVEL OUT OF STATE. I
            AM NOT OVER DRIVING OR ROUGH DRIVING MY CAR BY
            ANY MEANS. I HAVE SPENT OVER 1K DOLLARS IN RENTALS
            AND REPAIRS. I HAVE A 3 YEAR OLD SON THAT I DRIVE TO
            DAYCARE 4 DAYS A WEEK AND I CANNOT MENTALLY BE
            COMFORTABLE DRIVING MY SON IN A CAR THAT STOPS IN
            THE MIDDLE OF THE ROAD BECAUSE ITS OUT OF OIL.
            DODGE HAS DONE NOTHING TO HELP ME AND I AM
            SEEKING LEGAL ACTION. April 5, 2016, NHTSA complaint for
            2014 Dodge Dart.

          • AFTER LENGTHY OIL CONSUMPTION TESTS ON CAR BY THE
            DEALER, I WAS TOLD IT BURNS 1 QUART OF OIL EVERY 1000
            MILES AND I WOULD HAVE TO ADD OIL AT THAT RATE.
            ALSO TOLD THIS WAS “ACCEPTABLE” BY CHRYSLER. NO
            LOW OIL LIGHT COMES ON, EVEN WHEN THE ENGINE
            TOTALLY FAILED AND I HAD TO HAVE IT TOWED TO THE
            DEALERSHIP. CURRENTLY HAVE 25000 MILES AFTER 2.5
            YEARS OWNED. April 25, 2016, NHTSA complaint for 2013 Dodge
            Dart.



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           • THIS VEHICLE HAVE HAD TWO OCCASIONS OF MASTER
             CYLINDER BRAKE FLUID LOSS AND UNEXPLAINED TOTALL
             ENGINE OIL EVAPORATION WITHOUT WARNING THAT
             CAUSED THE LOSS OF POWER WHILE DRIVING. LUCKILY IT
             HAPPENED IN CITY, NOT HIGHWAY. June 17, 2016, NHTSA
             complaint for 2014 Dodge Dart.

        412. And there are over a hundred NHTSA complaints each for the Jeep

  Compass, Jeep Renegade, and Dodge Dart, as well as dozens for the Chrysler 200,

  including this sampling:

        Dodge Dart

           • BURNED OIL AND NEED TO PUT OIL IN AFTER 750 MILES.
             NEW ENGINE WAS PUT IN, BUT IT STILL HAVE PROBLEMS.
             THE PROBLEM FIRST STARTED 12/4/17. I WAS DRIVING MY
             CAR AND IT COMPLETELY STOP WITHOUT WARNING. I
             TOOK IT TO THE DEALER AND IT WAS DETERMINED THAT
             IT WAS AN ENGINE ISSUE. AFTER 6 MONTHS, THE ENGINE
             WAS REPLACED. IT WAS BURNING OIL. August 11, 2018,
             NHTSA complaint for 2013 Dodge Dart.

           • THIS IS THE SECOND TIME THIS HAS HAPPENED. THE
             ENGINE WILL STALL RANDOMLY WHILE DRIVING. THE
             FIRST TIME IT HAPPENED, WE HAD TO HAVE IT TOWED TO
             THE DEALERSHIP. THEY SAID IT WAS A SENSOR COVERED
             UNDER WARRANTY. OK GOOD. WELL A FEW DAYS AFTER,
             THE PROBLEM HAPPENED AGAIN. THIS TIME THEY SAY IT'S
             BECAUSE THE OIL NEEDED TO BE CHANGED. THE HUD
             SHOWED OVER 50% OIL LIFE LEFT. THE SAME ISSUE
             HAPPENED AGAIN A FEW DAYS AGO. THE PROBLEM SEEMS
             TO RESOLVE AFTER AN OIL CHANGE. I'VE NOTICED THIS
             HAS HAPPENED TO A LOT OF PEOPLE, BUT STILL NO
             RECALLS. THIS IS EXTREMELY DANGEROUS. WHEN THE
             ENGINE STALLS, YOU LOOSE POWER STEERING AND
             BRAKES. THIS CAN CAUSE A MAJOR ACCIDENT. LUCKILY,
             IT'S ONLY HAPPENED ON SURFACE STREETS. THIS ISSUE



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             NEEDS TO BE LOOKED INTO AND FIXED. July 7, 2017, NHTSA
             complaint for 2014 Dodge Dart.

          • I DON’T KNOW WHAT TO DO WITH THE VEHICLE. IT’S GIVEN
            ME PROBLEMS SINCE I FIRST BOUGHT IT. THE FIRST TIME I
            HAD A PROBLEM WITH THIS VEHICLE WAS A MONTH AFTER
            I PURCHASED IT FROM THE DEALERSHIP. I WAS DRIVING IT,
            AND IT SUDDENLY TURNED OFF AND ALL OF THE LIGHTS
            ON THE DASHBOARD TURNED ON. NOW IT DOES IT
            FREQUENTLY. THE LAST TIME WAS LITERALLY THIS 3RD
            OF OCTOBER. THE DEALERSHIP MECHANICS SUPPOSEDLY
            SAID IT HAPPENS BECAUSE THE OIL IS LOW ON THE CAR,
            THAT THE CAR’S SYSTEM SHUTS OFF TO PROTECT THE
            VEHICLE FROM DAMAGE TO THE MOTOR, DUE TO LOW OIL.
            IT SEEMS RIDICULOUS THAT CHRYSLER IS WILLING TO
            RISK THEIR BUYERS WITH SUCH A FAULT SYSTEMS. ALL
            THE DEALER SAID WAS THAT IT WAS NORMAL AND
            NOTHING TO WORRY ABOUT. HOWEVER, WHEN THIS HAS
            HAPPENED TO ME IT HAS BEEN WHEN THE OIL LIFE IS AT
            NO LESS THAN 58%. IT IS VERY UNSAFE TO DRIVE THIS
            VEHICLE. I CAN CRASH AT ANY MOMENT. AND THE MOTOR
            JUST BURNS THROUGH OIL LIKE CRAZY. MY MECHANIC
            CHECKED IT AFTER MAYBE THREE WEEKS OF
            AN OIL CHANGE AND IT WAS COMPLETELY OUT
            OF OIL ALREADY. IT SEEMS LIKE. October 11, 2017, NHTSA
            complaint for 2014 Dodge Dart.

          • CAR STALLS WITHOUT WARNING IN ALL SORTS OF
            SCENARIOS, JUST STARTED, TURNING, STOPPING, UP HILL
            OR DOWN HILL. MULTIPLE INQUIRIES WITH CHRYSLER
            CORPORATE AND DEALERSHIPS RESULTED IN THEM
            TELLING ME THE CAR IS ENGINEERED TO ALLOW 1QT
            OF OIL BURNED EVERY 750 MILES, PER SPEC SHEET I HAD
            TO FIRMLY DEMAND TO BE ABLE TO SEE IT. WAS
            BASICALLY TOLD THERE IS NO PROBLEM THAT MY CAR
            DIES IN THE MIDDLE OF AN INTERSECTION WITH MY
            FAMILY IN IT, THEREBY THE POTENTIAL FOR A MAJOR
            CATASTROPHIC DEADLY SITUATION IS THERE. CHYRSLER
            CORPORATE CASES WERE CLOSED WITH NO RESOLUTION



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             AND THEY NEARLY MADE ME PAY FOR THE INQUIRY.
             November 6, 2019, NHTSA complaint for 2014 Dodge Dart.

          • I PURCHASED A 2015 DODGE DART 3/19/18 FROM A
            DEALERSHIP. I JUST HAD THE OIL CHANGE DONE WHICH
            WAS RECOMMENDED. THE CAR JUST RECENTLY STARTED
            TO STALL WHILE DRIVING. NO WARNING LIGHTS WENT ON.
            WE CHECKED THE BATTERY (WHICH WAS A YEAR OLD)
            AND THE ALTERNATOR AND THEY WERE FINE. I WENT TO
            AUTO ZONE TO CHECK IT OUT. I CALLED THE DEALERSHIP
            I BOUGHT IT AT AND THEY SAID IT COULD BE A NUMBER
            OF THINGS. NEVER DID THEY MENTION THE OIL BEING THE
            ISSUE. I GET A CALL FROM THE DEALERSHIP THAT THE
            BECAUSE THE OIL WAS LOW THE CAR WILL STALE TO
            PROTECT THE ENGINE. FIRST OF ALL, IT'S A SAFETY
            HAZARD IF THIS CAN RANDOMLY STALL, AND SECOND NO
            LIGHTS CAME ON FOR THE WARNING. THE CARS METERS
            SHOWED THAT THE OIL QUALITY WAS AT 85% AND GOOD.
            THIS IS VERY DANGEROUS. I CHECKED THE OWNERS
            MANUAL AND THERE IS NOTHING THAT PERTAINS TO THIS
            CAR STALLING. July 11, 2018, NHTSA complaint for 2015 Dodge
            Dart.

          • TL* THE CONTACT OWNS A 2016 DODGE DART. IN OCTOBER
            OF 2016, WHILE DRIVING 25 MPH, THE VEHICLE STALLED
            WITHOUT WARNING. THE VEHICLE WAS TAKEN TO A
            LOCAL DEALER (NAPLETON CHRYSLER JEEP DODGE RAM,
            1460 E OSCEOLA PKWY, KISSIMMEE, FL 34744) WHERE IT
            WAS DIAGNOSED THAT THERE WAS INADEQUATE OIL IN
            THE VEHICLE DURING PRODUCTION, WHICH CAUSED THE
            SENSOR TO SHUT THE VEHICLE DOWN. THE VEHICLE WAS
            REPAIRED, BUT THE FAILURE RECURRED. WHILE DRIVING
            40 MPH, THE OIL INDICATOR WAS FLASHING. THE VEHICLE
            WAS TAKEN BACK TO THE DEALER WHERE A
            COMPRESSION TEST WAS COMPLETED. THE DEALER
            DIAGNOSED THAT THE OIL WAS EVAPORATING AND THE
            ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS
            NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED OF
            THE FAILURE AND DENIED THE CLAIM. THE
            MANUFACTURER ADVISED THE CONTACT TO ADD OIL AND


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             REFER TO THE OWNER'S MANUAL. THE FAILURE MILEAGE
             WAS 15,638. December 12, 2017, NHTSA complaint for 2016 Dodge
             Dart.

        Chrysler 200

          • CAR WILL STALL WHILE COMING TO A STOP OR SLOWING
            TO MAKE A TURN. TOOK IT IN TO THE DEALERSHIP AND
            WAS TOLD THAT THE OIL NEEDED TO BE CHANGED AND
            THAT THE ENGINE WOULD AUTOMATICALLY “SHUT OFF” IF
            AN OIL CHANGE IS NEEDED. PROBLEM HAS OCCURRED
            NUMEROUS TIMES EVEN AFTER HAVING THE OIL
            CHANGED REGULARLY. November 1, 2016, NHTSA complaint for
            2015 Chrysler 200.

          • CAR BURNS ENTIRE SUPPLY OF OIL IN LESS THAN 1500
            MILES. ENGINE OIL DEPLETES WITHOUT WARNING THEN
            THE CAR CUTS OFF IN THE MIDDLE OF THE ROAD. OIL
            LIFE READS IMPROPERLY ON THE DASH. November 29, 2016,
            NHTSA complaint for 2015 Chrysler 200.

          • HAD THE CAR SINCE APRIL OF THIS YEAR. CUT OFF OVER 20
            TIMES AND CONSUMES OIL A LOT. I MEAN I’M ADDING OIL
            EVERY 700 MILES ALMOST. CAR HAS LEFT ME IN THE
            MIDDLE OF INTERSECTIONS WITH MY FAMILY IN DANGER.
            November 27, 2017, NHTSA complaint for 2015 Chrysler 200.

          • MY CAR HAS SHUT OFF 3 TIMES JUST THIS WEEK WHILE
            DRIVING. EACH TIME I WAS IDLING AT A STREET LIGHT.
            THE DASH SAYS TO PUT CAR BACK IN PARK AND THEN IT
            TAKES A COUPLE OF TRIES TO RESTART IT. TOOK IT TO THE
            DEALER THEY SAID I HAVE NO OIL. BUT I JUST HAD AN OIL
            CHANGE NOT TOO LONG AGO AND I HAVE NO LEAKS. THIS
            CAR IS CONSUMING WAY TOO MUCH OIL. NO WARNING
            LIGHT CAME ON THAT I WAS LOW ON OIL. I WAS IN A
            YIELDING LEFT HAND TURNING LANE WHEN THE CAR
            SHUT OFF 2 OF THE 3 TIMES. IF IT HAD HAPPENED A FEW
            SECONDS LATER I COULD HAVE BEEN T-BONED WITH MY
            SON IN THE CAR ON THAT SIDE. VERY DANGEROUS!!!!!
            THIS SHOULD BE RECALLED. December 1, 2017, NHTSA
            complaint for 2015 Chrysler 200.

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          • MY 2016 CHRYSLER 200 WAS PURCHASED BRAND NEW, HAS
            ONLY 15000 MILES. WHEN PULLING INTO TRAFFIC THE
            ENGINE SHUTS OFF. DASHBOARD PROMPT SAYS PUT IN
            PARK TO START.CAR WON'T START UNTIL AFTER 3
            ATTEMPTS AND IN THE MIDDLE OF TRAFFIC AND SEVERAL
            NEAR MISSED REAR ENDERS CAR STARTED BUT
            STUTTERING AND NO POWER. FINALLY AFTER SITTING IN
            THE MIDDLE OF TRAFFIC FOR 5 OR 10 MINUTES ENGINE
            SMOOTHED OUT. NO WARNING AT ALL. EXTREMELY SCARY
            AND DANGEROUS, BOTH TIMES CAR WAS IN MOTION
            TURNING ONTO A BUSY STREET IN HEAVY TRAFFIC,
            ENGINE JUST SHUT OFF FOR NO REASON. DEALERSHIP
            SAID OIL CHANGE WAS NEEDED BUT OIL LIFE GAUGE
            SAID 51% AND OIL CHANGE WASN'T DUE FOR ANOTHER 500
            MILES.TECH.AT THE DEALERSHIP SAID IT WAS A SAFETY
            FEATURE. I DON'T SEE ANYTHING SAFE ABOUT THE ENGINE
            SHUTTING OFF IN THE MIDDLE OF TRAFFIC. VERY UNSAFE
            AND DANGEROUS. SHOULD BE A RECALL FOR THIS BEFORE
            SOMEONE HURT OR KILLED. February 3, 2018, NHTSA complaint
            for 2016 Chrysler 200.

          • I HAVE NOTICED THAT MY 2016 CHRYSLER 200 IS
            BURNING OIL AT AN ALARMING RATE. I DIDN'T EVEN
            KNOW IT WAS LOW BECAUSE THERE IS NO SENSOR THAT
            SHOWS UP ON THE DASH LETTING ME KNOW THE OIL WAS
            LOW. THE "OIL CHANGE LIFE" IS STILL AT 20% LIFE BUT
            MY CAR HAS BURNED THRU OVER 4 QUARTS OF OIL IN 4,000
            MILES!! I FIND THIS EXTREMELY CONCERNING NOT TO
            MENTION THE POSSIBLE ENGINE DAMAGE THAT CAN BE
            DONE WITH A CAR BURNING THIS MUCH OIL. THERE
            SHOULD BE AN ALERT TO DRIVERS LETTING THEM KNOW
            THE OIL LEVELS ARE LOW. I HAVE NEVER HAD A CAR THAT
            BURNED OIL LIKE THIS! September 17, 2018, NHTSA complaint
            for 2016 Chrysler 200.

        Jeep Compass

          • ENGINE OIL AND STALLING. I WENT FOR MY 2ND OIL
            CHANGE 8/27/2018. THE SERVICE TECH AND A MECHANIC
            LISTENED WHEN I SAID THE OIL WAS BASICALLY GONE


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             AND MY HUSBAND HAD TO ADD 2 QUARTS. I EVEN
             CHECKED ALL THE SYSTEM WARNINGS AND THERE IS
             NONE FOR LOW OIL. WHEN PULLING OUT INTO AN
             INTERSECTION THE CAR TOTALLY SHUT OFF AT 4
             DIFFERENT TIMES. SO THE MECHANIC SAID YES THOSE 2.4
             ENGINES BURN 1 QUART EACH 1000 MILES AND WHEN THE
             OIL IS LOW THE ENGINE WILL JUST STOP. I ASKED ABOUT
             WHY THERE ARE NO WARNING LIGHTS, THE MECHANIC
             AGAIN SAID YES THERE IS NOT ONE. HAVING A CAR JUST
             SHUT OFF IS SO DANGEROUS. IT COULD HAVE BEEN A
             TERRIBLE ACCIDENT IF ANOTHER CAR WAS COMING ANY
             OF THOSE 4 SHUT OFFS…. September 4, 2018, NHTSA complaint
             for 2017 Jeep Compass.

          • VEHICLE SHUTS DOWN WHILE OPERATING. TOOK IT TO THE
            DEALER AND THE DEALER SAID IT USES A QUART OF OIL
            EVERY 500 MILES THEREBY BY CAUSING ENGINE TO SHUT
            DOWN DURING OPERATION. DEALER STATED CHRYSLER IS
            AWARE OF PROBLEM AND NO SOLUTIONS HAVE BEEN
            PROVIDED YET. DEALER ALSO STATED TO GET AN OIL
            CHANGE EVERY 3000 MILES. THIS VEHICLE HAS 33,720
            MILES AND WAS PURCHASED JUN 2017. November 5, 2019,
            NHTSA complaint for 2017 Jeep Compass.

          • WHEN PULLING OUT OF THE DRIVEWAY AND GOING FROM
            REVERSE TO DRIVE THE CAR STALLED IN THE MIDDLE OF
            THE STREET. THIS HAPPENED A FEW WEEKS AGO ALSO. I
            CALLED THE DEALERSIP AND THEY SAID IF THE OIL IS LOW
            THERE IS A SAFETY FEATURE THAT SHUTS DOWN THE
            ENGINE. THIS CAR ONLY HAS 3000 MILES ON IT AND IS 3
            MONTHS OLD. NO ENGINE LIGHT OR WARNING EVER CAME
            ON. I CHECKED THE OIL AND IT WAS A LITTLE LOW SO I
            ADDED A 1/2 A QUART. IN READING UP ON THIS VEHICLE IT
            SAYS IT BURNS QUITE A BIT OF OIL. THIS IS
            UNACCEPTABLE         THAT    THE       CAR      BURNS      THIS
            MUCH OIL AND THAT THE CAR WILL SHUT DOWN IF
            THE OIL IS A LITTLE BIT LOW. THIS IS MORE OF A SAFETY
            HAZARD IF THE CAR SHUTS DOWN WHILE DRIVING?
            September 21, 2018, NHTSA complaint for 2018 Jeep Compass.



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          • I HAVE ABOUT 5500 MILES ON MY NEW COMPASS. WHILE IN
            DRIVE THE VEHICLE DISPLAY FLASHED “OIL PRESSURE
            LOW” FOR LESS THAN A SECOND. THEN ANY INDICATION
            OF THAT WARNING LIGHT IS GONE. THE ENGINE THEN
            SHUTS DOWN WITH NO WARNING. NO BRAKE LIGHTS
            WHICH MAKES THIS EXTREMELY UNSAFE FOR THE
            POTENTIAL OF A REAR END CRASH. I TOOK THE CAR TO THE
            DEALERSHIP WHO SAID THAT THE ENGINE CONSUMED 3
            QUARTS OF OIL. THERE WAS NO INDICATION THAT THE
            CAR WAS LOW ON OIL UNTIL A SECOND BEFORE THE
            ENGINE STALLED AND TURNED OFF. December 4, 2018,
            NHTSA complaint for 2018 Jeep Compass.

          • WAS DRIVING AND WENT TO TURN AND THE JEEP TURNED
            OFF WITH NO WARNING. IT TOOK ME A MINUTE FOR IT TO
            START AGAIN. THE NEXT DAY I WAS TURNING ONTO THE
            HIGHWAY AND THE JEEP DID THE SAME THING. I'M LUCKY
            THAT THERE WAS AN AREA FOR ME TO BE ABLE TO COAST
            INTO ON THE SIDE OFF THE ROAD OR I COULD HAVE BEEN
            IN A SERIOUS ACCIDENT. HAD THE JEEP TOWED TO THE
            CLOSET DEALERSHIP AND THEY INFORMED ME THERE
            WAS NO OIL IN THE JEEP. I HAD 1K MILES LEFT TO MY
            NEXT OIL CHANGE AND GET MY OIL CHANGED ALWAYS
            BEFORE 5K MILES. THE DEALERSHIP TOLD ME THESE
            JEEPS BURN OIL FASTER THAN THEY SHOULD AND I
            SHOULD BUY SYNTHETIC OIL TO CARRY IN THE JEEP AND
            CHECK MY OIL EVERY COUPLE OF HUNDRED MILES. THIS
            SHOULD NOT BE THE SOLUTION, AS I WOULDN'T HAVE
            PURCHASED THE JEEP IF THEY TOLD ME I HAD TO
            CARRY OIL AROUND WITH ME & CHECK MY OIL EVERY
            COUPLE OF HUNDRED MILES. THIS ISSUE IS DANGEROUS,
            AS THERE IS NO WARNING THAT YOUR OIL IS LOW BEFORE
            THE JEEP TURNS OFF. I TRAVEL AT LEAST 100 MILES A DAY
            FOR WORK AND I DON'T FEEL SAFE IN THIS VEHICLE AND
            SHOULDN'T HAVE TO CHECK MY OIL EVERY OTHER DAY.
            April 2, 2019, NHTSA complaint for 2018 Jeep Compass.

          • JEEP COMPASS IS A SAFETY HAZARD DEATH TRAP; I
            CANNOT BELIEVE THERE IS NOT A RECALL ON IT! IT
            LITERALLY BURNS OIL DOWN TO NOTHING & WITH NO


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             WARNING WHATSOEVER THE PARKING BRAKE ENGAGES,
             THE DASHBOARD LIGHTS UP AND IT JUST STOPS, WHILE
             DRIVING, ON THE ROAD, IN TRAFFIC! THIS HAS HAPPENED
             TO ME TWICE! I HAVE CHANGED THE OIL REGULARLY
             (ACTUALLY EARLY) AND AFTER 3,000 MILES IT IS EMPTY??
             ARE YOU SERIOUS? FIRST TIME IT HAPPENED THE DEALER
             CONDUCTED AN "OIL CONSUMPTION" TEST, WHAT A JOKE.
             OBVIOUSLY IT IS OVER-CONSUMING OIL BECAUSE IT JUST
             SEIZED UP ON ME WHILE DRIVING & MAKING A TURN IN
             FRONT OF OTHER CARS AND THE DIPSTICK WAS CLEAR,
             NOT ONE DROP OF OIL LEFT! MADE SPECIAL TRIPS TO THE
             DEALER SO THEY COULD TOP OFF THE OIL AFTER 1,500
             MILES (THEIR SOLUTION TO THIS KNOWN PROBLEM) AND
             IT HAPPENED A SECOND TIME AFTER LESS THAN 3,000
             MILES, AND ONCE AGAIN WHILE MAKING A TURN I WAS
             ALMOST REAR ENDED BECAUSE THE JEEP STOPPED IN THE
             MIDDLE OF THE ROAD!!! THE JEEP IS CURRENTLY AT THE
             DEALER WHILE THEY "FIGURE OUT WHAT IS WRONG" AND
             HOW TO HANDLE IT. I WILL TELL YOU HOW TO HANDLE IT,
             RECALL THEM BEFORE SOMEONE DIES!!! IF I COULD DITCH
             JEEP/CHRYSLER RIGHT NOW I WOULD, AND AS SOON AS MY
             LEASE IS UP, I WILL BE GOING BACK TO GM CARS! August 15,
             2019, NHTSA complaint for 2018 Jeep Compass.

          • WHILE DRIVING IN A PARKING LOT, MY CAR SHUT OFF
            INSTANTLY, NO WARNING. THANK GOD I WAS NOT ON THE
            HIGHWAY OR THAT A CAR WAS NOT DRIVING BEHIND ME!
            MY HUSBAND CHECKED THE OIL AND IT WAS EXTREMELY
            LOW. CAR ONLY HAS, 2,840 MILES ON IT. BOUGHT THE CAR
            NEW ON, 6/30/2018, WITH ONLY, 28 MILES ON IT. WE TOOK
            THE CAR TO THE JEEP DEALERSHIP AND WAS TOLD
            THE OIL WAS EMPTY AND THE ENGINE IS BURNING OIL.
            HE SAID THIS IS HAPPENING WITH THIS MODEL AND
            OTHER JEEP/DODGE VEHICLES WITH THIS MOTOR. THE
            MECHANIC DID AN OIL CHANGE AND STATED TO BRING
            THE CAR BACK AFTER 500 MILES TO CHECK THE OIL AGAIN.
            HE STATED IF THE OIL LOST HAPPENS AGAIN, THEY
            WOULD HAVE TO REPLACE THE ENGINE, WITH THE SAME
            TYPE OF ENGINE AND HOPE FOR THE BEST. I THINK THIS
            IS ABSURD FOR A NEW VEHICLE WITH SO LITTLE MILES ON


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             IT! FIAT/CHRYSLER IS NO HELP AND WILL NOT GIVE ANY
             OPTIONS OTHER THAN REPLACING THE ENGINE.
             SHAMEFUL AND SHOWS THEY DO NOT VALUE THEIR
             CUSTOMERS TIME NOR FEELINGS. THEY CONTINUE TO
             MAKE THESE CARS WITH THESE SAME DEFECTED ENGINES.
             IF YOU SEARCH, JEEP BURNING OIL, YOU WILL FIND A TON
             OF COMPLAINTS. February 6, 2019, NHTSA complaint for 2018
             Jeep Compass.

          • BURNING EXCESSIVE OIL. HAD TO GET NEW MOTOR.
            SECOND MOTOR IS BURNING OIL. GOING THROUGH
            SECOND OIL CONSUMPTION TEST. 2018 JEEP COMPASS
            WITH 11,500 MILES. STILL UNDER WARRANTY. VEHICLE
            CAN STOP WITHOUT WARNING, ANYWHERE AT ANY TIME.
            December 12, 2019, NHTSA complaint for 2018 Jeep Compass.

          • THIS IS MY THIRD COMPLAINT ON THIS 2019 JEEP COMPASS.
            WHILE DRIVING THE VEHICLE STALLS AND THE
            EMERGENCY BRAKE AND OTHER LIGHTS COME ON. THE
            VEHICLE IS UNABLE TO BE RESTARTED AND HAS TO BE
            TOWED. THE DEALERSHIP HAS UPDATED SOFTWARE, AND
            NOW HAS SAID THAT THE CAR IS LOW ON OIL EVERY
            THREE WEEKS AND THAT'S WHY IT STALLS IN THE MIDDLE
            OF TRAFFIC EXTREMELY DANGEROUS AND I HAVE A BABY
            ON THE WAY!. THE OIL CHANGE INDICATOR DOESN'T
            EVER SHOW UP AND THE MANUFACTURER JUST GIVES
            THE RUN AROUND. August 23, 2019, NHTSA complaint for 2019
            Jeep Compass.

        Jeep Renegade

          • MULTIPLE TIMES SINCE OWNING THIS VEHICLE THE PAST 7
            MONTHS, I HAVE HAD TO GET 3 OIL CHANGES AND TOP OFF
            THE OIL MANY TIMES IN BETWEEN, WHICH IS MUCH MORE
            THAN THE MANUAL STATES IS NECESSARY. THIS VEHICLE
            BURNS THROUGH OR LOSES OIL TOO QUICKLY, WHICH
            CAUSES THE VEHICLE TO TURN OFF WHILE DRIVING (IN
            MOTION) WHICH IS A HUGE SAFETY CONCERN. IT OFTEN
            TURNS OFF GOING UP OR DOWN HILL, AND AFTER OR MID
            TURN (WHAT LITTLE OIL IS REMAINING SHIFTS) ON CITY


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             STREETS. MY CAR HAS TURNED OFF ITSELF IN THE MIDDLE
             OF TRAFFIC MORE THAN A DOZEN TIMES. SOMETIMES IT
             TAKES A COUPLE MINUTES BEFORE IT WILL TURN ITSELF
             BACK ON. LIKE MENTIONED, THIS HAS OCCURRED MORE
             THAN A DOZEN TIMES SINCE MAY 2018 (PURCHASED
             VEHICLE IN MARCH 2018). BETWEEN 10/29 AND 10/31, IT
             OCCURRED 9 TIMES. November 1, 2018, NHTSA complaint for
             2015 Jeep Renegade.

          • EXCESSIVE OIL CONSUMPTION . 30000 MILES IN THE ENGINE
            AND IT GOES THROUGH OIL MORE OFTEN THAN THE
            RECOMMENDED OIL CHANGES. MAJOR ACCIDENT ISSUE,
            CAUSED BY ENGINE STALLINGS DUE TO UNEXPECTEDLY
            LOW OIL. ENGINE STALLED WHILE DRIVING 65MPH ON
            THE FREEWAY. August 29, 2019, NHTSA complaint for 2015 Jeep
            Renegade.

          • THE CAR STALLS FREQUENTLY WITH NO WARNING AT
            SPEED AND ALSO WHEN EXECUTING A STOP. IT USES A
            HUGE AMOUNT OF OIL, 5 QTS BETWEEN CHANGES. I TOOK
            IT TO THE DEALER AND THEY TOLD ME THAT THIS CAR
            STALLS IF THE OIL LEVEL IS LOW. THIS MEANS THEY
            RECOGNIZE AN ISSUE AND HAVE DONE NOTHING ABOUT
            IT. HOW WOULD I KNOW THIS, AND HOW LOW DOES
            THE OIL HAVE TO BE TO STALL? THIS IS NOT NORMAL AND
            IF IT IS 'NORMAL' WHY HAVE THEY NOT TOLD ALL
            RENEGADE OWNERS? I WILL NEVER FEEL SAFE IN THIS CAR
            BECAUSE IF IT STALLS ON THE FREEWAY AT 60 MPH I WILL
            MOST CERTAINLY HAVE A CRASH. May 17, 2019, NHTSA
            complaint for 2016 Jeep Renegade.

          • I HAVE A 2017 JEEP RENEGADE, THE CAR IS RUNNING OUT
            OF OIL , I’VE TAKEN THE CAR TO THE DEALER MULTIPLE
            TIMES AND IT SEEMS THAT THE ENGINE KEEPS BURNING
            THE OIL WITHOUT ANY AND THE CAR HAS SHUT DOWN ON
            ME WHILE DRIVING WITHOUT ANY ALERTS REPORTING
            ME THAT THE CAR DOES NOT HAVE OIL, I HAVE TO KEEP
            CHECKING THE OIL TO MAKE SURE IS RIGHT TO AVOID THE
            CAR SHUTTING DOWN ON ME WHILE I’M DRIVING, IS
            REALLY DANGEROUS THAT THE CAR IS BURNING THE


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             WHOLE MOTOR OIL EVERY 500 MILES WHIOUT HAVING
             ANY LEAKING OR SHOWING LOW OIL ALERT SIGNS AND
             THE DEALER CAN’T FIX IT , THE DEALER SHOULD BE ABLE
             TO REPLACE THE DAMAGE TO AVOID ANY ACCIDENT THIS
             CAR IS WORSE THAN HAVING AN OLD 1987 CAR. March 18,
             2019, NHTSA complaint for 2017 Jeep Renegade.

          • OIL CONSUMPTION ISSUES. CAR SHUTS OFF WHILE
            DRIVING WITHOUT ANY WARNING. THIS ALMOST CAUSED
            ME TO BE INVOLVED IN A CAR CRASH. THIS OCCURRED
            THREE TIMES WITHIN 24 HOURS WITH MY CAR. TOOK THE
            CAR TO JEEP SERVICE AND THE ATTENDANT STATED THAT
            THIS CAR "CONSUMES 1 QUART OF OIL EVERY 1,000 MILES"
            AND THAT I SHOULD CALL CORPORATE. WHEN I BROUGHT
            THE CAR TO JEEP IT WAS OUT OF OIL WITH NO WARNING OF
            A NEED FOR AN OIL CHANGE OR THAT I WAS LOW ON OIL.

             WHEN I BOUGHT THIS CAR FROM THE DEALERSHIP I WAS
             NOT MADE AWARE THAT I WOULD NEED TO CHANGE
             THE OIL THIS OFTEN AND THAT THIS CAR "CONSUMES"
             THIS MUCH OIL REQUIRING CONSTANT SERVICE. IT IS ALSO
             NOT     STATED    IN    THE   OWNERS       MANUAL.

             THE ISSUE WITH THIS CAR COULD CAUSE A HORRIBLE
             COLLISION, AS WHILE THE CAR IS IN MOTION IT
             COMPLETELY TURNS OFF THE ENGINE. WHEN THIS
             HAPPENED TO ME I WAS IN THE MIDDLE OF A TURN AND
             WHEN I PRESSED THE GAS TO ACCELERATE THE CAR JUST
             ROLLED BECAUSE THE ENGINE WAS SHUT OFF AND I HAD
             NO POWER STEERING. AS THIS OCCURRED ANOTHER CAR
             WAS COMING, LUCKILY THEY HAD A STOP SIGN. March 25,
             2019, NHTSA complaint for 2017 Jeep Renegade.

          • CAR WOULD NOT GIVE GAS AND COMPLETELY STALLED
            OUT ON ME, AND CUT OFF!! IT WOULD NOT TURN BACK ON
            FOR SEVERAL MINUTES. I ALMOST GOT REAMED BY A
            LARGE DUMP TRUCK BECAUSE THIS HAPPENED IN THE
            MIDDLE OF A BACK WINDY ROAD!! ALSO, MY CAR IS
            SLIPPING OUT OF GEAR FROM 1ST, 2ND, AND 3RD!
            DEALERSHIP TELLS ME I WAS ALMOST OUT OF OIL????


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             HOW CAN THIS BE? I GET REGULAR OIL CHANGES, AND
             FUNNY THING IS, THEY ALWAYS TELL ME I'M LOW!!?? I'M
             FIRST OWNER, PURCHASED IN NOVEMBER 2017! ONLY
             HAVE 36,000 MILES! NOW DEALERSHIP TELLING ME THIS IS
             "NORMAL" FOR RENEGADE? WHY WASNT I INFORMED
             BEFORE PURCHASING!!! THIS IS A MAJOR SADETY
             HAZARD! I WAS ALMOST SERIOUSLY INJURED, THE DUMP
             TRUCK SCREACHED TO A HALT BY A MATTER OF INCHES!!!!
             September 24, 2019, NHTSA complaint for 2017 Jeep Renegade.

          • THE 2018 JEEP RENEGADE STALLED AS I WAS TURNING IN
            MY DRIVEWAY. CHECKED THE OIL AND THERE WAS
            NO OIL ON THE DIPSTICK. NO LIGHTS CAME ON. IT HAD
            ONLY 4000 MILES ON IT. NOT EVEN TIME FOR ITS
            FIRST OIL CHANGE. NEVER HAD A NEW VEHICLE THAT HAD
            USED OIL. THIS IS NOT SAFE. IT COULD HAVE STALLED ON
            ME ON THE HIGHWAY. September 26, 2018, NHTSA complaint for
            2018 Jeep Renegade.

          • I BOUGHT A BRAND NEW 2018 JEEP RENEGADE. AT
            APPROXIMATELY 2,500 MILES THE CAR WOULD SHUT OFF
            ON ME WHILE DRIVING. NO WARNING LIGHTS CAME ON. IT
            SHUT OFF TWICE WHILE DRIVING STRAIGHT AND TWICE
            WHILE MAKING LEFT HAND TURNS. AFTER THE FIRST TIME
            IT SHUT OFF, IT DIDN'T HAVE THE PICKUP IT HAD BEFORE
            AND SEEMED TO SPUTTER. I TOOK IT TO A JEEP
            DEALERSHIP AND THEY SAID THAT I WAS OUT OF OIL.
            THEY TOPPED IT OFF AND SENT ME ON MY WAY.

             AT 5,500 MILES MY CAR SHUT OFF ON ME AGAIN WHILE
             DRIVING. THIS WAS VERY SCARY. IT OCCURRED WHILE
             MAKING A LEFT HAND TURN AT A LARGE INTERSECTION. I
             THOUGHT I WAS GOING TO GET HIT. LOST ALL POWER
             STEERING AND CAR TOOK TIME TO RESTART. AGAIN, THE
             CAR SPUTTERED AFTER THAT AND TURNED OFF A COUPLE
             OF MORE TIMES BEFORE I COULD GET BACK TO
             DEALERSHIP.

             MY CAR IS NOW IN FOR AN OIL CONSUMPTION TEST. I HAVE
             RESEARCHED THIS ISSUE AND SEE THAT THERE ARE MANY


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             OTHER COMPLAINTS OF THE SAME ISSUE. A BRAND NEW
             CAR SHOULD NOT BE SHUTTING OFF WHILE DRIVING. THIS
             IS A SAFETY ISSUE. SOME WARNING LIGHT NEEDS TO
             IDENTIFY THERE IS A PROBLEM. CHECKING THE OIL EVERY
             1,000 MILES IS UNACCEPTABLE FOR A NEW CAR.

             THIS IS VERY DANGEROUS. WILL IT TAKE LIVES LOST FOR
             ACTION TO BE TAKEN? May 6, 2019, NHTSA complaint for 2018
             Jeep Renegade.

          • I PURCHASED AND HAVE DRIVEN A NEW 2018 JEEP
            RENEGADE 2.4 AUTO SINCE DECEMBER 2018. I WAS DRIVING
            THE OTHER DAY AND TURNED INTO TRAFFIC WHEN
            UNEXPECTEDLY THE LOW OIL LIGHT CAME ON IN MY
            VEHICLE AND IT COMPLETELY SHUT DOWN! TOTAL
            POWER LOSS. I WAS ALMOST DEMOLISHED BY A FULLY
            LOADED LOG TRUCK. I PARKED THE CAR AND CHECKED
            THE OIL PER THE INSTRUCTION MANUAL PROCEDURE. IT
            WAS OVER 2 QTS. LOW IN 5,000 MILES OF DRIVING.

             I HAVE TRIED MULTIPLE TIMES AND THE JEEP
             DEALERSHIP REFUSED TO PROVIDE ME WITH ANY REPAIR
             DOCUMENTS AFTER INSPECTION. THEY TOLD ME THE
             PROBLEM IS WELL KNOWN BUT FCA IS DOING NOTHING TO
             REMEDY IT AND THEIR SERVICE DEPARTMENT WAS NOT
             GOING TO DO ANY FURTHER EVALUATION INTO THE
             PROBLEM.THIS WAS NOT DISCLOSED TO ME IN ANY WAY
             BEFORE I PURCHASED THE VEHICLE NOR IS IT MENTIONED
             OR INCLUDED AT ALL IN THE OWNERS/ MAINTENANCE
             MANUAL. IN ADDITION I HAD TO PAY $85.00 FOR
             AN OIL CHANGE THAT SHOULD NOT HAVE EVEN BEEN
             NECESSARY. THESE VEHICLES ARE NOT SAFE TO DRIVE. I
             NOW HAVE TO PARK MY NEARLY NEW VEHICLE BECAUSE I
             AM TERRIFIED TO DRIVE THIS CAR IN TRAFFIC. THEY ARE
             STILL SELLING THESE THINGS! PLEASE MAKE THEM STOP,
             THEY ARE DANGEROUS VEHICLES TO DRIVE.*DT*JB July 18,
             2019, NHTSA complaint for 2018 Jeep Renegade.

          • ….THIS    SUMMER,             I   HAD  TO   COMPLETE
            AN OIL CONSUMPTION           TEST ON MY VEHICLE. THIS


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              CONSISTED OF ME DRIVING TO THE DEALERSHIP EVERY
              1,000 MILES FOR THEM TO CHECK MY OIL, CHART HOW
              MUCH IT USED, AND FILL IT BACK UP WITH OIL. THE
              DISTANCE FROM MY HOUSE TO THE DEALERSHIP IS 35
              MILES; QUICKEST ROUTE BEING A 46 MINUTE DRIVE. I HAD
              TO REPEAT THIS PROCESS 5 TOTAL TIMES. AT THE END OF
              THE 5,000 MILES I WAS TOLD BY MY SERVICE TECHNICIAN
              (ALLAN) THAT I MISSED THE CUT OFF FOR RECEIVING A
              NEW ENGINE BY ABOUT ½ QUART OF OIL. HE ALSO
              EXPRESSED THAT HIS PERSONAL OPINION MAY BE
              DIFFERENT, BUT THAT THE STANDARD/GUIDELINES WAS
              WHAT HE HAD TO GO BY FOR DIAGNOSING THE RESULTS.
              October 1, 2019, NHTSA complaint for 2018 Jeep Renegade.

            • THIS IS THE FOURTH TIME IN THREE MONTH MY VEHICLE
              HAS LOCKED UP, TOLD ME TO SWITCH GEARS AND
              COMPLETELY SHUT OFF. I WAS ON THE INTERSTATE AND
              WAS ALMOST REAR ENDED BECAUSE OF THIS! THE CAR
              CONTINUES TO DO THIS DESPITE GETTING THE
              RECOMMENDED OIL CHANGES.               MY OIL WAS    JUST
              CHANGED 2,000 MILES AGO. SOMEONE IS GOING TO DIE
              AND THIS NEEDS TO BE RECALLED! HUNDREDS OF
              RENEGADE     OWNERS         ARE    HAVING     THIS ISSUE.
              DANGEROUS! I HAVE CHILDREN AND THIS CAR IS LESS
              THAN TWO YEARS OLD AND SHUTTING OFF? March 28, 2020,
              NHTSA complaint for 2018 Jeep Renegade.

        413. And there are also scores of complaints posted on various consumer

  forums,      such      as      www.cargurus.com,        www.carcomplaints.com,

  www.myjeepcompass.com, and www.carproblemzoo.com, as well as on Facebook

  and Twitter. All of these complaints support FCA’s knowledge of the defects.




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               Acknowledgements of the pervasiveness of the defects by
               dealerships also supports that FCA would have known early on
               about them.

        414. FCA’s knowledge of the defects is also shown by the fact that FCA

  dealers and technicians have admitted to Defective Vehicle owners that the Oil

  Consumption and Oil Indicator defects are common problems with the Vehicles. For

  example:

             • AFTER WORK I GO TO START MY CAR AND THERE WAS A
               HARD START AND THEN MY CAR DIED. THE ENGINE FELT
               LIKE IT WAS GOING TO POP OUT OF THE HOOD. WELL,
               CHRYSLER WAS INFORMED AND MY CAR WAS TOWED
               NEXT DAY TO THE DEALERSHIP. MY SERVICE MAN CALLED
               APPROXIMATELY 45 MIN AFTER MY CAR WAS DELIVERED
               TO THEM EXPLAINING TO ME I WAS ABOUT 2 QUARTS LOW
               ON OIL. THIS IS IMPOSSIBLE I EXPLAINED TO HIM. ON THE
               DRIVER SIDE THERE IS A STICKER SHOWING I JUST GOT MY
               OIL CHANGE NOT TO LONG AGO. MY SERVICE MAN SAID
               THIS IS A KNOWN PROBLEM WITH THIS ENGINE. THIS TYPE
               OF ENGINE BURNS OIL AND I RECOMMEND WHEN YOU FILL
               UP YOUR TANK TO CHECK YOUR OIL EVERY TIME. I FILL UP
               ONCE A WEEK SO I HAVE TO CHECK MY OIL ONCE A WEEK!?
               THIS IS RIDICULOUS MY NEW CAR BURNS OIL!? GOOD
               THING THIS HAPPENED AFTER WORK. WHAT IF MY CAR
               WOULD HAVE STALLED WHILE DRIVING WITH MY KIDS. I
               DRIVE ACROSS TOWN TO TAKE AND PICK UP MY KIDS
               FROM SCHOOL. NOW I HAVE TO CARRY A QUART OF OIL SO
               MY CAR DOESN'T STALL AND DIE ON ME. May 10, 2017,
               NHTSA complaint.

             • TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE
               DRIVING AT AN UNKNOWN SPEED, THE ENGINE STALLED.
               THE VEHICLE WAS ABLE TO BE RESTARTED. THE VEHICLE
               WAS TAKEN TO LARRY ROESCH CHRYSLER, DODGE, JEEP,
               RAM (200 WEST GRAND AVENUE, ELMHURST, IL 60126, 630-
               834-8000) WHERE IT WAS DIAGNOSED THAT THE


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             ENGINE OIL WAS LOW. THE DEALER STATED THAT THE
             ENGINE OIL MIGHT BE RELEASING THROUGH THE
             EXHAUST SYSTEM AND THAT THE 2.4 LITER ENGINE WAS
             KNOWN TO BE FAULTY. THE MANUFACTURER WAS
             NOTIFIED OF THE FAILURE. THE CONTACT WAS
             CONCERNED THAT THE ENGINE MAY STALL IN TRAFFIC ON
             THE HIGHWAY. THE VEHICLE WAS NOT REPAIRED. THE
             MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE. THE
             FAILURE MILEAGE WAS 43,600. May 15, 2018, NHTSA
             complaint.

          • THE VEHICLE SHUT OFF ON MY WIFE AND CHILD WHILE
            SHE WAS DRIVING IT ON THE HIGHWAY, AND WE TOOK IT
            TO THE DEALERSHIP AND THEY SAID IT WAS LOW ON OIL
            AND THEY DID AN OIL CONSUMPTION TEST AND CLEARED
            THE VEHICLE AND SAID IT WAS A COMMON PROBLEM AND
            THEY HAVE TO DO OIL CONSUMPTION TEST BEFORE
            CHRYSLER WILL ISSUE A REPLACEMENT MOTOR, AFTER 2
            MONTHS OF THE TEST THEY CONCLUDED THAT IT WAS OK
            AND SAFE TO DRIVE. THE ISSUE HAPPEND AGAIN WITH MY
            WIFE AND CHILD IN THE CAR AND DRIVING DOWN THE
            ROAD, SHE MADE IT BACK HOME AND THE MOTOR WAS
            OUT OF OIL 3,000 MILES BEFORE HER NEXT OIL CHANGE. I
            GOT IT TO THE DEALER AND THEY SAID THEY HAVE TO DO
            THE OIL CONSUMPTION TEST PROCESS AGAIN. May 16, 2018,
            NHTSA complaint.

          • AROUND 8:50AM OCTOBER 4TH, 2018 MY WIFE AND BABY
            WERE AT A CITY STREET RED LIGHT STOPPED AND UPON
            ACCELERATING THE CAR COMPLETELY SHUT OFF AND THE
            STEERING-WHEEL LOCKED UP. AFTER ABOUT 5 MINUTES
            SHE WAS ABLE TO START IT UP AGAIN. WE LIVE IN THE
            CITY SO THIS COULD HAVE BEEN MUCH WORSE AT ANY
            DIFFERENT LIGHT AT ANY TIME OF DAY. I BROUGHT IT IN
            FIRST THING THE NEXT MORNING TO THE DEALERSHIP AND
            WAS TOLD THAT LOW OIL CAN CAUSE AIRPOCKETS IN THE
            ENGINE SHUTTING THE WHOLE VEHICLE OFF. THE JEEP
            TECH SAID “THIS HAS BEEN SEEN A LOT ON NEWER JEEPS
            IN THESE MULTI-AIR ENGINES. PEOPLE COME IN FOR THE
            SAME REASON AND HAVE NO INDICATION OF WHAT


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             CAUSED IT. WHEN THEY FIRST CAME OUT WE HAD TO
             DIAGNOSE A LOT AND 99.9% OF THE TIME THAT IS THE
             CAUSE.” MY CAR WAS AT ~11,200 MILES, AND MY OIL
             CHANGE STICKER SUGGESTED ~11,600 TO GET IT CHANGED
             AGAIN. I HAD NO OIL LIGHT, LET ALONE WASN’T EVEN
             CLOSE TO THE CERTIFIED TECH’S OIL CHANGE STICKER
             THAT IS PLACED ON THE CAR. THIS IS COMPLETELY
             UNSAFE AND NOT ACCEPTABLE. THE TECH SUGGESTED
             KEEPING A QUART OF OIL IN MY CAR AND CHECKING THE
             OIL EVERY 1-2K MILES (IN A BRAND NEW VEHICLE!)….
             October 15, 2018, NHTSA complaint for 2017 Jeep Compass.

          • STARTING AT 25K MILES, THE VEHICLE STARTED TO BURN
            THROUGH OIL EVEN BEFORE THE NEXT OIL CHANGE. THE
            MANUAL STATES TO GO OFF THE OIL SYSTEM LIGHT,
            DEALERS SAY DIFFERENT. OIL HAD 14% LEFT, BUT THE CAR
            KEPT SHUTTING OFF WHILE DRIVING ON THE HIGHWAY.
            WENT TO DEALER, CAR BURNED THROUGH ALL THE OIL.
            THEY REFUSED TO CHECK FOR ENGINE DAMAGE AND
            FORCE ME TO PAY FOR A FULL OIL CHANGE. STATED BY
            THE DEALER, ITS A KNOWN ISSUE WITH JEEP. October 9,
            2019, NHTSA complaint.

          • THE VEHICLE SHUTS OFF WHEN APPROACHING 3500 MILES.
            THIS HAPPENS WHEN THE VEHICLE IS IN MOTION
            REGARDLESS OF SPEED RENDERING THE VEHICLE
            EXTREMELY DIFFICULT TO MANEUVER. THE JEEP WAS
            TAKEN TO DEALER AND THE MECHANIC ADVISED THAT
            THIS IS A KNOWN ISSUE WITH SOME OF THE NEW JEEP
            CHEROKEES CONTAINING CERTAIN FIAT MOTORS. THE
            VEHICLES NOW HAVE A FIAT MOTOR THAT APPARENTLY
            BURNS THE ENGINES OIL EVERY 3500 MILES & THE SHUT
            OFF IS A BUILT IN “SAFETY MECHANISM” TO PREVENT THE
            MOTOR FROM BURNING OUT DUE TO THE LACK OF OIL.
            THIS INFORMATION WAS NOT DISCLOSED WHEN THE
            VEHICLE WAS PURCHASED. December 29, 2018, NHTSA
            complaint.

          • MY NEW CAR HAS 2,800 MILES DUE FOR AN OIL CHANGE AT
            5 MONTHS/5,000 MILES. THE ENGINE FAILED ONCE FOR NO


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             KNOWN CAUSE AFTER 2 WEEKS IN THE REPAIR SHOP. NOW
             MY CAR DIED WHILE IN MOTION ON BUSY ROADS AND A
             HIGHWAY RAMP AT SPEEDS BETWEEN 15-40 MPH WITHOUT
             WARNING OR LIGHTS. THIS IS SLA SAFETY HAZARD AS THE
             STEERING GOES AND CAR JUST COMES TO A STOP WITHOUT
             ANY WARNING. I HAD IT TOWED AFTER IT’S 5TH TIME IN 4
             DAYS STOPPING WHILE IN MOTION AND SHUTTING DOWN.
             JEEP TOLD ME IT’S EMPTY ON OIL BUT YET THE OIL LIGHT
             INDICATOR DOESN’T COME ON. THEY SAID IT IS A KNOWN
             ISSUE WITHOUT A FIX FOR ALL 2014-2019 JEEP
             CHEROKEES. September 26, 2018, NHTSA complaint.

          • WHILE DRIVING A VEHICLE WITH ONLY 4200 MILES ON IT,
            THE JEEP STALED WITHOUT WARNING. JEEP RESTARTED
            AND WAS DRIVEN. WHEN I CALLED THE LOCAL
            DEALERSHIP, I WAS INFORMED TO CHECK MY OIL LEVEL -
            THAT IT WOULD BE LOW AND TO REFILL. I ASKED HOW
            THEY KNOW THIS AND THE DEALERSHIP’S SERVICE
            CENTER INFORMED ME THAT THIS IS A “KNOWN ISSUE”
            WITH THE 2.4 LITER ENGINE AND IS “COMMON”. I
            CHECKED MY OIL, SURE ENOUGH, IT WAS LOW - I WOULD
            SAY TWO (2) QUARTS LOW (IN A 5 QUART SYSTEM). NO
            “CHECK    ENGINE    LIGHT”,  NO   “SERVICE     ISSUE
            ANNOUNCEMENT” FROM JEEP - NO WARNING AT ALL FOR
            A “KNOWN ISSUE”. THIS IS INEXCUSABLE! August 9, 2018,
            NHTSA complaint.

          • WHILE DRIVING THE JEEP COMPASSM WITH LESS THAN 5K
            MILES, THE CAR SHUT OFF WHILE I WAS GOING ABOUT 35
            MPH WITHOUT WARNING AND LOCKED THE STEERING AND
            EVERYTHING. I TOOK IT TO THE JEEP DEALER AND
            WITHOUT HESITATION, THEY KNEW THAT IT NEEDED A
            BRAND NEW ENGINE BECAUSE THE CAR "SHOULD NOT BE
            BURNING OIL THIS QUICKLY." THEY MADE IT SEEM AS
            THOUGH THIS OCCURS EXTREMELY FREQUENTLY AND I
            HAVE READ SEVERAL FORUMS ABOUT PEOPLE HAVING
            THE SAME ISSUE JUST BY LOOKING UP "JEEP COMPASS
            BURNING OIL." THIS IS AN EXTREMELY HAZARDOUS
            SITUATION AND SHOULD BE ADDRESSED IMMEDIATELY.
            *DT


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               CONSUMER STATED DEALER TOLD HIM RINGS AND
               PISTONS IN THE ENGINE AND THAT THE OLD ENGINE WAS
               BURNING A CRAZY AMOUNT OF OIL ENGINE WAS BURNING
               A TREMENDOUS AMOUNT OF OIL, DEALER HINTED THAT A
               RECALL MAY HAPPEN BECAUSE HOW COMMON THE
               PROBLEM WAS.*JB April 2, 2019.

        415. Before dealers would have been referring to the Oil Consumption and

  Oil Indicator defects as “common” and “known” problems, FCA certainly would

  have been aware of them. And the pervasiveness of the defects increases the

  likelihood of FCA’s early knowledge. For example, a November 30, 2019 NHTSA

  complaint states that one dealer said it “had 50 customers” with the same problem.

  And a consumer forum posting on carproblemzoo.com states that the dealer “said its

  normal to burn oil and FCA knows about the issue but will not repair. They say about

  70% of the 2. 4 are affected across all models.”

        FCA has exclusive knowledge of the defects.

        416. FCA had superior and exclusive knowledge of the defects and knew or

  should have known that the defects were not known or reasonably discoverable by

  Plaintiffs and class members before they purchased or leased the Defective Vehicles.

        417. Before Plaintiffs purchased their Defective Vehicle, and since at least

  2013, FCA knew about the defects through its exclusive knowledge of non-public,

  internal data including pre-and post-release internal durability testing and analysis;

  early consumer complaints about the defects, including complaints to Defendant’s



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  dealers who are its agents for vehicle repairs; records from NHTSA, including early

  customer complaints made to NHTSA and elsewhere; dealership repair orders;

  testing conducted in response to those complaints; and other various sources.

        418. The Oil Consumption, Oil Indicator, and Excess Emissions defects

  were inherent in each Defective Vehicle and present at the time of sale.

        419. The existence of the defects is a material fact that a reasonable

  consumer would consider when deciding whether to purchase or lease a vehicle. Had

  Plaintiffs and other class members known that the Defective Vehicles were equipped

  with an engine that causes excessive oil consumption, shuts off without warning,

  and releases harmful emissions at illegally high levels, they would not have

  purchased or leased the Defective Vehicles or would have paid less for them.

        420. Reasonable consumers, like Plaintiffs, expect that a vehicle’s engine is

  safe, will function in a manner that will not pose a safety hazard, will operate in a

  manner that is consistent with state and federal laws, and is free from defects.

  Plaintiffs and class members further reasonably expect that FCA will not sell or lease

  vehicles with known safety defects, such as the Oil Consumption and Oil Indicator

  defects, or are known to needlessly and illegally harm the environment, such as the

  Excess Emissions defect, and will disclose any such defects to its consumers when

  it learns of them. Plaintiffs and class members did not expect FCA to fail to disclose




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  the Oil Consumption, Oil Indicator, and Excess Emissions defects to them and to

  continually deny the defects by refusing to issue a recall.

        FCA has actively concealed the defects.

        421. While FCA has been fully aware of the defects in the Defective

  Vehicles, it actively concealed the existence and nature of them from Plaintiffs and

  class members at the time of purchase, lease, or repair and thereafter.

        422. FCA—by and through the statements it made in the Owner’s Manuals

  prepared for distribution with the Defective Vehicles—has misrepresented the Oil

  Consumption defect by recommending oil changes at much higher mileage than

  warranted by the true oil life cycle of the Defective Vehicles, and has misrepresented

  the Oil Indicator defect by saying that an oil change indicator will let the driver know

  the appropriate time to change the oil, when Defective Vehicles may actually require

  an oil change much sooner than indicated and receive no warning prior to the

  Defective Vehicle shutting off to avoid engine damage.

        423. According to FCA’s representations in the Owner’s Manual: “Severe

  Operating Conditions can cause the change oil message to illuminate as early as

  3,500 miles since last reset.” But FCA made far different representations in the TSB

  Oil Consumption Guidelines issued to its dealers in 2015.

        424. In the 2015 TSB, FCA told dealer service departments that the accepted

  rate of oil consumption for engines used in its vehicles is one quart/per 2,000 miles



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  driven for the first 50,000 miles. And for vehicles with more than 50,000 miles, the

  acceptable oil consumption is one quart for every 750 miles.

        425. FCA entirely omits the information contained in its 2015 TSB Oil

  Consumption Guidelines from the Owner’s Manual it distributes with the Defective

  Vehicles. Moreover, FCA fails to disclose to consumers the information in its 2015

  Oil Consumption Guidelines when they purchase the Defective Vehicles. Plaintiffs

  and class members thus only learn that FCA considers the excessive oil consumption

  of the 2.4L Tigershark engine “normal” when they are told that is the case by FCA’s

  service departments. Conveniently for FCA, this occurs far after the sale of the

  Defective Vehicles and after experiencing the consequences of the defects.

        426. To the extent that FCA believed that the Oil Consumption defect is

  “normal,” it had a duty to disclose that information to consumers because of the

  partial representations made in the Owner’s Manuals of the Defective Vehicles.

        427. Moreover, despite notice of the defect from numerous consumer

  complaints and dealership repair orders, FCA has not recalled the Defective Vehicles

  to repair the defects, has not offered their customers a suitable repair or replacement

  free of charge, and has not offered to reimburse the Defective Vehicles’ owners and

  leaseholders in full for the costs they incurred in attempting to diagnose and repair

  the defects.




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        428. When consumers present the Defective Vehicles to an authorized FCA

  dealer for stalling, consumers are typically told the excessive oil consumption and

  frequent “top-offs” of engine oil are a known issue and there is no fix. On

  information and belief, whether or not consumers are forced to pay for repairs

  relating to excessive oil consumption and subsequent engine damage, the same

  defective part or parts are used to replace the prior defective part or parts.

        429. To this day, FCA still has not notified Plaintiffs and class members that

  the Defective Vehicles suffer from systemic defects that cause excessive oil

  consumption, premature engine damage and wear, and excess emissions.

        430. On information and belief, FCA has caused Plaintiffs and class

  members to expend money at its dealerships to diagnose, repair, and/or replace the

  Defective Vehicles’ engine or related components, despite FCA’s knowledge of the

  defects.

                    TOLLING OF THE STATUTE OF LIMITATIONS

        Discovery rule tolling

        431. Class members had no way of knowing about FCA’s deception with

  respect to Defective Vehicles’ Oil Consumption defect, Oil Indicator defect, and the

  Excess Emissions defect. To be sure, FCA continues to market the Defective

  Vehicle, with false representations of its safety.




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        432. Within the period of any applicable statutes of limitation, Plaintiffs and

  members of the proposed Class could not have discovered through the exercise of

  reasonable diligence that FCA was concealing the conduct complained of herein and

  misrepresenting the company’s true position with respect to the performance of the

  Defective Vehicles.

        433. Plaintiffs and the other Class members did not discover, and did not

  know of, facts that would have caused a reasonable person to suspect that FCA did

  not report information within its knowledge to federal and state authorities, its

  dealerships, or consumers; nor would a reasonable and diligent investigation have

  disclosed that FCA had concealed information about the true safety and emissions

  of the Defective Vehicles, which was discovered by Plaintiffs only shortly before

  this action was filed. Nor in any event would such an investigation on the part of

  Plaintiffs and other Class members have disclosed that FCA valued profits over

  truthful marketing and compliance with the law.

        434. For these reasons, all applicable statutes of limitation have been tolled

  by operation of the discovery rule with respect to claims as to the Defective Vehicles.

        Fraudulent concealment tolling

        435. All applicable statutes of limitation have also been tolled by FCA’s

  knowing and active fraudulent concealment and denial of the facts alleged herein

  throughout the period relevant to this action.



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        436. Instead of disclosing the Defective Vehicle’s true oil consumption and

  emissions, FCA continues to falsely represent that the Defective Vehicles are safe

  and emit the proper level of emissions.

        Estoppel

        437. FCA was under a continuous duty to disclose to Plaintiffs and the other

  Class members the true character, quality, and nature of the Defective Vehicles’

  safety, oil consumption, and emissions.

        438. FCA knowingly, affirmatively, and actively concealed or recklessly

  disregarded the true nature, quality, and character of the safety, oil consumption, and

  emissions in the Defective Vehicles and continues to do so in its advertising and

  brochures for continued sale of these vehicles.

        439. Based on the foregoing, FCA is estopped from relying on any statutes

  of limitations in defense of this action.

                                    CLASS DEFINITIONS

        440. Plaintiffs bring this action on behalf of themselves and as a class action,

  pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of

  Civil Procedure, on behalf of the following class (collectively, the “Class”):

               Nationwide Class
               All persons who purchased or leased a FCA vehicle equipped with the
               2.4L Tigershark MultiAir II engine. (“Defective Vehicle”)




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             Alabama Subclass
             All members of the Nationwide Class who are residents of Alabama or
             purchased or leased their Defective Vehicle in Alabama.

             Alaska Subclass
             All members of the Nationwide Class who are residents of Alaska or
             purchased or leased their Defective Vehicle in Alaska.

             Arizona Subclass
             All members of the Nationwide Class who are residents of Arizona or
             purchased or leased their Defective Vehicle in Arizona.

             Arkansas Subclass
             All members of the Nationwide Class who are residents of Arkansas or
             purchased or leased their Defective Vehicle in Arkansas.

             California Subclass
             All members of the Nationwide Class who are residents of California
             or purchased or leased their Defective Vehicle in California

             Colorado Subclass
             All members of the Nationwide Class who are residents of Colorado or
             purchased or leased their Defective Vehicle in Colorado.

             Connecticut Subclass
             All members of the Nationwide Class who are residents of Connecticut
             or purchased or leased their Defective Vehicle in Connecticut.

             Delaware Subclass
             All members of the Nationwide Class who are residents of Delaware or
             purchased or leased their Defective Vehicle in Delaware.

             Florida Subclass
             All members of the Nationwide Class who are residents of Florida or
             purchased or leased their Defective Vehicle in Florida.

             Georgia Subclass
             All members of the Nationwide Class who are residents of Georgia or
             purchased or leased their Defective Vehicle in Georgia.



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             Hawaii Subclass
             All members of the Nationwide Class who are residents of Hawaii or
             purchased or leased their Defective Vehicle in Hawaii.

             Idaho Subclass
             All members of the Nationwide Class who are residents of Idaho or
             purchased or leased their Defective Vehicle in Idaho.

             Illinois Subclass
             All members of the Nationwide Class who are residents of Illinois or
             purchased or leased their Defective Vehicle in Illinois.

             Indiana Subclass
             All members of the Nationwide Class who are residents of Indiana or
             purchased or leased their Defective Vehicle in Indiana.

             Iowa Subclass
             All members of the Nationwide Class who are residents of Iowa or
             purchased or leased their Defective Vehicle in Iowa.

             Kansas Subclass
             All members of the Nationwide Class who are residents of Kansas or
             purchased or leased their Defective Vehicle in Kansas.

             Kentucky Subclass
             All members of the Nationwide Class who are residents of Kentucky or
             purchased or leased their Defective Vehicle in Kentucky.

             Louisiana Subclass
             All members of the Nationwide Class who are residents of Louisiana
             or purchased or leased their Defective Vehicle in Louisiana.

             Maine Subclass
             All members of the Nationwide Class who are residents of Maine or
             purchased or leased their Defective Vehicle in Maine.

             Maryland Subclass
             All members of the Nationwide Class who are residents of Maryland or
             purchased or leased their Defective Vehicle in Maryland.



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             Massachusetts Subclass
             All members of the Nationwide Class who are residents of
             Massachusetts or purchased or leased their Defective Vehicle in
             Massachusetts.

             Michigan Subclass
             All members of the Nationwide Class who are residents of Michigan or
             purchased or leased their Defective Vehicle in Michigan.

             Minnesota Subclass
             All members of the Nationwide Class who are residents of Minnesota
             or purchased or leased their Defective Vehicle in Minnesota.

             Mississippi Subclass
             All members of the Nationwide Class who are residents of Mississippi
             or purchased or leased their Defective Vehicle in Mississippi.

             Missouri Subclass
             All members of the Nationwide Class who are residents of Missouri or
             purchased or leased their Defective Vehicle in Missouri.

             Montana Subclass
             All members of the Nationwide Class who are residents of Montana or
             purchased or leased their Defective Vehicle in Montana.

             Nebraska Subclass
             All members of the Nationwide Class who are residents of Nebraska or
             purchased or leased their Defective Vehicle in Nebraska.

             Nevada Subclass
             All members of the Nationwide Class who are residents of Nevada or
             purchased or leased their Defective Vehicle in Nevada.

             New Hampshire Subclass
             All members of the Nationwide Class who are residents of New
             Hampshire or purchased or leased their Defective Vehicle in New
             Hampshire.




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             New Jersey Subclass
             All members of the Nationwide Class who are residents of New Jersey
             or purchased or leased their Defective Vehicle in New Jersey.

             New Mexico Subclass
             All members of the Nationwide Class who are residents of New Mexico
             or purchased or leased their Defective Vehicle in New Mexico.

             New York Subclass
             All members of the Nationwide Class who are residents of New York
             or purchased or leased their Defective Vehicle in New York.

             North Carolina Subclass
             All members of the Nationwide Class who are residents of North
             Carolina or purchased or leased their Defective Vehicle in North
             Carolina.

             North Dakota Subclass
             All members of the Nationwide Class who are residents of North
             Dakota or purchased or leased their Defective Vehicle in North Dakota.

             Ohio Subclass
             All members of the Nationwide Class who are residents of Ohio or
             purchased or leased their Defective Vehicle in Ohio.

             Oklahoma Subclass
             All members of the Nationwide Class who are residents of Oklahoma
             or purchased or leased their Defective Vehicle in Oklahoma.

             Oregon Subclass
             All members of the Nationwide Class who are residents of Oregon or
             purchased or leased their Defective Vehicle in Oregon.

             Pennsylvania Subclass
             All members of the Nationwide Class who are residents of
             Pennsylvania or purchased or leased their Defective Vehicle in
             Pennsylvania.




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             Rhode Island Subclass
             All members of the Nationwide Class who are residents of Rhode Island
             or purchased or leased their Defective Vehicle in Rhode Island.

             South Carolina Subclass
             All members of the Nationwide Class who are residents of South
             Carolina or purchased or leased their Defective Vehicle in South
             Carolina.

             South Dakota Subclass
             All members of the Nationwide Class who are residents of South
             Dakota or purchased or leased their Defective Vehicle in South Dakota.

             Tennessee Subclass
             All members of the Nationwide Class who are residents of Tennessee
             or purchased or leased their Defective Vehicle in Tennessee.

             Texas Subclass
             All members of the Nationwide Class who are residents of Texas or
             purchased or leased their Defective Vehicle in Texas.

             Utah Subclass
             All members of the Nationwide Class who are residents of Utah or
             purchased or leased their Defective Vehicle in Utah.

             Vermont Subclass
             All members of the Nationwide Class who are residents of Vermont or
             purchased or leased their Defective Vehicle in Vermont.

             Virginia Subclass
             All members of the Nationwide Class who are residents of Virginia or
             purchased or leased their Defective Vehicle in Virginia.

             Washington Subclass
             All members of the Nationwide Class who are residents of Washington
             or purchased or leased their Defective Vehicle in Washington.




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               West Virginia Subclass
               All members of the Nationwide Class who are residents of West
               Virginia or purchased or leased their Defective Vehicle in West
               Virginia.

               Wisconsin Subclass
               All members of the Nationwide Class who are residents of Wisconsin
               or purchased or leased their Defective Vehicle in Wisconsin.

               Wyoming Subclass
               All members of the Nationwide Class who are residents of Wyoming
               or purchased or leased their Defective Vehicle in Wyoming.

        441. The class may also include other vehicles, as well as other model year

  vehicles. Plaintiffs reserve the right to amend the proposed class after additional

  information is received from FCA in discovery.

        442. Excluded from the Class are individuals who have personal injury

  claims resulting from the Oil Consumption Defect, Oil Indicator Defect, or the high

  emissions in the Defective Vehicles. Also excluded from the Class are FCA and its

  subsidiaries and affiliates; all persons who make a timely election to be excluded

  from the Class; governmental entities; the Judge to whom this case is assigned and

  his/her immediate family; and Plaintiffs’ counsel.

        443. Plaintiffs reserve the right to revise the Class definition based upon

  information learned through discovery.

        444. Certification of Plaintiffs’ claims for class-wide treatment is

  appropriate because Plaintiffs can prove the elements of their claims on a class-wide




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  basis using the same evidence as would be used to prove those elements in individual

  actions alleging the same claim.

        445. This action has been brought and may be properly maintained on behalf

  of the Class proposed herein under Federal Rule of Civil Procedure 23.

        446. Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of

  the Class are so numerous and geographically dispersed that individual joinder of all

  Class members is impracticable. For purposes of this complaint, Plaintiffs allege that

  there are in excess of an estimated 1,000,000 or more vehicles in the Class. The

  precise number of Class members is unknown to Plaintiffs but may be ascertained

  from FCA’s books and records. Class members may be notified of the pendency of

  this action by recognized, Court-approved notice dissemination methods, which may

  include U.S. Mail, electronic mail, Internet postings, and/or published notice.

        447. Commonality and Predominance: Federal Rule of Civil Procedure

  23(a)(2) and 23(b)(3): This action involves common questions of law and fact, which

  predominate over any questions affecting individual Class members, including,

  without limitation:

               a)       Whether FCA engaged in the conduct alleged herein;

               b)       Whether FCA designed, advertised, marketed, distributed,
                        leased, sold, or otherwise placed Defective Vehicles into the
                        stream of commerce in the United States;

               c)       Whether FCA provided false information to consumers
                        regarding the safety and emissions of the Defective Vehicles;


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               d)    Whether FCA provided false information to the EPA regarding
                     the emissions of the Defective Vehicles;

               e)    Whether Defective Vehicles contain engine defects causing
                     excessive oil consumption and sudden shut off without warning;

               f)    Whether FCA knew about the defects relating to the Defective
                     Vehicles;

               g)    Whether FCA knew about the excess emissions being produced
                     by the Defective Vehicles;

               h)    Whether FCA had a duty to disclose the defects to Plaintiffs and
                     Class members.

               i)    Whether FCA failed to disclose the defects;

               j)    Whether FCA’s omission of the defects was material;

               k)    Whether Plaintiffs and the other Class members overpaid for
                     their vehicles at the point of sale;

               l)    Whether Plaintiffs and the other Class members are entitled to
                     damages and other monetary relief and, if so, in what amount.

        448. Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims

  are typical of the other Class members’ claims because, among other things, all Class

  members were comparably injured through FCA’s wrongful conduct as described

  above.

        449. Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are

  adequate Class representatives because their interests do not conflict with the

  interests of the other members of the Class they seek to represent; Plaintiffs have

  retained counsel competent and experienced in complex class action litigation; and



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  Plaintiffs intend to prosecute this action vigorously. Plaintiffs’ counsel have

  extensive experience in emissions cases. The Class’s interests will be fairly and

  adequately protected by Plaintiffs and their counsel.

        450. Declaratory and Injunctive Relief: Federal Rule of Civil Procedure

  23(b)(2): FCA has acted or refused to act on grounds generally applicable to

  Plaintiffs and the other members of the Class, thereby making appropriate final

  injunctive relief and declaratory relief with respect to the Class as a whole.

        451. Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is

  superior to any other available means for the fair and efficient adjudication of this

  controversy, and no unusual difficulties are likely to be encountered in the

  management of this class action. The damages or other financial detriment suffered

  by Plaintiffs and the other Class members are relatively small compared to the

  burden and expense that would be required to individually litigate their claims

  against FCA, so it would be impracticable for the members of the Classes to

  individually seek redress for FCA’s wrongful conduct. Even if Class members could

  afford individual litigation, the court system could not. Individualized litigation

  creates a potential for inconsistent or contradictory judgments and increases the

  delay and expense to all parties and the court system. By contrast, the class action

  device presents far fewer management difficulties and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single court.



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                                  CLASS ALLEGATIONS

        Claims brought on behalf of the Arizona Subclass

                                      COUNT 1

         VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT
                (ARIZONA REV. STAT. § 44-1521 et seq.)

        452. Plaintiff Guy West (“Plaintiffs” for purposes of all Arizona Subclass

  claims) hereby incorporates by reference the allegations contained in the preceding

  paragraphs of this complaint.

        453. This claim is brought on behalf of the Arizona Subclass.

        454. FCA, Plaintiffs, and Arizona Class members are “persons” within the

  meaning of the Arizona CFA, ARIZ. REV. STAT. § 44-1521(6).

        455. Each Defective Vehicle at issue is “merchandise” within the meaning

  of ARIZ. REV. STAT. § 44-1521(5).

        456. The Arizona Consumer Fraud Act (Arizona CFA) provides that “[t]he

  act, use or employment by any person of any deception, deceptive act or practice,

  fraud . . . , misrepresentation, or concealment, suppression or omission of any

  material fact with intent that others rely upon such concealment, suppression or

  omission, in connection with the sale . . . of any merchandise whether or not any

  person has in fact been misled, deceived or damaged thereby, is declared to be an

  unlawful practice.” ARIZ. REV. STAT. § 44-1522(A).




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        457. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.



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        458. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        459. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        460. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.



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        461. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        462. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        463. FCA knew or should have known that its conduct violated this statute.

        464. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        465. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to



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  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        466. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        467. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        468. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        469. Plaintiffs seek monetary relief against FCA in an amount to be

  determined at trial. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct with an evil mind.

        470. Plaintiffs and the Class also seek an order enjoining FCA’s unfair,

  unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

  relief available under the Arizona CFA.



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                                       COUNT 2

                               BREACH OF CONTRACT
                             (BASED ON ARIZONA LAW)

        471. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        472. This claim is brought on behalf of the Arizona Subclass.

        473. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        474. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects




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  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        475. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 3

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON ARIZONA LAW)

        476. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        477. This claim is brought on behalf of the Arizona Subclass.

        478. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        479. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        480. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.


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        481. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        482. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        483. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.




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                                       COUNT 4

                           FRAUDULENT CONCEALMENT
                            (BASED ON ARIZONA LAW)

        484. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        485. This claim is brought on behalf of the Arizona Subclass.

        486. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        487. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        488. FCA knew these representations were false when made.

        489. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           490. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           491. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           492. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           493. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           494. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle



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  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        495. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excess harmful emissions, and whether the

  manufacturer tells the truth, are material concerns to a consumer. FCA represented

  to Plaintiffs and Class members that they were purchasing or leasing safe and reliable



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  vehicles, when in fact the Defective Vehicles pose safety hazards and contain

  defects.

        496. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        497. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        498. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        499. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for



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  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           500. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           501. FCA’s     acts   were   done   wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 5

                        NEGLIGENT MISREPRESENTATION
                           (BASED ON ARIZONA LAW)

           502. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           503. This claim is brought on behalf of the Arizona Subclass.




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          504. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          505. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          506. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 6

                              UNJUST ENRICHMENT
                            (BASED ON ARIZONA LAW)

          507. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          508. This claim is brought on behalf of the Arizona Subclass.

          509. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          510. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.




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        511. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the California Subclass

                                       COUNT 7

      VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
               (CAL. BUS. & PROF. CODE § 17200 ET SEQ.)

        512. Plaintiffs Nick Gizzarelli, Robert & Deborah Johnston, and Michelle

  Schmid (“Plaintiffs” for purposes of all California Subclass claims) incorporate by

  reference all paragraphs as though fully set forth herein.

        513. This claim is brought on behalf of the California Subclass.

        514. California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE

  § 17200 et seq., proscribes acts of unfair competition, including “any unlawful,

  unfair or fraudulent business act or practice and unfair, deceptive, untrue or

  misleading advertising.”

        515. FCA’s conduct, as described herein, was and is in violation of the UCL.

  FCA’s conduct violates the UCL in at least the following ways:

               i.    By failing to disclose that the Defective Vehicles consume
                     oil at a higher rate than advertised or is industry standard;

               ii.   By knowingly and intentionally concealing from Plaintiffs
                     and the other California Subclass members that the
                     Defective Vehicles contain the Oil Consumption defect,
                     Oil Indicator defect, Excess Emissions defect;


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               iii.   By marketing the Defective Vehicles as safe and reliable
                      vehicles; and

               iv.    By violating federal laws, including the Automobile
                      Disclosure Act (15 U.S.C. §§ 1231-33) and 49 U.S.C. §
                      32908, and EPA CAFE standards by failing to disclose the
                      true emission levels of the Defective Vehicles

               v.     By violating other California laws, including California
                      consumer protection laws.

               vi.    By refusing or otherwise failing to repair and/or replace
                      the Defective Vehicles.

        516. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with an intent to mislead Plaintiffs and the Class.

        517. In purchasing or leasing the Defective Vehicles, Plaintiffs and the Class

  were deceived by FCA’s failure to disclose that the Defective Vehicles contain

  defects.

        518. Plaintiffs and the Class reasonably relied upon FCA’s false

  misrepresentations. They had no way of knowing that FCA’s representations were

  false and gravely misleading. As alleged herein, FCA engaged in extremely

  sophisticated methods of deception. Plaintiffs and the Class did not, and could not,

  unravel FCA’s deception on their own.

        519. FCA knew or should have known that its conduct violated the UCL.




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        520. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption, Oil Indicator, and Excess Emissions defects because the

  defects affect the safety of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        521. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        522. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of



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  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        523. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        524. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        525. Plaintiffs and the Class request that this Court enter such orders or

  judgments as may be necessary to restore to Plaintiffs and the Class any money it

  acquired by unfair competition, including restitution and/or restitutionary

  disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203 and CAL. CIV. CODE

  § 3345; and for such other relief as may be appropriate.

        526. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.




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                                         COUNT 8

          VIOLATIONS OF THE CALIFORNIA’S CONSUMERS LEGAL
                             REMEDIES ACT
                 (CAL. BUS. & PROF. CODE § 1750 ET SEQ.)

        527. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        528. This claim is brought on behalf of California Subclass.

        529. California’s Consumers Legal Remedies Act (“CLRA”), CAL. CIV.

  CODE § 1750, et seq., proscribes “unfair methods of competition and unfair or

  deceptive acts or practices undertaken by any person in a transaction intended to

  result or which results in the sale or lease of goods or services to any consumer.”

        530. The Defective Vehicles are “goods” as defined in CAL. CIV. CODE

  §§ 1751(a).

        531. Plaintiffs and the Class are “consumers” as defined in CAL. CIV. CODE

  § 1761(d), and Plaintiffs, the other Class members, and FCA are “person[s]” as

  defined in CAL. CIV. CODE § 1761(c).

        532. FCA’s conduct, as described herein, was and is in violation of the

  CLRA. FCA’s conduct violates at least the following enumerated CLRA provisions:

                  i.    CAL. CIV. CODE § 1770(a)(2): Misrepresenting the
                        approval or certification of goods;

                  ii.   CAL. CIV. CODE § 1770(a)(5): Representing that goods
                        have sponsorship, approval, characteristics, uses, benefits,
                        or quantities which they do not have;


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                 iii.   CAL. CIV. CODE § 1770(a)(7): Representing that goods are
                        of a particular standard, quality, or grade, if they are of
                        another;

                 iv.    CAL. CIV. CODE § 1770(a)(9): Advertising goods with
                        intent not to sell them as advertised; and

                 v.     CAL. CIV. CODE § 1770(a)(16): Representing that goods
                        have been supplied in accordance with a previous
                        representation when they have not.


           533. California Plaintiffs and the California Subclass have suffered injury in

  fact and actual damages resulting from FCA’s material omissions and

  misrepresentations because they paid an inflated purchase or lease price for the

  Defective Vehicles.

           534. Because FCA fraudulently concealed that the Defective Vehicles

  maintain the defects, their value has diminished. In light of the stigma attached to

  those vehicles by FCA’s conduct, they are now worth significantly less than they

  otherwise would be.

           535. FCA knew, should have known, or was reckless in not knowing that the

  Defective Vehicles contain the defects and release harmful excess emissions at

  levels higher than a reasonable consumer would expect or state and federal laws

  allow.

           536. Plaintiffs and the Class were injured and suffered ascertainable loss,

  injury-in-fact, and/or actual damage as a proximate result of FCA’s conduct in that


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  Plaintiffs and Class members overpaid for the Defective Vehicles, and/or the

  Defective Vehicles have suffered a diminution in value. These injuries are the direct

  and natural consequence of FCA’s misrepresentations and omissions.

        537. FCA’s misrepresentations and omissions alleged herein caused

  Plaintiffs and the Class to make their purchases or leases of the Defective Vehicles.

  Absent those misrepresentations and omissions, Plaintiffs and the Class would not

  have purchased or leased these vehicles, would not have purchased or leased the

  Defective Vehicles at the prices they paid, and/or would have purchased or leased

  less expensive alternative vehicles that did not contain these alleged defects.

        538. In accordance with Civil Code § 1780 (a), Plaintiffs and the Class seek

  injunctive and equitable relief for FCA’s violations of the CLRA, including an

  injunction to enjoin FCA from continuing its deceptive advertising and sales

  practices.

        539. Plaintiffs have provided FCA with notice of its violations of the CLRA

  pursuant to CAL. CIV. CODE § 1782(a). The notice was transmitted to FCA on

  April 29, 2020 and October 14, 2020.

        540. Plaintiffs and the Class’s injuries were proximately caused by FCA’s

  fraudulent and deceptive business practices.

        541. Therefore, Plaintiffs and the Class are entitled to equitable and

  monetary relief under the CLRA.



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                                         COUNT 9

       VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
               (CAL. BUS. & PROF. CODE § 17500 ET SEQ.)

        542. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        543. This claim is brought on behalf of the California Subclass.

        544. CAL. BUS. & PROF. CODE § 17500 states: “It is unlawful for any . . .

  corporation . . . with intent directly or indirectly to dispose of real or personal

  property . . . to induce the public to enter into any obligation relating thereto, to make

  or disseminate or cause to be made or disseminated . . . from this state before the

  public in any state, in any newspaper or other publication, or any advertising device,

  . . . or in any other manner or means whatever, including over the Internet, any

  statement . . . which is untrue or misleading, and which is known, or which by the

  exercise of reasonable care should be known, to be untrue or misleading.” FCA

  failed to disclose that the Defective Vehicles contain the defects described herein

  and release excess emissions.

        545. FCA caused to be made or disseminated through California and the

  United States, through advertising, marketing and other publications, statements that

  were untrue or misleading, and which were known, or which by the exercise of

  reasonable care should have been known to FCA, to be untrue and misleading to

  consumers, including Plaintiffs and the Class.


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        546. FCA has violated § 17500 because the misrepresentations and

  omissions regarding the functionality and reliability of the Defective Vehicles as set

  forth in this Complaint were material and likely to deceive a reasonable consumer.

        547. Plaintiffs and the Class have suffered an injury in fact, including the

  loss of money or property, as a result of FCA’s unfair, unlawful, and/or deceptive

  practices. In purchasing or leasing their Defective Vehicles, Plaintiffs and the Class

  relied on the misrepresentations and/or omissions of FCA with respect to the

  functionality and reliability of the Defective Vehicles. Had Plaintiffs and the Class

  known this, they would not have purchased or leased the Defective Vehicles and/or

  paid as much for them. Accordingly, Plaintiffs and the other Class members overpaid

  for the Defective Vehicles.

        548. All wrongful conduct alleged herein occurred, and continues to occur,

  in the conduct of FCA’s business. FCA’s wrongful conduct is part of a pattern or

  generalized course of conduct that is still perpetuated and repeated, both in the State

  of California and nationwide.

        549. The facts concealed and omitted by FCA to Plaintiffs and the Class are

  material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Defective Vehicles or pay a lower price.

  Had Plaintiffs and the Class known of the defects and release of harmful excess

  emissions at the time they purchased or leased the Defective Vehicles, they would



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  not have purchased or leased those vehicles, or would have paid substantially less

  for the vehicles than they did.

        550. Plaintiffs, individually and on behalf of the Class, request that this

  Court enter such orders or judgments as may be necessary to restore to Plaintiffs and

  the Class any money FCA acquired by unfair competition, including restitution

  and/or restitutionary disgorgement, and for such other relief as may be appropriate.

                                      COUNT 10

                              BREACH OF CONTRACT
                           (BASED ON CALIFORNIA LAW)

        551. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        552. This claim is brought on behalf of the California Subclass.

        553. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess




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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        554. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        555. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 11

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON CALIFORNIA LAW)

        556. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        557. This claim is brought on behalf of the California Subclass.

        558. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        559. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        560. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        561. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        562. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        563. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 12

                           FRAUDULENT CONCEALMENT
                           (BASED ON CALIFORNIA LAW)

        564. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        565. This claim is brought on behalf of the California Subclass.

        566. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        567. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           568. FCA knew these representations were false when made.

           569. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           570. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           571. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           572. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           573. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        574. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        575. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        576. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        577. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        578. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           579. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           580. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           581. FCA’s     acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 13

                        NEGLIGENT MISREPRESENTATION
                          (BASED ON CALIFORNIA LAW)


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          582. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          583. This claim is brought on behalf of the California Subclass.

          584. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          585. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          586. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 14

                             UNJUST ENRICHMENT
                          (BASED ON CALIFORNIA LAW)

          587. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          588. This claim is brought on behalf of the California Subclass.

          589. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        590. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        591. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Florida Subclass

                                       COUNT 15

                  VIOLATIONS OF THE FLORIDA UNFAIR AND
                     DECEPTIVE TRADE PRACTICES ACT
                        (FLA. STAT. § 501.201 ET SEQ.)

        592. Plaintiffs Kyle Davis, Nathaneal Romanchuk, and Nicolette Watson

  (“Plaintiffs” for purposes of all Florida Subclass claims) incorporate by reference all

  preceding allegations as though fully set forth herein.

        593. This claim is brought on behalf of the Florida Subclass.

        594. Florida Plaintiffs and the Florida Subclass members are “consumers”

  within the meaning of Florida Unfair and Deceptive Trade Practices Act (“Florida

  UDTPA”), FLA. STAT. § 501.203(7).

        595. Defendant engaged in “trade or commerce” within the meaning of FLA.

  STAT. § 501.203(8).




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        596. Florida’s Deceptive and Unfair Trade Practices Act prohibits “[u]nfair

  methods of competition, unconscionable acts or practices, and unfair or deceptive

  acts or practices in the conduct of any trade or commerce.” FLA. STAT. § 501.204(1).

  Defendant participated in unfair and deceptive trade practices that violated the

  Florida UDTPA as described herein. Defendant engaged in unfair methods of

  competition, unconscionable acts or practices, and unfair or deceptive acts or

  practices as defined in FLA. STAT. § 501.204(1). FCA’s conduct offends established

  public policy, is immoral, unethical, oppressive, unscrupulous, or substantially

  injurious to consumers, and is likely to mislead consumers.

        597. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American



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  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        598. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        599. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false



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  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        600. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        601. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        602. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        603. FCA knew or should have known that its conduct violated this statute.

        604. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material


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               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        605. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        606. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        607. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.



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        608. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        609. Plaintiffs seek monetary relief against FCA in an amount to be

  determined at trial. Plaintiffs and the Class also seek punitive damages because FCA

  acted wantonly in causing Plaintiffs and Class members’ injuries, or with such a

  conscious indifference to the consequences that malice may be inferred.

                                      COUNT 16

                               BREACH OF CONTRACT
                             (BASED ON FLORIDA LAW)

        610. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        611. This claim is brought on behalf of the Florida Subclass.

        612. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess


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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        613. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        614. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 17

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON FLORIDA LAW)

        615. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        616. This claim is brought on behalf of the Florida Subclass.

        617. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        618. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        619. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        620. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        621. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        622. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 18

                           FRAUDULENT CONCEALMENT
                             (BASED ON FLORIDA LAW)

        623. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        624. This claim is brought on behalf of the Florida Subclass.

        625. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        626. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           627. FCA knew these representations were false when made.

           628. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           629. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           630. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           631. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           632. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        633. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        634. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        635. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        636. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        637. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           638. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           639. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           640. FCA’s     acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 19

                        NEGLIGENT MISREPRESENTATION
                           (BASED ON FLORIDA LAW)


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          641. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          642. This claim is brought on behalf of the Florida Subclass.

          643. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          644. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          645. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 20

                              UNJUST ENRICHMENT
                            (BASED ON FLORIDA LAW)

          646. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          647. This claim is brought on behalf of the Florida Subclass.

          648. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        649. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        650. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Idaho Subclass

                                       COUNT 21

         VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                   (IDAHO CODE ANN. § 48-601 et seq.)

        651.    Plaintiff Desiree Tarro (“Plaintiffs” for purposes of all Idaho Subclass

  claims) hereby incorporates by reference the allegations contained in the preceding

  paragraphs of this complaint.

        652. This claim is brought on behalf of the Idaho Subclass.

        653. The Idaho Consumer Protection Act (“Idaho CPA”) prohibits deceptive

  business practices, including but not limited to (1) representing that the Defective

  Vehicles have characteristics, uses, and benefits which they do not have;

  (2) representing that the Defective Vehicles are of a particular standard, quality, and

  grade when they are not; (3) advertising the Defective Vehicles with the intent not

  to sell them as advertised and certified; (4) engaging in acts or practices which are

  otherwise misleading, false, or deceptive to the consumer; and (5) engaging in any


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  unconscionable method, act or practice in the conduct of trade or commerce. See

  IDAHO CODE ANN. § 48-603.

        654. Idaho Plaintiff, the Idaho Subclass, and FCA are each “persons” under

  IDAHO CODE ANN. § 48-602(1).

        655. FCA’s acts or practices as set forth above occurred in the conduct of

  “trade” or “commerce” under IDAHO CODE ANN. § 48-602(2).

        656. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and



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  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        657. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        658. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to



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  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        659. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        660. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        661. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        662. FCA knew or should have known that its conduct violated this statute.

        663. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.




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        664. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        665. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        666. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        667. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.



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         668. Pursuant to IDAHO CODE ANN. § 48-608, Plaintiffs seek monetary relief

  against FCA measured as the greater of (a) actual damages in an amount to be

  determined at trial and (b) statutory damages in the amount of $1,000 for each

  plaintiff.

         669. Plaintiffs also seek an order enjoining FCA’s unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available

  under the Idaho CPA.

         670. Plaintiffs also seek punitive damages against FCA because its conduct

  evidences an extreme deviation from reasonable standards. FCA’s unlawful conduct

  constitutes malice, oppression, and fraud warranting punitive damages.

                                     COUNT 22

                              BREACH OF CONTRACT
                              (BASED ON IDAHO LAW)

         671. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

         672. This claim is brought on behalf of the Idaho Subclass.

         673. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        674. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        675. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 23

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      (BASED ON IDAHO LAW)

        676. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        677. This claim is brought on behalf of the Idaho Subclass.


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        678. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        679. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        680. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        681. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        682. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        683. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 24

                           FRAUDULENT CONCEALMENT
                             (BASED ON IDAHO LAW)

        684. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        685. This claim is brought on behalf of the Idaho Subclass.

        686. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        687. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           688. FCA knew these representations were false when made.

           689. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           690. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           691. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           692. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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        693. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        694. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        695. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not



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  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        696. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        697. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        698. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the



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  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        699. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        700. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        701. FCA’s      acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient




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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 25

                        NEGLIGENT MISREPRESENTATION
                            (BASED ON IDAHO LAW)

           702. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           703. This claim is brought on behalf of the Idaho Subclass.

           704. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           705. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           706. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                        COUNT 26

                                UNJUST ENRICHMENT
                               (BASED ON IDAHO LAW)

           707. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.



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         708. This claim is brought on behalf of the Idaho Subclass.

         709. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

         710. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

         711. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

         Claims Brought on Behalf of the Illinois Subclass

                                      COUNT 27

                VIOLATION OF THE ILLINOIS CONSUMER FRAUD
                  AND DECEPTIVE BUSINESS PRACTICES ACT
                  (815 ILCS 505/1, ET SEQ. AND 720 ILCS 295/1A)

         712. Plaintiffs Amber Wood and Thomas Weiner (“Plaintiffs” for purposes

  of all Illinois Subclass claims) incorporate by reference all paragraphs as though

  fully set forth herein.

         713. This claim is brought on behalf of the Illinois Subclass.

         714. FCA is a “person” as that term is defined in 815 ILCS 505/1(c).




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        715. Plaintiffs and Class members are “consumers” as that term is defined

  in 815 ILCS 505/1(e).

        716. The Illinois Consumer Fraud and Deceptive Business Practices Act

  (“Illinois CFA”) prohibits “unfair or deceptive acts or practices, including but not

  limited to the use or employment of any deception, fraud, false pretense, false

  promise, misrepresentation or the concealment, suppression or omission of any

  material fact, with intent that others rely upon the concealment, suppression or

  omission of such material fact … in the conduct of trade or commerce … whether

  any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

        717. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American



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  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        718. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        719. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false



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  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        720. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        721. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        722. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        723. FCA knew or should have known that its conduct violated this statute.

        724. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material


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               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        725. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        726. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        727. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.



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        728. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        729. Pursuant to 815 ILCS 505/10a(a), Plaintiffs and the Class seek

  monetary relief against FCA in the amount of actual damages, as well as punitive

  damages because FCA acted with fraud and/or malice and/or was grossly negligent.

        730. Plaintiffs also seeks punitive damages, attorneys’ fees, and any other

  just and proper relief available under 815 ILCS § 505/1, et seq.

        731. On May 22, 2020, a copy of the Davis, et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney

  General of the State of Illinois in accordance with 815 ILCS 505/10a(d).

                                      COUNT 28

                               BREACH OF CONTRACT
                             (BASED ON ILLINOIS LAW)

        732. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        733. This claim is brought on behalf of Illinois Subclass.

        734. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those


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  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        735. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        736. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 29

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON ILLINOIS LAW)

        737. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.


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        738. This claim is brought on behalf of the Illinois Subclass.

        739. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        740. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        741. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        742. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        743. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.




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        744. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 30

                         FRAUDULENT CONCEALMENT
                           (BASED ON ILLINOIS LAW)

        745. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        746. This claim is brought on behalf of Illinois Subclass.

        747. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.




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        748. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        749. FCA knew these representations were false when made.

        750. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        751. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        752. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

        753. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not



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  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           754. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           755. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

           756. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil



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  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        757. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        758. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.




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        759. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        760. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        761. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        762. FCA’s      acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the



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  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 31

                        NEGLIGENT MISREPRESENTATION
                           (BASED ON ILLINOIS LAW)

           763. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           764. This claim is brought on behalf of the Illinois Subclass.

           765. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           766. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           767. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                        COUNT 32

                               UNJUST ENRICHMENT
                             (BASED ON ILLINOIS LAW)



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        768. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

        769. This claim is brought on behalf of the Illinois Subclass.

        770. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        771. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        772. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Kansas Subclass

                                      COUNT 33

        VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                   (KAN. STAT. ANN. § 50-623 et seq.)

        773. Plaintiff Rebekah Aaren Wright (“Plaintiffs” for purposes of all Kansas

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        774. This claim is brought on behalf of the Kansas Subclass.




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        775. Plaintiffs and Kansas Class members are “consumers” within the

  meaning of KAN. STAT. ANN. § 50-624(b) who purchased or leased one or more

  Defective Vehicles.

        776. Each sale or lease of a Defective Vehicle to Plaintiffs was a “consumer

  transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).

        777. The Kansas Consumer Protection Act (Kansas CPA) states “[n]o

  supplier shall engage in any deceptive act or practice in connection with a consumer

  transaction.” KAN. STAT. ANN. § 50-626(a). Deceptive acts or practices include but

  are not limited to “the willful use, in any oral or written representation, of

  exaggeration, falsehood, innuendo or ambiguity as to a material fact” and “the

  willful failure to state a material fact, or the willful concealment, suppression or

  omission of a material fact.” KAN. STAT. ANN. § 50-626.

        778. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing



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  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        779. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.




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  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        780. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        781. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        782. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        783. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        784. FCA knew or should have known that its conduct violated this statute.




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        785. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        786. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        787. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of



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  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

         788. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

         789. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

         790. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief

  against FCA measured as the greater of (a) actual damages in an amount to be

  determined at trial and (b) statutory damages in the amount of $10,000 for each

  plaintiff.

         791. Plaintiffs also seek an order enjoining FCA’s unfair, unlawful, and/or

  deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper

  relief available under KAN. STAT. ANN. § 50-623 et seq.

         792. Plaintiffs and the Class also seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.




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                                      COUNT 34

                               BREACH OF CONTRACT
                              (BASED ON KANSAS LAW)

        793. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        794. This claim is brought on behalf of the Kansas Subclass.

        795. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        796. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects




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  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        797. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 35

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON KANSAS LAW)

        798. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        799. This claim is brought on behalf of the Kansas Subclass.

        800. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        801. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        802. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.


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        803. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        804. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        805. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.




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                                       COUNT 36

                           FRAUDULENT CONCEALMENT
                             (BASED ON KANSAS LAW)

        806. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        807. This claim is brought on behalf of the Kansas Subclass.

        808. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        809. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        810. FCA knew these representations were false when made.

        811. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           812. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           813. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           814. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           815. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           816. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle



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  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        817. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing



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  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        818. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        819. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        820. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        821. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for



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  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           822. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           823. FCA’s     acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 37

                        NEGLIGENT MISREPRESENTATION
                           (BASED ON KANSAS LAW)

           824. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           825. This claim is brought on behalf of the Kansas Subclass.




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          826. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          827. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          828. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 38

                               UNJUST ENRICHMENT
                             (BASED ON KANSAS LAW)

          829. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          830. This claim is brought on behalf of the Kansas Subclass.

          831. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          832. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.




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        833. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Louisiana Subclass

                                      COUNT 39

        VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES
                 AND CONSUMER PROTECTION LAW
                     (LA. REV. STAT. § 51:1401 et seq.)

        834. Plaintiff Cheryl Miller (“Plaintiffs” for purposes of all Louisiana

  Subclass claims) reallege and incorporate by reference all paragraphs as though fully

  set forth herein.

        835. This claim is brought on behalf of Louisiana purchasers or lessees who

  are members of the Class.

        836. FCA, Plaintiffs, and the Class are “persons” within the meaning of LA.

  REV. STAT. § 51:1402(8).

        837. Plaintiffs and the Class are “consumers” within the meaning of LA.

  REV. STAT. § 51:1402(1).

        838. FCA engaged in “trade” or “commerce” within the meaning of LA.

  REV. STAT. § 51:1402(9).

        839. The Louisiana Unfair Trade Practices and Consumer Protection Law

  (Louisiana CPL) makes unlawful “deceptive acts or practices in the conduct of any



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  trade or commerce.” LA. REV. STAT. § 51:1405(A). FCA participated in misleading,

  false, or deceptive acts that violated the Louisiana CPL including failing to disclose

  the actual fuel economy of the Defective Vehicles.

        840. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,



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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        841. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        842. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended




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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        843. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        844. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        845. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        846. FCA knew or should have known that its conduct violated this statute.

        847. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        848. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        849. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        850. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        851. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        852. Pursuant to LA. REV. STAT. § 51:1409, Plaintiffs and the Class seek to

  recover actual damages in an amount to be determined at trial; treble damages for



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  FCA’s knowing violations of the Louisiana CPL; an order enjoining FCA’s unfair,

  unlawful, and/or deceptive practices; declaratory relief; attorneys’ fees; and any

  other just and proper relief available under LA. REV. STAT. § 51:1409.

        853. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

        854. On May 22, 2020, a copy of the Davis, et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney

  General of the State of Louisiana in accordance with LA. REV. STAT. § 51:1409.

                                     COUNT 40

                           BREACH OF CONTRACT
                         (BASED ON LOUISIANA LAW)

        855. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        856. This claim is brought on behalf of the Louisiana Subclass.

        857. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less


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  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        858. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        859. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 41

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON LOUISIANA LAW)

        860. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        861. This claim is brought on behalf of the Louisiana Subclass.

        862. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.


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        863. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        864. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        865. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        866. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        867. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 42

                         FRAUDULENT CONCEALMENT
                          (BASED ON LOUISIANA LAW)

        868. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        869. This claim is brought on behalf of the Louisiana Subclass.

        870. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        871. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           872. FCA knew these representations were false when made.

           873. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           874. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           875. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           876. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           877. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         878. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         879. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        880. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        881. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        882. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           883. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           884. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           885. FCA’s     acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 43

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON LOUISIANA LAW)

          886. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          887. This claim is brought on behalf of the Louisiana Subclass.

          888. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          889. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          890. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 44

                              UNJUST ENRICHMENT
                           (BASED ON LOUISIANA LAW)

          891. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          892. This claim is brought on behalf of the Louisiana Subclass.




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        893. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        894. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        895. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Maryland Subclass

                                      COUNT 45

      VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT
              (MD. CODE ANN., COM. LAW § 13-101 et seq.)

        896. Plaintiff Pamela Anderson (“Plaintiffs” for purposes of all Maryland

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        897. This claim is brought on behalf of the Maryland Subclass.

        898. The Maryland Consumer Protection Act (“Maryland CPA”) provides

  that a person may not engage in any unfair or deceptive trade practice in the sale or

  lease of any consumer good, including “failure to state a material fact if the failure

  deceives or tends to deceive” and “[d]eception, fraud, false pretense, false premise,


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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same,” MD. CODE ANN.,

  COM. LAW § 13-301, regardless of whether the consumer is actually deceived or

  damaged, MD. CODE ANN., COM. LAW § 13-302.

        899. FCA, Plaintiffs, and Class members are “persons” within the meaning

  of MD. CODE ANN., COM. LAW § 13-101(h).

        900. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and



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  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        901. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        902. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to



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  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        903. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        904. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        905. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        906. FCA knew or should have known that its conduct violated this statute.

        907. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.




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        908. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        909. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        910. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        911. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.



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        912. Pursuant to MD. CODE ANN., COM. LAW § 13-408, Plaintiffs seek actual

  damages, attorneys’ fees, and any other just and proper relief available under the

  Maryland CPA.

        913. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

                                      COUNT 46

                              BREACH OF CONTRACT
                           (BASED ON MARYLAND LAW)

        914. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        915. This claim is brought on behalf of the Maryland Subclass.

        916. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.


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        917. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        918. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 47

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON MARYLAND LAW)

        919. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        920. This claim is brought on behalf of the Maryland Subclass.

        921. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        922. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        923. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        924. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        925. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        926. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 48

                           FRAUDULENT CONCEALMENT
                            (BASED ON MARYLAND LAW)

        927. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        928. This claim is brought on behalf of the Maryland Subclass.

        929. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        930. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        931. FCA knew these representations were false when made.




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           932. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           933. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           934. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           935. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           936. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         937. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         938. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        939. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        940. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        941. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           942. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           943. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           944. FCA’s     acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                       COUNT 49

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON MARYLAND LAW)

          945. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          946. This claim is brought on behalf of the Maryland Subclass.

          947. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          948. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          949. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 50

                              UNJUST ENRICHMENT
                           (BASED ON MARYLAND LAW)

          950. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          951. This claim is brought on behalf of the Maryland Subclass.




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        952. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        953. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        954. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Massachusetts Subclass

                                      COUNT 51

                      VIOLATION OF THE MASSACHUSETTS
                         GENERAL LAW CHAPTER 93(A)
                      (MASS. GEN. LAWS CH. 93A, § 1, et seq.)

        955. Plaintiff Catherine Coppinger (“Plaintiffs” for purposes of all

  Massachusetts Subclass claims) hereby incorporates by reference the allegations

  contained in the preceding paragraphs of this complaint.

        956. This claim is brought on behalf of the Massachusetts Subclass.

        957. Defendant is a “person” within the meaning of Mass. Gen. Laws ch.

  93A, § 1(a).




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        958.. Massachusetts law (the “Massachusetts Act”) prohibits “unfair or

  deceptive acts or practices in the conduct of any trade or commerce.” Mass. Gen.

  Laws ch. 93A, § 2. FCA participated in misleading, false, or deceptive acts that

  violated the Massachusetts Act.

        959. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or



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  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        960. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        961. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended



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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        962. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        963. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        964. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        965. FCA knew or should have known that its conduct violated this statute.

        966. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        967. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        968. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        969. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        970. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        971. Pursuant to Mass. Gen. Laws ch. 93A, § 9, Plaintiffs and the Class seek

  monetary relief against FCA measured as the greater of (a) actual damages in an



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  amount to be determined at trial and (b) statutory damages in the amount of $25 for

  each Plaintiff and each Class member. Because FCA’s conduct was committed

  willfully and knowingly, Plaintiffs are entitled to recover, for each Plaintiff and each

  Class member, up to three times actual damages, but no less than two times actual

  damages.

        972. Plaintiffs also seek an order enjoining FCA’s unfair and/or deceptive

  acts or practices, punitive damages, and attorneys’ fees costs, and any other just and

  proper relief available under the Massachusetts Act.

        973. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct

        974. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with MASS. GEN. LAWS CH. 93A, § 9(3) to FCA.

                                       COUNT 52

                             BREACH OF CONTRACT
                        (BASED ON MASSACHUSETTS LAW)

        975. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        976. This claim is brought on behalf of the Massachusetts Subclass.

        977. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to


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  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        978. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        979. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 53

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                (BASED ON MASSACHUSETTS LAW)




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        980. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        981. This claim is brought on behalf of the Massachusetts Subclass.

        982. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        983. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        984. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        985. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        986. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and




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  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        987. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 54

                         FRAUDULENT CONCEALMENT
                       (BASED ON MASSACHUSETTS LAW)

        988. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        989. This claim is brought on behalf of the Massachusetts Subclass.

        990. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied




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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        991. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        992. FCA knew these representations were false when made.

        993. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        994. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        995. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           996. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           997. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           998. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           999. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty



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  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1000. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        1001. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1002. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1003. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1004. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1005. FCA’s    acts   were   done    wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 55

                         NEGLIGENT MISREPRESENTATION
                         (BASED ON MASSACHUSETTS LAW)

           1006. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1007. This claim is brought on behalf of the Massachusetts Subclass.

           1008. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1009. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        1010. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 56

                           UNJUST ENRICHMENT
                      (BASED ON MASSACHUSETTS LAW)

        1011. Plaintiff reallege and incorporate by reference all paragraphs alleged

  herein.

        1012. This claim is brought on behalf of the Massachusetts Subclass.

        1013. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1014. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1015. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims Brought on Behalf of the Michigan Subclass

                                        COUNT 57

       VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                  (MICH. COMP. LAWS § 445.903 et seq.)

        1016. Plaintiffs Caren Christman and Kelly Johnson (“Plaintiffs” for purposes

  of all Michigan Subclass claims) hereby incorporate by reference the allegations

  contained in the preceding paragraphs of this complaint.

        1017. This claim is brought on behalf of the Michigan Subclass.

        1018. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

  “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of

  trade or commerce,” including “[f]ailing to reveal a material fact, the omission of

  which tends to mislead or deceive the consumer, and which fact could not reasonably

  be known by the consumer”; “[m]aking a representation of fact or statement of fact

  material to the transaction such that a person reasonably believes the represented or

  suggested state of affairs to be other than it actually is”; or “[f]ailing to reveal facts

  that are material to the transaction in light of representations of fact made in a

  positive manner.” MICH. COMP. LAWS § 445.903(1).

        1019. Plaintiffs and Class members are “person[s]” within the meaning of the

  MICH. COMP. LAWS § 445.902(1)(d).

        1020. FCA is a “person” engaged in “trade or commerce” within the meaning

  of the MICH. COMP. LAWS § 445.902(1)(d) and (g).


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        1021. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.



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        1022. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1023. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1024. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.



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        1025. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1026. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1027. FCA knew or should have known that its conduct violated this statute.

        1028. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1029. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to



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  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1030. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1031. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1032. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1033. Plaintiffs and the Class seek injunctive relief to enjoin FCA from

  continuing their unfair and deceptive acts; monetary relief against FCA measured as

  the greater of (a) actual damages in an amount to be determined at trial and

  (b) statutory damages in the amount of $250 for each plaintiff; reasonable attorneys’

  fees; and any other just and proper relief available under MICH. COMP. LAWS

  § 445.911.



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        1034. Plaintiffs also seek punitive damages because FCA carried out

  despicable conduct with willful and conscious disregard of the rights of others.

  FCA’s conduct constitutes malice, oppression, and fraud warranting punitive

  damages.

                                      COUNT 58

                              BREACH OF CONTRACT
                            (BASED ON MICHIGAN LAW)

        1035. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1036. This claim is brought on behalf of the Michigan Subclass.

        1037. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.




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        1038. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1039. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 59

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON MICHIGAN LAW)

        1040. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1041. This claim is brought on behalf of the Michigan Subclass.

        1042. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1043. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        1044. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1045. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1046. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1047. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 60

                           FRAUDULENT CONCEALMENT
                            (BASED ON MICHIGAN LAW)

        1048. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1049. This claim is brought on behalf of the Michigan Subclass.

        1050. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1051. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1052. FCA knew these representations were false when made.




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           1053. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1054. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1055. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1056. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1057. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1058. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1059. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1060. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1061. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1062. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           1063. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1064. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1065. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                       COUNT 61

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON MICHIGAN LAW)

          1066. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          1067. This claim is brought on behalf of the Michigan Subclass.

          1068. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1069. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1070. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 62

                              UNJUST ENRICHMENT
                           (BASED ON MICHIGAN LAW)

          1071. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          1072. This claim is brought on behalf of the Michigan Subclass.




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        1073. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1074. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1075. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Minnesota Subclass

                                      COUNT 63

                       VIOLATION OF THE MINNESOTA
                    PREVENTION OF CONSUMER FRAUD ACT
                         (MINN. STAT. § 325F.68 et seq.)

        1076. Plaintiff Holly Kundel (“Plaintiffs” for purposes of all Minnesota

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1077. This claim is brought on behalf of the Minnesota Subclass.

        1078. The Defective Vehicles constitute “merchandise” within the meaning

  of MINN. STAT. § 325F.68(2).




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        1079. The Minnesota Prevention of Consumer Fraud Act (Minnesota CFA)

  prohibits “[t]he act, use, or employment by any person of any fraud, false pretense,

  false promise, misrepresentation, misleading statement or deceptive practice, with

  the intent that others rely thereon in connection with the sale of any merchandise,

  whether or not any person has in fact been misled, deceived, or damaged thereby.”

  MINN. STAT. § 325F.69(1).

        1080. FCA’s actions as set forth herein occurred in the conduct of trade or

  commerce.

        1081. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety



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  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1082. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1083. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods



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  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1084. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1085. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1086. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1087. FCA knew or should have known that its conduct violated this statute.

        1088. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or


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        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1089. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1090. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1091. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.




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        1092. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1093. Pursuant to MINN. STAT. § 8.31(3a), Plaintiffs and the Class seek actual

  damages, attorneys’ fees, and any other just and proper relief available under the

  Minnesota CFA.

        1094. Plaintiffs and the Class also seek punitive damages under MINN. STAT.

  § 549.20(1)(a) given the clear and convincing evidence that FCA’s acts show

  deliberate disregard for the rights of others.

                                       COUNT 64

                         VIOLATION OF THE MINNESOTA
                        DECEPTIVE TRADE PRACTICES ACT
                         (MINN. STAT. § 325D.43-48 ET SEQ.)

        1095. Plaintiff hereby incorporates by reference the allegations contained in

  the preceding paragraphs of this complaint.

        1096. This claim is brought on behalf of the Minnesota Subclass.

        1097. The Minnesota Deceptive Trade Practices Act (Minnesota DTPA)

  prohibits deceptive trade practices, which include “[t]he act, use, or employment by

  any person of any fraud, false pretense, false promise, misrepresentation, misleading

  statement or deceptive practice, with the intent that others rely thereon in connection




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  with the sale of any merchandise, whether or not any person has in fact been misled,

  deceived, or damaged thereby.” MINN. STAT. § 325F.69(1).

        1098. FCA’s actions as set forth herein occurred in the conduct of trade or

  commerce.

        1099. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or



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  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1100. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1101. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended



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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1102. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1103. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1104. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1105. FCA knew or should have known that its conduct violated this statute.

        1106. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1107. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1108. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1109. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1110. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.




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        1111. Pursuant to MINN. STAT. § 8.31(3a), Plaintiffs and the Class seek actual

  damages, attorneys’ fees, and any other just and proper relief available under the

  Minnesota DTPA.

        1112. Plaintiffs and the Class also seek punitive damages under MINN. STAT.

  § 549.20(1)(a) given the clear and convincing evidence that FCA’s acts show

  deliberate disregard for the rights of others.

                                       COUNT 65

                               BREACH OF CONTRACT
                            (BASED ON MINNESOTA LAW)

        1113. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1114. This claim is brought on behalf of the Minnesota Subclass.

        1115. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess




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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1116. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1117. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 66

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON MINNESOTA LAW)

        1118. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1119. This claim is brought on behalf of the Minnesota Subclass.

        1120. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        1121. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1122. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1123. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1124. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1125. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 67

                           FRAUDULENT CONCEALMENT
                           (BASED ON MINNESOTA LAW)

        1126. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1127. This claim is brought on behalf of the Minnesota Subclass.

        1128. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1129. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           1130. FCA knew these representations were false when made.

           1131. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1132. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1133. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1134. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1135. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1136. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1137. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1138. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1139. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1140. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           1141. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1142. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1143. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                       COUNT 68

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON MINNESOTA LAW)

          1144. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1145. This claim is brought on behalf of the Minnesota Subclass.

          1146. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1147. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1148. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 69

                              UNJUST ENRICHMENT
                           (BASED ON MINNESOTA LAW)

          1149. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1150. This claim is brought on behalf of the Minnesota Subclass.




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        1151. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1152. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1153. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Missouri Subclass

                                      COUNT 70

                          VIOLATION OF THE MISSOURI
                        MERCHANDISING PRACTICES ACT
                        (MO. REV. STAT. § 407.010, ET SEQ.)

        1154. Plaintiff Ryan Hall (“Plaintiffs” for purposes of all Missouri Subclass

  claims) incorporate by reference all paragraphs as though fully set forth herein.

        1155. This claim is brought on behalf of the Missouri Subclass.

        1156. FCA, Missouri Plaintiffs and the Missouri Subclass are “persons”

  within the meaning of MO. REV. STAT. § 407.010(5).

        1157. FCA engaged in “trade” or “commerce” in the State of Missouri within

  the meaning of MO. REV. STAT. § 407.010(7).



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        1158. The Missouri Merchandising Practices Act (“Missouri MPA”) makes

  unlawful the “act, use or employment by any person of any deception, fraud, false

  pretense, misrepresentation, unfair practice, or the concealment, suppression, or

  omission of any material fact in connection with the sale or advertisement of any

  merchandise.” MO. REV. STAT. § 407.020.

        1159. In the course of FCA’s business, it willfully failed to disclose and

  actively concealed the true mileage of the Defective Vehicles, which is less than a

  reasonable consumer would expect in light of FCA’s advertising campaign.

  Accordingly, FCA used or employed deception, fraud, false pretense, false promise,

  misrepresentation, unfair practice or the concealment, suppression, or omission of

  any material fact in connection with the sale or advertisement of any merchandise in

  trade or commerce, in violation of the Missouri MPA. FCA’s conduct offends public

  policy; is unethical, oppressive, or unscrupulous; and presents a risk of, or causes,

  substantial injury to consumers.

        1160. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil



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  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1161. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels



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  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1162. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1163. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1164. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1165. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1166. FCA knew or should have known that its conduct violated this statute.




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        1167. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        1168. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1169. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of



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  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1170. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1171. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1172. As a direct and proximate result of FCA’s violations of the Missouri

  MPA, Plaintiffs and the Class have suffered injury-in-fact and/or actual damage.

        1173. FCA is liable to Plaintiffs and the Class for damages in amounts to be

  proven at trial, including attorneys’ fees, costs, and punitive damages, as well as

  injunctive relief enjoining FCA’s unfair and deceptive practices, and any other just

  and proper relief under Mo. Rev. Stat. § 407.025.

        1174. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

        1175. On May 22, 2020, a copy of the Davis, et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney




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  General of the State of Missouri in accordance with Mo. Ann. Stat. § 407.010, et

  seq.

                                      COUNT 71

                               BREACH OF CONTRACT
                             (BASED ON MISSOURI LAW)

         1176. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

         1177. This claim is brought on behalf of the Missouri Subclass.

         1178. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

         1179. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by


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  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1180. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 72

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON MISOURI LAW)

        1181. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1182. This claim is brought on behalf of the Missouri Subclass.

        1183. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1184. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1185. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective




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  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1186. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1187. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1188. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.



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                                       COUNT 73

                           FRAUDULENT CONCEALMENT
                            (BASED ON MISSOURI LAW)

        1189. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1190. This claim is brought on behalf of the Missouri Subclass.

        1191. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1192. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1193. FCA knew these representations were false when made.

        1194. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           1195. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1196. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1197. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1198. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1199. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels



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  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1200. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA



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  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1201. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1202. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1203. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.




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           1204. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1205. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1206. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 74

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON MISSOURI LAW)

           1207. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.


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          1208. This claim is brought on behalf of the Missouri Subclass.

          1209. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1210. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1211. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 75

                              UNJUST ENRICHMENT
                            (BASED ON MISSOURI LAW)

          1212. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          1213. This claim is brought on behalf of the Missouri Subclass.

          1214. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          1215. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.


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        1216. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Nevada Subclass

                                       COUNT 76

                          VIOLATION OF THE NEVADA
                       DECEPTIVE TRADE PRACTICES ACT
                        (NEV. REV. STAT. § 598.0903 et seq.)

        1217. Plaintiff Roberto Hernandez (“Plaintiffs” for purposes of all Nevada

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1218. This claim is brought on behalf of the Nevada Subclass.

        1219. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”)

  prohibits deceptive trade practices. NEV. REV. STAT. § 598.0915 provides that a

  person engages in a “deceptive trade practice” if, in the course of business or

  occupation, the person “[k]nowingly makes a false representation as to the

  characteristics, ingredients, uses, benefits, alterations or quantities of goods or

  services for sale or lease or a false representation as to the sponsorship, approval,

  status, affiliation or connection of a person therewith”; “[r]epresents that goods or

  services for sale or lease are of a particular standard, quality or grade, or that such

  goods are of a particular style or model, if he or she knows or should know that they



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  are of another standard, quality, grade, style or model”; “[a]dvertises goods or

  services with intent not to sell or lease them as advertised and certified”; or

  “[k]nowingly makes any other false representation in a transaction.” NEV. REV.

  STAT. §§ 598.0915–598.0925.

        1220. FCA engaged in deceptive trade practices that violated the Nevada

  DTPA when FCA knowingly failed to disclose that the Defective Vehicles did not

  have the advertised and certified fuel economy and that the fuel economy was far

  worse than a reasonable consumer would expect given the premium paid for these

  vehicles over a comparable vehicle.

        1221. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1222. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the



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  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1223. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.



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        1224. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1225. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1226. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1227. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1228. FCA knew or should have known that its conduct violated this statute.

        1229. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;


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        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        1230. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1231. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.




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        1232. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1233. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1234. Accordingly, Plaintiffs and the Class seek their actual damages,

  punitive damages, an order enjoining FCA’s deceptive acts or practices, costs of

  Court, attorney’s fees, and all other appropriate and available remedies under the

  Nevada DTPA. NEV. REV. STAT. § 41.600.

                                      COUNT 77

                               BREACH OF CONTRACT
                              (BASED ON NEVADA LAW)

        1235. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1236. This claim is brought on behalf of the Nevada Subclass.

        1237. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1238. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1239. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 78

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON NEVADA LAW)

        1240. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1241. This claim is brought on behalf of the Nevada Subclass.


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        1242. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1243. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1244. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1245. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1246. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1247. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 79

                           FRAUDULENT CONCEALMENT
                             (BASED ON NEVADA LAW)

        1248. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1249. This claim is brought on behalf of the Nevada Subclass.

        1250. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1251. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           1252. FCA knew these representations were false when made.

           1253. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1254. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1255. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1256. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         1257. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1258. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1259. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1260. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1261. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1262. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1263. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1264. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        1265. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 80

                        NEGLIGENT MISREPRESENTATION
                           (BASED ON NEVADA LAW)

           1266. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1267. This claim is brought on behalf of the Nevada Subclass.

           1268. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1269. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           1270. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                        COUNT 81

                                UNJUST ENRICHMENT
                              (BASED ON NEVADA LAW)

           1271. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.



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        1272. This claim is brought on behalf of the Nevada Subclass.

        1273. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1274. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1275. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the New Jersey Subclass

                                      COUNT 82

         VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                   (N.J. STAT. ANN. § 56:8-1 ET SEQ.)

        1276. Plaintiffs Kimberly Eager and Luis Munoz (“Plaintiffs” for purposes of

  all New Jersey Subclass claims) hereby incorporate by reference the allegations

  contained in the preceding paragraphs of this complaint.

        1277. This claim is brought on behalf of the New Jersey Subclass.

        1278. The New Jersey Consumer Fraud Act (New Jersey CFA) makes

  unlawful “[t]he act, use or employment by any person of any unconscionable

  commercial     practice,   deception,   fraud,    false   pretense,   false   promise,


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  misrepresentation, or the knowing concealment, suppression or omission of any

  material fact with the intent that others rely upon such concealment, suppression or

  omission, in connection with the sale or advertisement of any merchandise or real

  estate, or with the subsequent performance of such person as aforesaid, whether or

  not any person has in fact been misled, deceived or damaged thereby.” N.J. STAT.

  ANN. § 56:8-2.

        1279. FCA, Plaintiffs, and Class members are “persons” within the meaning

  of N.J. STAT. ANN. § 56:8-1(d).

        1280. FCA engaged in “sales” of “merchandise” within the meaning of N.J.

  STAT. ANN. § 56:8-1(c), (e). FCA’s actions as set forth herein occurred in the

  conduct of trade or commerce.

        1281. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the



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  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1282. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.



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        1283. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1284. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1285. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1286. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1287. FCA knew or should have known that its conduct violated this statute.

        1288. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;


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        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        1289. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1290. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.




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        1291. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1292. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1293. Plaintiffs and Class members are entitled to recover legal and/or

  equitable relief, including an order enjoining FCA’s unlawful conduct, treble

  damages, costs, and reasonable attorneys’ fees pursuant to N.J. STAT. ANN. § 56:8-

  19, and any other just and appropriate relief.

        1294. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

        1295. On May 22, 2020, a copy of the Davis, et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney

  General of the State of New Jersey in accordance with N.J.S.A. § 56:8-20.

                                       COUNT 83

                              BREACH OF CONTRACT
                           (BASED ON NEW JERSEY LAW)

        1296. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1297. This claim is brought on behalf of the New Jersey Subclass.


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        1298. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1299. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1300. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.



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                                      COUNT 84

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON NEW JERSEY LAW)

        1301. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1302. This claim is brought on behalf of the New Jersey Subclass.

        1303. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1304. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1305. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1306. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1307. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The


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  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

         1308. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 85

                            FRAUDULENT CONCEALMENT
                            (BASED ON NEW JERSEY LAW)

         1309. Plaintiffs incorporate by reference all preceding allegations as though

  fully set forth herein.

         1310. This claim is brought on behalf of the New Jersey Subclass.

         1311. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied


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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1312. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1313. FCA knew these representations were false when made.

        1314. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        1315. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        1316. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           1317. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1318. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1319. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           1320. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty



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  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1321. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        1322. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1323. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1324. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1325. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1326. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 86

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON NEW JERSEY LAW)

           1327. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           1328. This claim is brought on behalf of the New Jersey Subclass.

           1329. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1330. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        1331. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 87

                              UNJUST ENRICHMENT
                          (BASED ON NEW JERSEY LAW)

        1332. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

        1333. This claim is brought on behalf of the New Jersey Subclass.

        1334. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1335. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1336. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims Brought on Behalf of the New York Subclass

                                     COUNT 88

         VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                      (N.Y. GEN. BUS. LAW § 349)

        1337. Plaintiff Sherri McCall (“Plaintiffs” for purposes of all New York

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1338. This claim is brought on behalf of the New York Subclass.

        1339. The New York General Business Law (New York GBL) makes

  unlawful “[d]eceptive acts or practices in the conduct of any business, trade or

  commerce.” N.Y. GEN. BUS. LAW § 349.

        1340. New York Plaintiff and the New York Subclass members are “persons”

  within the meaning of N.Y. GEN. BUS. LAW § 349(h).

        1341. FCA is a “person,” “firm,” “corporation,” or “association” within the

  meaning of N.Y. GEN. BUS. LAW § 349.

        1342. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil


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  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices as defined in N.Y. Gen. Bus. Law § 349. FCA’s

  acts had the capacity, tendency or effect of deceiving or misleading consumers;

  failed to state a material fact that deceives or tends to deceive; and constitute

  deception, fraud, false pretense, false promise, misrepresentation, or knowing

  concealment, suppression, or omission of any material fact with the intent that a

  consumer rely on the same in connection therewith.

        1343. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1344. Because FCA’s deception takes place in the context of public health,

  its deception affects the public interest. Further, FCA’s unlawful conduct constitutes

  unfair acts or practices that have the capacity to deceive consumers, and that have a

  broad impact on consumers at large.



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        1345. FCA’s conduct proximately caused injuries to Plaintiffs and the Class.

        1346. Because FCA’s willful and knowing conduct caused injury to Plaintiffs

  and the Class, Plaintiffs and the Class seek recovery of actual damages or $50,

  whichever is greater; discretionary treble damages up to $1,000; punitive damages;

  reasonable attorneys’ fees and costs; an order enjoining FCA’s deceptive conduct;

  and any other just and proper relief available under N.Y. GEN. BUS. LAW § 349.

        1347. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

                                       COUNT 89

          VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                       (N.Y. GEN. BUS. LAW § 350)

        1348. Plaintiff hereby incorporates by reference the allegations contained in

  the preceding paragraphs of this complaint.

        1349. This claim is brought on behalf of the New York Subclass.

        1350. The New York’s General Business Law § 350 makes unlawful “[f]alse

  advertising in the conduct of any business, trade or commerce[.]” False advertising

  includes “advertising, including labeling, of a commodity … if such advertising is

  misleading in a material respect,” taking into account “the extent to which the

  advertising fails to reveal facts material in the light of … representations [made] with

  respect to the commodity….” N.Y. Gen. Bus. Law § 350-a.




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        1351. FCA caused to be made or disseminated through New York, through

  advertising, marketing, and other publications, statements that were untrue or

  misleading, and which were known, or which by the exercise of reasonable care

  should have been known to FCA, to be untrue and misleading to consumers,

  including Plaintiffs and Class members.

        1352. FCA has violated N.Y. Gen. Bus. Law § 350 because the omissions

  regarding the oil consumption, emission levels, and safety and reliability of the

  Defective Vehicles as described above, were material and likely to deceive a

  reasonable consumer.

        1353. Plaintiffs and Class members have suffered injury, including the loss of

  money or property, as a result of FCA’s false advertising. In purchasing or leasing

  their Defective Vehicles, Plaintiffs and Class members relied on the representations

  and/or omissions of FCA with respect to the oil consumption, emission levels, and

  safety and reliability of the Defective Vehicles. FCA’s representations turned out to

  be untrue as described herein. Had Plaintiffs and Class members known this, they

  would not have purchased or leased their Defective Vehicles and/or paid as much

  for them.

        1354. Accordingly, Plaintiffs and the Class overpaid for their Defective

  Vehicles and did not receive the benefit of the bargain for their Defective Vehicles,

  which have also suffered diminution in value.



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        1355. Because FCA fraudulently concealed the true oil consumption,

  emission levels, and safety and reliability of the Defective Vehicle, resulting in a raft

  of negative publicity once the defects finally began to be disclosed, the value of the

  Defective Vehicles has greatly diminished. In light of the stigma attached to those

  vehicles by FCA’s conduct, they are now worth less than they otherwise would be.

        1356. Plaintiffs, individually and on behalf of Class members, request that

  this Court enter such orders or judgments as may be necessary to enjoin FCA from

  continuing its unfair, unlawful and/or deceptive practices. Plaintiffs and Class

  members are also entitled to recover their actual damages or $500, whichever is

  greater. Because FCA acted willfully or knowingly, Plaintiffs and Class members

  are entitled to recover three times actual damages, up to $10,000.

                                        COUNT 90

                               BREACH OF CONTRACT
                             (BASED ON NEW YORK LAW)

        1357. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1358. This claim is brought on behalf of the New York Subclass.

        1359. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those


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  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1360. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1361. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 91

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON NEW YORK LAW)

        1362. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.


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        1363. This claim is brought on behalf of the New York Subclass.

        1364. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1365. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1366. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1367. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1368. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.




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        1369. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 92

                          FRAUDULENT CONCEALMENT
                           (BASED ON NEW YORK LAW)

        1370. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1371. This claim is brought on behalf of the New York Subclass.

        1372. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.




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        1373. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1374. FCA knew these representations were false when made.

        1375. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        1376. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        1377. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

        1378. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not



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  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1379. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1380. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           1381. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete



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  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1382. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1383. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.



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        1384. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1385. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1386. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        1387. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the



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  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 93

                        NEGLIGENT MISREPRESENTATION
                          (BASED ON NEW YORK LAW)

           1388. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1389. This claim is brought on behalf of the New York Subclass.

           1390. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1391. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           1392. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                        COUNT 94

                               UNJUST ENRICHMENT
                            (BASED ON NEW YORK LAW)



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        1393. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

        1394. This claim is brought on behalf of the New York Subclass.

        1395. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1396. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1397. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the North Carolina Subclass

                                      COUNT 95

                VIOLATION OF THE NORTH CAROLINA UNFAIR
                 AND DECEPTIVE ACTS AND PRACTICES ACT
                       (N.C. GEN. STAT. § 75-1.1 et seq.)

        1398. Plaintiff Joshua Caples (“Plaintiffs” for purposes of all North Carolina

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1399. This claim is brought on behalf of North Carolina Subclass.



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        1400. North Carolina’s Unfair and Deceptive Acts and Practices Act (the

  North Carolina Act) broadly prohibits a person from engaging in “[u]nfair methods

  of competition in or affecting commerce, and unfair or deceptive acts or practices in

  or affecting commerce[.]” N.C. GEN. STAT. § 75-1.1(a). The North Carolina Act

  provides a private right of action for any person injured “by reason of any act or

  thing done by any other person, firm or corporation in violation of” the North

  Carolina Act. N.C. GEN. STAT. § 75-16.

        1401. FCA’s acts and practices complained of herein were performed in the

  course of FCA’s trade or business and thus occurred in or affected “commerce”

  within the meaning of N.C. GEN. STAT. § 75-1.1(b).

        1402. FCA engaged in deceptive trade practices that violated the North

  Carolina ACT when FCA knowingly failed to disclose that the Defective Vehicles

  did not have the advertised and certified fuel economy and that the fuel economy

  was far worse than a reasonable consumer would expect given the premium paid for

  these vehicles over a comparable vehicle.

        1403. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1404. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between



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  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1405. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they



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  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1406. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1407. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1408. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.




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        1409. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1410. FCA knew or should have known that its conduct violated this statute.

        1411. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1412. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their




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  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1413. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1414. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1415. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1416. Plaintiffs seek monetary relief against FCA in an amount to be

  determined at trial.

        1417. FCA acted with willful and conscious disregard of the rights and safety

  of others, subjecting Plaintiffs and the Class to cruel and unjust hardship as a result,

  such than an award of punitive damages is appropriate.

        1418. Plaintiffs, individually and on behalf of the Class, seek an order for

  treble his actual damages, an order enjoining FCA’s unlawful acts, punitive damages



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  costs of Court, attorney’s fees, and any other just and proper relief available under

  the North Carolina Act, N.C. GEN. STAT. § 75-16.

                                      COUNT 96

                            BREACH OF CONTRACT
                       (BASED ON NORTH CAROLINA LAW)

        1419. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1420. This claim is brought on behalf of the North Carolina Subclass.

        1421. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1422. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by


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  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1423. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 97

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                (BASED ON NORTH CAROLINA LAW)

        1424. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1425. This claim is brought on behalf of the North Carolina Subclass.

        1426. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1427. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1428. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective




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  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1429. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1430. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1431. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.



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                                       COUNT 98

                          FRAUDULENT CONCEALMENT
                       (BASED ON NORTH CAROLINA LAW)

        1432. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1433. This claim is brought on behalf of the North Carolina Subclass.

        1434. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1435. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1436. FCA knew these representations were false when made.

        1437. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           1438. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1439. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1440. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1441. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1442. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels



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  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1443. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA



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  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1444. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1445. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1446. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.




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           1447. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1448. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1449. FCA’s    acts   were   done    wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 99

                         NEGLIGENT MISREPRESENTATION
                        (BASED ON NORTH CAROLINA LAW)

           1450. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.


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          1451. This claim is brought on behalf of the North Carolina Subclass.

          1452. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1453. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1454. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 100

                             UNJUST ENRICHMENT
                       (BASED ON NORTH CAROLINA LAW)

          1455. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1456. This claim is brought on behalf of the North Carolina Subclass.

          1457. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          1458. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.


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        1459. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Ohio Subclass

                                      COUNT 101

       VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
               (OHIO REV. CODE ANN. § 1345.01 ET SEQ.)

        1460. Plaintiffs Mikaelyn McDowell, Krishawn Durham, Katie Kuczkowski,

  and Danielle Coates (“Plaintiffs” for purposes of all Ohio Subclass claims) hereby

  incorporates by reference the allegations contained in the preceding paragraphs of

  this complaint.

        1461. This claim is brought on behalf of the Ohio Subclass.

        1462. Ohio Consumer Sales Practices Act (“Ohio CSPA”), OHIO REV. CODE

  ANN. § 1345.02, broadly prohibits unfair or deceptive acts or practices in connection

  with a consumer transaction. Specifically, and without limitation of the broad

  prohibition, the Act prohibits (1) representing that Defective Vehicles have

  characteristics, uses, benefits, and qualities which they do not have, (2) representing

  that Defective Vehicles are of a particular standard, quality, and grade when they are

  not, (3) advertising Defective Vehicles with the intent not to sell them as advertised

  and certified, and (4) engaging in acts or practices which are otherwise unfair,




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  misleading, false, or deceptive to the consumer. OHIO REV. CODE ANN. § 1345.02.

  FCA participated in misleading, false, or deceptive acts that violated the Ohio CSPA.

        1463. FCA is a “supplier” as that term is defined in OHIO REV. CODE ANN.

  § 1345.01(C).

        1464. Ohio Plaintiff and the Ohio Subclass members are “consumers” as that

  term is defined in OHIO REV. CODE ANN. § 1345.01(D), and their purchase or lease

  of one or more Defective Vehicles is a “consumer transaction” within the meaning

  of OHIO REV. CODE ANN. § 1345.01(A).

        1465. FCA engaged in deceptive trade practices that violated the Ohio CSPA

  when FCA knowingly failed to disclose that the Defective Vehicles did not have the

  advertised and certified fuel economy and that the fuel economy was far worse than

  a reasonable consumer would expect given the premium paid for these vehicles over

  a comparable vehicle.

        1466. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1467. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective



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  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1468. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively



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  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1469. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1470. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1471. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1472. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1473. FCA knew or should have known that its conduct violated this statute.



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        1474. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        1475. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1476. The Ohio Attorney General has made available for public inspection

  prior state court decisions which have held that the acts and omissions of FCA in



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  this Complaint, including but not limited to the failure to honor both implied

  warranties and express warranties, the making and distribution of false, deceptive,

  and/or misleading representations, and the concealment and/or non-disclosure of a

  dangerous defect, constitute deceptive sales practices in violation of the OCSPA.

  These cases include, but are not limited to, the following:

               a.    Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

               b.    State ex rel. Betty D. Montgomery v. Volkswagen Motor Co.
                     (OPIF #10002123);

               c.    State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc.
                     (OPIF #10002025);

               d.    Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App.
                     LEXIS 1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

               e.    Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App.
                     LEXIS 525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

               f.    State ex rel. Jim Petro v. Craftmatic Org., Inc. (OPIF
                     #10002347);

               g.    Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc.
                     (OPIF #10001586);

               h.    State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF
                     #10000304);

               i.    Brinkman v. Mazda Motor of Am., Inc. (OPIF #10001427);

               j.    Khouri v. Don Lewis (OPIF #100001995);

               k.    Mosley v. Performance Mitsubishi aka Automanage (OPIF
                     #10001326);

               l.    Walls v. Harry Williams dba Butch’s Auto Sales (OPIF
                     #10001524); and



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               m.     Brown v. Spears (OPIF #10000403).

        1477. FCA’s omissions and/or misrepresentations about the fuel consumption

  of the Defective Vehicles were material to Plaintiffs and the Class.

        1478. Plaintiffs and the Class suffered ascertainable loss caused by FCA’s

  misrepresentations and its concealment of and failure to disclose material

  information. Plaintiffs and the Class members who purchased the Defective Vehicles

  either would have paid less for their vehicles or would not have purchased or leased

  them at all but for FCA’s violations of the Ohio CSPA.

        1479. FCA had an ongoing duty to all FCA customers to refrain from unfair

  and deceptive practices under the Ohio CSPA. As a direct and proximate result of

  FCA’s violations of the Ohio CSPA, Plaintiffs and the Class have suffered injury-

  in-fact and/or actual damage.

        1480. FCA’s violations present a continuing risk to Plaintiffs and the Class as

  well as to the general public. FCA’s unlawful acts and practices complained of

  herein affect the public interest.

        1481. Because FCA fraudulently concealed the true oil consumption,

  emission levels, and safety and reliability of the Defective Vehicles, resulting in a

  raft of negative publicity once the defects finally began to be disclosed, the value of

  the Defective Vehicles has greatly diminished. In light of the stigma attached to




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  those vehicles by FCA’s conduct, they are now worth significantly less than they

  otherwise would be.

        1482. As a result of the foregoing wrongful conduct, Plaintiffs and the Class

  have been damaged in an amount to be proven at trial and seek all just and proper

  remedies, including but not limited to actual and statutory damages, an order

  enjoining FCA’s deceptive and unfair conduct, treble damages, court costs, and

  reasonable attorneys’ fees, pursuant to OHIO REV. CODE ANN. § 1345.09 et seq.

        1483. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

                                    COUNT 102

                              BREACH OF CONTRACT
                              (BASED ON OHIO LAW)

        1484. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1485. This claim is brought on behalf of the Ohio Subclass.

        1486. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective


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  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1487. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1488. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 103

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      (BASED ON OHIO LAW)

        1489. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1490. This claim is brought on behalf of the Ohio Subclass.




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        1491. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1492. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1493. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1494. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1495. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1496. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 104

                         FRAUDULENT CONCEALMENT
                            (BASED ON OHIO LAW)

        1497. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1498. This claim is brought on behalf of the Ohio Subclass.

        1499. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1500. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           1501. FCA knew these representations were false when made.

           1502. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1503. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1504. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1505. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         1506. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1507. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1508. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1509. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1510. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1511. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1512. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1513. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        1514. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 105

                        NEGLIGENT MISREPRESENTATION
                             (BASED ON OHIO LAW)

           1515. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1516. This claim is brought on behalf of the Ohio Subclass.

           1517. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1518. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           1519. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 106

                                UNJUST ENRICHMENT
                                (BASED ON OHIO LAW)

           1520. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.



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        1521. This claim is brought on behalf of the Ohio Subclass.

        1522. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1523. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1524. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Oklahoma Subclass

                                      COUNT 107

     VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION ACT
                  (OKLA. STAT. TIT. 15, § 751 et seq.)

        1525. Plaintiff Kelsey Williams (“Plaintiffs” for purposes of all Oklahoma

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1526. This claim is brought on behalf of the Oklahoma Subclass.

        1527. The Oklahoma Consumer Protection Act (“Oklahoma CPA”) declares

  unlawful, inter alia, the following acts or practices when committed in the course of

  business: making a “misrepresentation, omission or other practice that has deceived


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  or could reasonably be expected to deceive or mislead a person to the detriment of

  that person” and “any practice which offends established public policy or if the

  practice is immoral, unethical, oppressive, unscrupulous or substantially injurious to

  consumers.” OKLA. STAT. TIT. 15, §§ 752–753.

        1528. Oklahoma Plaintiff and the Oklahoma Subclass members are “persons”

  under OKLA. STAT. TIT. 15, § 752.

        1529. FCA is a “person,” “corporation,” or “association” within the meaning

  of OKLA. STAT. TIT. 15, § 15-751(1).

        1530. The sale or lease of a Defective Vehicle to Plaintiff was a “consumer

  transaction” within the meaning of OKLA. STAT. TIT. 15, § 752 and FCA’s actions as

  set forth herein occurred in the conduct of trade or commerce.

        1531. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the



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  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1532. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.



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        1533. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1534. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1535. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1536. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1537. FCA knew or should have known that its conduct violated this statute.

        1538. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;


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        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        1539. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1540. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.




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        1541. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1542. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1543. Because FCA’s unconscionable conduct caused injury to Plaintiffs and

  the Class, Plaintiff and the Class seek recovery of actual damages, discretionary

  penalties up to $2,000 per violation, and reasonable attorneys’ fees, under OKLA.

  STAT. TIT. 15, § 761.1. Plaintiffs and the Class further seek an order enjoining FCA’s

  unfair and/or deceptive acts or practices, and any other just and proper relief

  available under the Oklahoma CPA.

        1544. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

                                      COUNT 108

                              BREACH OF CONTRACT
                           (BASED ON OKLAHOMA LAW)

        1545. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1546. This claim is brought on behalf of the Oklahoma Subclass.




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        1547. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1548. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1549. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.



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                                      COUNT 109

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON OKLAHOMA LAW)

        1550. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1551. This claim is brought on behalf of the Oklahoma Subclass.

        1552. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1553. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1554. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1555. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1556. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The


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  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1557. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 110

                          FRAUDULENT CONCEALMENT
                          (BASED ON OKLAHOMA LAW)

        1558. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1559. This claim is brought on behalf of the Oklahoma Subclass.

        1560. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied


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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1561. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1562. FCA knew these representations were false when made.

        1563. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        1564. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        1565. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           1566. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1567. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1568. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           1569. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty



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  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1570. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        1571. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1572. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1573. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1574. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1575. FCA’s    acts   were   done    wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 111

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON OKLAHOMA LAW)

           1576. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1577. This claim is brought on behalf of the Oklahoma Subclass.

           1578. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1579. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        1580. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 112

                             UNJUST ENRICHMENT
                          (BASED ON OKLAHOMA LAW)

        1581. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

        1582. This claim is brought on behalf of the Oklahoma Subclass.

        1583. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1584. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1585. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims Brought on Behalf of the Oregon Subclass

                                      COUNT 113

                           VIOLATION OF THE OREGON
                        UNLAWFUL TRADE PRACTICES ACT
                          (OR. REV. STAT. § 646.605 et seq.)

        1586. Plaintiffs Daniel Scott and Ryan Graham (“Plaintiffs” for purposes of

  all Oregon Subclass claims) hereby incorporates by reference the allegations

  contained in the preceding paragraphs of this complaint.

        1587. This claim is brought on behalf of the Oregon Subclass.

        1588. The Oregon Unlawful Trade Practices Act (“Oregon UTPA”) prohibits

  a person from, in the course of the person’s business, doing any of the following:

  representing that goods have characteristics uses, benefits, or qualities that they do

  not have; representing that goods are of a particular standard or quality if they are of

  another; advertising goods or services with intent not to provide them as advertised

  and certified; and engaging in any other unfair or deceptive conduct in trade or

  commerce. OR. REV. STAT. § 646.608(1).

        1589. FCA is a person within the meaning of OR. REV. STAT. § 646.605(4).

        1590. Each Defective Vehicle is a “good” obtained primarily for personal

  family or household purposes within the meaning of OR. REV. STAT. § 646.605(6).

        1591. FCA engaged in unlawful trade practices that violated the Oregon

  UTPA when FCA knowingly failed to disclose that the Defective Vehicles did not



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  have the advertised and certified fuel economy and that the fuel economy was far

  worse than a reasonable consumer would expect given the premium paid for these

  vehicles over a comparable vehicle.

        1592. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,



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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1593. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1594. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended




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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1595. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1596. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1597. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1598. FCA knew or should have known that its conduct violated this statute.

        1599. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1600. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1601. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1602. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1603. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1604. Plaintiffs and the Class are entitled to recover the greater of actual

  damages or $200 pursuant to OR. REV. STAT. § 646.638(1). Plaintiffs and the Class



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  are also entitled to punitive damages because FCA engaged in conduct amounting

  to a particularly aggravated, deliberate disregard of the rights of others.

        1605. On [insert], a copy of the complaint was mailed to the Attorney General

  of the State of Oregon in accordance with OR. REV. STAT. § 646.638(2).

                                      COUNT 114

                               BREACH OF CONTRACT
                              (BASED ON OREGON LAW)

        1606. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1607. This claim is brought on behalf of the Oregon Subclass.

        1608. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.




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        1609. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1610. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 115

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON OREGON LAW)

        1611. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1612. This claim is brought on behalf of the Oregon Subclass.

        1613. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1614. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        1615. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1616. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1617. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1618. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 116

                           FRAUDULENT CONCEALMENT
                             (BASED ON OREGON LAW)

        1619. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1620. This claim is brought on behalf of the Oregon Subclass.

        1621. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1622. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1623. FCA knew these representations were false when made.




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           1624. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1625. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1626. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1627. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1628. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1629. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1630. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1631. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1632. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1633. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           1634. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1635. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1636. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 117

                       NEGLIGENT MISREPRESENTATION
                          (BASED ON OREGON LAW)

          1637. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1638. This claim is brought on behalf of the Oregon Subclass.

          1639. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1640. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1641. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 118

                               UNJUST ENRICHMENT
                             (BASED ON OREGON LAW)

          1642. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1643. This claim is brought on behalf of the Oregon Subclass.




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        1644. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1645. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1646. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Pennsylvania Subclass

                                       COUNT 119

             VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE
               PRACTICES AND CONSUMER PROTECTION LAW
                    (73 PA. CONS. STAT. § 201-1 ET SEQ.)

        1647. Plaintiffs Daniel McGorrey and Karen Burke (“Plaintiffs” for purposes

  of all Pennsylvania Subclass claims) hereby incorporate by reference the allegations

  contained in the preceding paragraphs of this complaint.

        1648. This claim is brought on behalf of the Pennsylvania Subclass.

        1649. The Pennsylvania Unfair Trade Practices and Consumer Protection

  Law (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including

  representing that goods or services have characteristics, benefits or qualities that they



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  do not have; representing that goods or services are of a particular standard, quality

  or grade if they are of another; advertising goods or services with intent not to sell

  them as advertised and certified; and engaging in any other fraudulent or deceptive

  conduct which creates a likelihood of confusion or misunderstanding. 73 PA. CONS.

  STAT. § 201-2(4).

        1650. FCA, Plaintiffs, and Class members are “persons” within the meaning

  of 73 PA. CONS. STAT. § 201-2(2).

        1651. Plaintiffs purchased a Defective Vehicle primarily for personal, family,

  or household purposes within the meaning of 73 PA. CONS. STAT. § 201-9.2.

        1652. All of the acts complained of herein were perpetrated by FCA in the

  course of trade or commerce within the meaning of 73 PA. CONS. STAT. § 201-2(3).

        1653. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the



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  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1654. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.



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        1655. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1656. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1657. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1658. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1659. FCA knew or should have known that its conduct violated this statute.

        1660. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;


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        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        1661. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1662. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.




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        1663. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1664. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1665. FCA is liable to Plaintiffs and the Class for treble their actual damages

  or $100, whichever is greater, and attorneys’ fees and costs. 73 PA. CONS. STAT.

  § 201-9.2(a). Plaintiffs and the Class are also entitled to an award of punitive

  damages given that FCA’s conduct was malicious, wanton, willful, oppressive, or

  exhibited a reckless indifference to the rights of others.

                                      COUNT 120

                             BREACH OF CONTRACT
                         (BASED ON PENNSYLVANIA LAW)

        1666. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1667. This claim is brought on behalf of the Pennsylvania Subclass.

        1668. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those


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  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1669. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1670. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 121

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                  (BASED ON PENNSYLVANIA LAW)

        1671. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.


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        1672. This claim is brought on behalf of the Pennsylvania Subclass.

        1673. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1674. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1675. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1676. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1677. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.




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        1678. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 122

                           FRAUDULENT CONCEALMENT
                         (BASED ON PENNSYLVANIA LAW)

        1679. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1680. This claim is brought on behalf of the Pennsylvania Subclass.

        1681. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.




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        1682. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1683. FCA knew these representations were false when made.

        1684. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        1685. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        1686. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

        1687. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not



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  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1688. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1689. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           1690. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete



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  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1691. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1692. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.



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        1693. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1694. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1695. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        1696. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the



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  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 123

                        NEGLIGENT MISREPRESENTATION
                         (BASED ON PENNSYLVANIA LAW)

           1697. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1698. This claim is brought on behalf of the Pennsylvania Subclass.

           1699. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1700. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           1701. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 124

                              UNJUST ENRICHMENT
                         (BASED ON PENNSYLVANIA LAW)



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        1702. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

        1703. This claim is brought on behalf of the Pennsylvania Subclass.

        1704. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1705. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1706. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the South Carolina Subclass

                                      COUNT 125

                     VIOLATION OF THE SOUTH CAROLINA
                        UNFAIR TRADE PRACTICES ACT
                         (S.C. CODE ANN. § 39-5-10 et seq.)

        1707. Plaintiff Rosalind Burks (“Plaintiffs” for purposes of all South Carolina

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1708. This claim is brought on behalf of the South Carolina Subclass.



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        1709. The South Carolina Unfair Trade Practices Act (“South Carolina

  UTPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade

  or commerce.” S.C. CODE ANN. § 39-5-20(a).

        1710. FCA is a “person” under S.C. CODE ANN. § 39-5-10.

        1711. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or



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  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1712. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1713. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended



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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1714. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1715. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1716. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1717. FCA knew or should have known that its conduct violated this statute.

        1718. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1719. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1720. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1721. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1722. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.




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        1723. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiffs and the Class seek

  monetary relief to recover their economic losses. Because FCA’s actions were

  willful and knowing, Plaintiffs and the Class’ damages should be trebled.

        1724. Plaintiffs and the Class further allege that FCA’s malicious and

  deliberate conduct warrants an assessment of punitive damages because it carried

  out despicable conduct with willful and conscious disregard of the rights of others.

  FCA’s unlawful conduct constitutes malice, oppression, and fraud warranting

  punitive damages.

        1725. Plaintiffs and the Class further seek an order enjoining each FCA’s

  unfair or deceptive acts or practices.

                                      COUNT 126

                VIOLATION OF THE SOUTH CAROLINA
         REGULATION OF MANUFACTURERS, DISTRIBUTORS, AND
                            DEALERS ACT
                   (S.C. CODE ANN. § 56-15-10 et seq.)

        1726. Plaintiff hereby incorporates by reference the allegations contained in

  the preceding paragraphs of this complaint.

        1727. This claim is brought on behalf of the South Carolina Subclass.

        1728. FCA is a “manufacturer” under S.C. CODE ANN. § 56-15-10.

        1729. FCA participated in unfair or deceptive acts or practices that violated

  the South Carolina Regulation of Manufacturers, Distributors, and Dealers Act




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  (“Dealers Act”) by willfully failing to disclose the Defective Vehicles’ true oil

  consumption, emission levels, and safety and reliability.

        1730. FCA’s bad faith and unconscionable actions include, but are not limited

  to:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1731. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.




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        1732. Plaintiffs and the other Class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1733. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1734. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1735. Pursuant to S.C. CODE ANN. § 56-15-110, Plaintiffs and the Class seek

  monetary relief to recover their economic losses. Because FCA’s actions were

  willful and knowing, Plaintiffs and Class members’ damages should be trebled.

        1736. Plaintiffs and the Class further allege that FCA’s malicious and

  deliberate conduct warrants an assessment of punitive damages because it carried

  out despicable conduct with willful and conscious disregard of the rights of others.

  FCA’s unlawful conduct constitutes malice, oppression, and fraud warranting

  punitive damages.




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        1737. Plaintiffs and the Class further seek an order enjoining each FCA’s

  unfair or deceptive acts or practices.

                                      COUNT 127

                           BREACH OF CONTRACT
                      (BASED ON SOUTH CAROLINA LAW)

        1738. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1739. This claim is brought on behalf of South Carolina Subclass.

        1740. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1741. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by


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  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1742. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 128

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                (BASED ON SOUTH CAROLINA LAW)

        1743. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1744. This claim is brought on behalf of the South Carolina Subclass.

        1745. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1746. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1747. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective




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  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1748. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1749. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1750. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.



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                                      COUNT 129

                        FRAUDULENT CONCEALMENT
                      (BASED ON SOUTH CAROLINA LAW)

        1751. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1752. This claim is brought on behalf of the South Carolina Subclass.

        1753. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1754. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        1755. FCA knew these representations were false when made.

        1756. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           1757. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1758. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1759. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1760. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           1761. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels



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  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1762. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA



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  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1763. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1764. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1765. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.




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           1766. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1767. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1768. FCA’s    acts   were   done    wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 130

                          NEGLIGENT MISREPRESENTATION
                         (BASED ON SOUTH CAROLINA LAW)

           1769. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.


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          1770. This claim is brought on behalf of the South Carolina Subclass.

          1771. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1772. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1773. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 131

                             UNJUST ENRICHMENT
                       (BASED ON SOUTH CAROLINA LAW)

          1774. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1775. This claim is brought on behalf of the South Carolina Subclass.

          1776. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          1777. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.


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         1778. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

         Claims Brought on Behalf of the Tennessee Subclass

                                         COUNT 132

      VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT
                    (TENN. CODE § 47-18-101, et seq.)

         1779. Plaintiff Holly Hickman (“Plaintiffs” for purposes of all Tennessee

  Subclass claims) incorporates by reference all paragraphs alleged herein.

         1780. This claim is brought on behalf of the Tennessee Subclass.

         1781. Plaintiffs and the Class are “natural persons” and “consumers” within

  the meaning of TENN. CODE § 47-18-103(2).

         1782. FCA is a “person” within the meaning of TENN. CODE § 47-18-103(2).

         1783. FCA’s conduct complained of herein affected “trade,” “commerce” or

  “consumer transactions” within the meaning of TENN. CODE § 47-18-103(19).

         1784. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits

  “[u]nfair or deceptive acts or practices affecting the conduct of any trade or

  commerce,” including but not limited to: “Representing that goods or services have

  . . . characteristics, [or] . . . benefits . . . that they do not have . . . .”; “Representing

  that goods or services are of a particular standard, quality or grade . . . if they are of

  another”; and “Advertising goods or services with intent not to sell them as


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  advertised.” TENN. CODE § 47-18-104. FCA violated the Tennessee CPA by

  engaging in unfair or deceptive acts, including representing that Defective Vehicles

  have characteristics or benefits that they did not have; representing that Defective

  Vehicles are of a particular standard, quality, or grade when they are of another; and

  advertising Defective Vehicles with intent not to sell them as advertised.

        1785. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect



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  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1786. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1787. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”



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  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1788. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1789. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1790. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1791. FCA knew or should have known that its conduct violated this statute.

        1792. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.




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        1793. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1794. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1795. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1796. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.



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        1797. Pursuant to TENN. CODE § 47-18-109(a), Plaintiffs, individually and on

  behalf of the Class members, seeks monetary relief against FCA measured as actual

  damages in an amount to be determined at trial, treble damages as a result of FCA’s

  willful or knowing violations, and any other just and proper relief available under

  the Tennessee CPA.

        1798. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.

                                    COUNT 133

                             BREACH OF CONTRACT
                           (BASED ON TENNESSEE LAW)

        1799. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1800. This claim is brought on behalf of the Tennessee Subclass.

        1801. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess


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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1802. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1803. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 134

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON TENNESSEE LAW)

        1804. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1805. This claim is brought on behalf of the Tennessee Subclass.

        1806. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        1807. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1808. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1809. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1810. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1811. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 135

                           FRAUDULENT CONCEALMENT
                            (BASED ON TENNESSEE LAW)

        1812. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1813. This claim is brought on behalf of the Tennessee Subclass.

        1814. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1815. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           1816. FCA knew these representations were false when made.

           1817. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1818. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1819. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1820. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           1821. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1822. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1823. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1824. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1825. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1826. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           1827. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           1828. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           1829. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 136

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON TENNESSEE LAW)

          1830. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1831. This claim is brought on behalf of the Tennessee Subclass.

          1832. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          1833. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          1834. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 137

                              UNJUST ENRICHMENT
                           (BASED ON TENNESSEE LAW)

          1835. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          1836. This claim is brought on behalf of the Tennessee Subclass.




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        1837. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1838. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1839. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Texas Subclass

                                      COUNT 138

              VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
              PRACTICES AND CONSUMER PROTECTION ACT
                  (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

        1840. Plaintiffs Amber Portugal, Michael Sanchez, and Adam Dyer

  (“Plaintiffs” for purposes of all Texas Subclass claims) incorporate by reference all

  paragraphs alleged herein.

        1841. This claim is brought on behalf of the Texas Subclass.

        1842. Texas Plaintiffs and the Texas Subclass members are individuals with

  assets of less than $25 million (or are controlled by corporations or entities with less

  than $25 million in assets). See TEX. BUS. & COM. CODE § 17.41.



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        1843. The Texas Deceptive Trade Practices-Consumer Protection Act

  (“Texas DTPA”) provides a private right of action to a consumer where the

  consumer suffers economic damage as the result of either (i) the use of false,

  misleading, or deceptive act or practice specifically enumerated in TEX. BUS. &

  COM. CODE § 17.46(b); or (ii) “an unconscionable action or course of action by any

  person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA declares

  several specific actions to be unlawful, including: “(5) Representing that goods or

  services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

  qualities that they do not have”; “(7) Representing that goods or services are of a

  particular standard, quality, or grade, or that goods are of a particular style or model,

  if they are of another”; and “(9) advertising goods or services with intent not to sell

  them as advertised.” An “unconscionable action or course of action” means “an act

  or practice which, to a consumer’s detriment, takes advantage of the lack of

  knowledge, ability, experience, or capacity of the consumer to a grossly unfair

  degree.” TEX. BUS. & COM. CODE § 17.45(5). As detailed herein, FCA has engaged

  in an unconscionable action or course of action and thereby caused economic

  damages to the Texas Class.

        1844. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between



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  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1845. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they



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  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1846. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1847. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1848. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.




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        1849. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1850. FCA knew or should have known that its conduct violated this statute.

        1851. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1852. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their




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  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1853. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1854. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1855. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1856. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with TEX. BUS. & COM. CODE Ann. § 17.505 to FCA.

        1857. On May 22, 2020, a copy of the Davis, et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney

  General of the State of Texas in accordance with TEX. BUS. & COM. CODE Ann.

  § 17:501.




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        1858. Plaintiffs and the Class seek monetary relief against FCA measured as

  actual damages in an amount to be determined at trial, treble damages for FCA’s

  knowing violations of the Texas DTPA, and any other just and proper relief available

  under the Texas DTPA.

        1859. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE

  § 17.50(b)(3) & (4), Plaintiffs and the Class are also entitled to disgorgement or to

  rescission or to any other relief necessary to restore any money or property that was

  acquired from Plaintiffs based on violations of the Texas DTPA or which the Court

  deems proper. Plaintiffs and Class members also seek an award of punitive damages

  due to FCA’s aggravated and outrageous conduct.

                                     COUNT 139

                              BREACH OF CONTRACT
                              (BASED ON TEXAS LAW)

        1860. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1861. This claim is brought on behalf of the Texas Subclass.

        1862. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1863. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1864. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 140

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      (BASED ON TEXAS LAW)

        1865. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1866. This claim is brought on behalf of the Texas Subclass.


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        1867. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1868. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1869. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1870. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1871. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1872. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 141

                           FRAUDULENT CONCEALMENT
                             (BASED ON TEXAS LAW)

        1873. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1874. This claim is brought on behalf of the Texas Subclass.

        1875. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1876. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           1877. FCA knew these representations were false when made.

           1878. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1879. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1880. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1881. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         1882. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1883. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1884. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1885. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1886. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1887. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1888. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1889. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        1890. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 142

                        NEGLIGENT MISREPRESENTATION
                            (BASED ON TEXAS LAW)

           1891. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           1892. This claim is brought on behalf of the Texas Subclass.

           1893. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1894. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           1895. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 143

                                UNJUST ENRICHMENT
                               (BASED ON TEXAS LAW)

           1896. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.



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        1897. This claim is brought on behalf of the Texas Subclass.

        1898. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1899. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1900. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Virginia Subclass

                                      COUNT 144

       VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                   (VA. CODE ANN. § 59.1-196 et seq.)

        1901. Plaintiff Arteal Jordan (“Plaintiffs” for purposes of all Virginia

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1902. This claim is brought on behalf of the Virginia Subclass.

        1903. The Virginia Consumer Protection Act (“Virginia CPA”) lists

  prohibited “practices,” which include “[u]sing any other deception, fraud, false




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  pretense, false promise, or misrepresentation in connection with a consumer

  transaction.” VA. CODE ANN. § 59.1-200.

        1904. FCA is a “supplier” under VA. CODE ANN. § 59.1-198.

        1905. Each sale and lease of a Defective Vehicle was a “consumer

  transaction” within the meaning of VA. CODE ANN. § 59.1-198.

        1906. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect



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  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1907. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1908. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”



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  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1909. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1910. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1911. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1912. FCA knew or should have known that its conduct violated this statute.

        1913. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.




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        1914. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1915. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1916. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1917. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.



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        1918. Pursuant to VA. CODE ANN. § 59.1-204, Plaintiffs and the Class seek

  monetary relief against FCA measured as the greater of (a) actual damages in an

  amount to be determined at trial and (b) statutory damages in the amount of $500 for

  each Plaintiff. Because FCA’s conduct was committed willfully and knowingly,

  Plaintiffs and the Class are entitled to recover, for each plaintiff, the greater of (a)

  three times actual damages or (b) $1,000. Plaintiffs and the Class also seek an award

  of punitive damages due to FCA’s aggravated and outrageous conduct.

        1919. Plaintiff and the Class also seek an order enjoining FCA’s unfair and/or

  deceptive acts or practices, punitive damages, and attorneys’ fees, and any other just

  and proper relief available under VA. CODE ANN. § 59.1-204 et seq.

                                      COUNT 145

                               BREACH OF CONTRACT
                             (BASED ON VIRGINIA LAW)

        1920. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1921. This claim is brought on behalf of the Virginia Subclass.

        1922. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1923. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1924. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 146

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON VIRGINIA LAW)

        1925. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1926. This claim is brought on behalf of the Virginia Subclass.


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        1927. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        1928. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1929. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1930. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1931. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1932. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 147

                           FRAUDULENT CONCEALMENT
                            (BASED ON VIRGINIA LAW)

        1933. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        1934. This claim is brought on behalf of the Virginia Subclass.

        1935. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1936. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           1937. FCA knew these representations were false when made.

           1938. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1939. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1940. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           1941. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         1942. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         1943. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         1944. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        1945. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        1946. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        1947. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        1948. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        1949. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        1950. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 148

                        NEGLIGENT MISREPRESENTATION
                           (BASED ON VIRGINIA LAW)

           1951. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           1952. This claim is brought on behalf of the Virginia Subclass.

           1953. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           1954. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           1955. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 149

                               UNJUST ENRICHMENT
                             (BASED ON VIRGINIA LAW)

           1956. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.



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        1957. This claim is brought on behalf of the Virginia Subclass.

        1958. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        1959. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        1960. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Washington Subclass

                                      COUNT 150

                      VIOLATION OF THE WASHINGTON
                        CONSUMER PROTECTION ACT
                    (WASH. REV. CODE ANN. § 19.86.010 et seq.)

        1961. Plaintiff Vivien Nagy (“Plaintiffs” for purposes of all Washington

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        1962. This claim is brought on behalf of the Washington Subclass.

        1963. The Washington Consumer Protection Act (“Washington CPA”)

  broadly prohibits “[u]nfair methods of competition and unfair or deceptive acts or



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  practices in the conduct of any trade or commerce.” WASH. REV. CODE ANN.

  § 19.96.010.

        1964. FCA committed the acts complained of herein in the course of “trade”

  or “commerce” within the meaning of WASH. REV. CODE ANN. § 19.96.010.

        1965. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or



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  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        1966. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        1967. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended



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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        1968. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        1969. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        1970. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        1971. FCA knew or should have known that its conduct violated this statute.

        1972. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        1973. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        1974. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        1975. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        1976. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        1977. FCA is liable to Plaintiffs and the Class for damages in amounts to be

  proven at trial, including attorneys’ fees, costs, and treble damages, as well as any



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  other remedies the Court may deem appropriate under WASH. REV. CODE ANN.

  § 19.86.090. Plaintiffs and the Class also seek an award of punitive damages due to

  FCA’s aggravated and outrageous conduct.

        1978. On May 22, 2020, a copy of the Davis et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney

  General of the State of Washington in accordance with WASH. REV. CODE ANN.

  § 19.86.095.

                                    COUNT 151

                            BREACH OF CONTRACT
                         (BASED ON WASHINGTON LAW)

        1979. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1980. This claim is brought on behalf of the Washington Subclass.

        1981. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess


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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        1982. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        1983. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 152

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON WASHINGTON LAW)

        1984. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1985. This claim is brought on behalf of the Washington Subclass.

        1986. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        1987. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        1988. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        1989. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        1990. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        1991. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 153

                           FRAUDULENT CONCEALMENT
                          (BASED ON WASHINGTON LAW)

        1992. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        1993. This claim is brought on behalf of the Washington Subclass.

        1994. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        1995. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           1996. FCA knew these representations were false when made.

           1997. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           1998. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           1999. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2000. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2001. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         2002. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         2003. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2004. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2005. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2006. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2007. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2008. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2009. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 154

                       NEGLIGENT MISREPRESENTATION
                        (BASED ON WASHINGTON LAW)

          2010. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2011. This claim is brought on behalf of the Washington Subclass.

          2012. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2013. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2014. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 155

                             UNJUST ENRICHMENT
                         (BASED ON WASHINGTON LAW)

          2015. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2016. This claim is brought on behalf of the Washington Subclass.




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        2017. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2018. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2019. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the West Virginia Subclass

                                      COUNT 156

                    VIOLATION OF THE WEST VIRGINIA
                  CONSUMER CREDIT AND PROTECTION ACT
                       (W. VA. CODE § 46A-1-101 et seq.)

        2020. Plaintiff Katlyn Wills (“Plaintiffs” for purposes of all West Virginia

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        2021. This claim is brought on behalf of the West Virginia Subclass.

        2022. FCA is a “person” under W. VA. CODE § 46A-1-102(31).




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        2023. Plaintiffs and Class members are “consumers” as defined by W. VA.

  CODE §§ 46A-1-102(12) and 46A-6-102(2), who purchased or leased one or more

  Defective Vehicles.

        2024. FCA engaged in trade or commerce as defined by W. VA. CODE § 46A-

  6-102(6).

        2025. The West Virginia Consumer Credit and Protection Act (West Virginia

  CCPA) prohibits “unfair or deceptive acts or practices in the conduct of any trade or

  commerce.” W. VA. CODE § 46A-6-104. Without limitation, “unfair or deceptive”

  acts or practices include:

               (I) Advertising goods or services with intent not to sell
               them as advertised and certified; . . .
               (L) Engaging in any other conduct which similarly creates
               a likelihood of confusion or of misunderstanding;
               (M) The act, use or employment by any person of any
               deception, fraud, false pretense, false promise or
               misrepresentation, or the concealment, suppression or
               omission of any material fact with intent that others rely
               upon such concealment, suppression or omission, in
               connection with the sale or advertisement of any goods or
               services, whether or not any person has in fact been
               misled, deceived or damaged thereby; [and]
               (N) Advertising, printing, displaying, publishing,
               distributing or broadcasting, or causing to be advertised
               and certified, printed, displayed, published, distributed or
               broadcast in any manner, any statement or representation
               with regard to the sale of goods or the extension of
               consumer credit including the rates, terms or conditions
               for the sale of such goods or the extension of such credit,
               which is false, misleading or deceptive or which omits to
               state material information which is necessary to make the
               statements therein not false, misleading or deceptive.


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  W. VA. CODE § 46A-6-102(7).
        2026. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any




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  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2027. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2028. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.



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        2029. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2030. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2031. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2032. FCA knew or should have known that its conduct violated this statute.

        2033. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2034. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,



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  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2035. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2036. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2037. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2038. Pursuant to W. VA. CODE § 46A-6-106, Plaintiffs and the Class seek

  monetary relief against FCA measured as the greater of (a) actual damages in an

  amount to be determined at trial and (b) statutory damages in the amount of $200

  per violation of the West Virginia CCPA for each Plaintiff.



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            2039. Plaintiffs and the Class also seek punitive damages against FCA

  because it carried out despicable conduct with willful and conscious disregard of the

  rights of others, subjecting Plaintiffs and the Class to cruel and unjust hardship as a

  result.

            2040. Plaintiffs and the Class further seek an order enjoining FCA’s unfair or

  deceptive acts or practices, restitution, punitive damages, costs of Court, attorney’s

  fees under W. VA. CODE § 46A-5-101, et seq., and any other just and proper relief

  available under the West Virginia CCPA.

            2041. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with W. VA. CODE § 46A-6-106(b) to FCA.

                                        COUNT 157

                                BREACH OF CONTRACT
                            (BASED ON WEST VIRGINIA LAW)

            2042. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

            2043. This claim is brought on behalf of the West Virginia Subclass.

            2044. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2045. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2046. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 158

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                  (BASED ON WEST VIRGINIA LAW)

        2047. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2048. This claim is brought on behalf of the West Virginia Subclass.


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        2049. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2050. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2051. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2052. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2053. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2054. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 159

                           FRAUDULENT CONCEALMENT
                         (BASED ON WEST VIRGINIA LAW)

        2055. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2056. This claim is brought on behalf of the West Virginia Subclass.

        2057. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2058. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           2059. FCA knew these representations were false when made.

           2060. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2061. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2062. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2063. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         2064. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         2065. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         2066. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2067. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2068. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2069. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2070. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        2071. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        2072. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 160

                        NEGLIGENT MISREPRESENTATION
                         (BASED ON WEST VIRGINIA LAW)

           2073. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           2074. This claim is brought on behalf of the West Virginia Subclass.

           2075. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           2076. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           2077. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 161

                              UNJUST ENRICHMENT
                         (BASED ON WEST VIRGINIA LAW)

           2078. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.



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        2079. This claim is brought on behalf of the West Virginia Subclass.

        2080. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2081. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2082. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Wisconsin Subclass

                                      COUNT 162

                        VIOLATION OF THE WISCONSIN
                       DECEPTIVE TRADE PRACTICES ACT
                             (WIS. STAT. § 110.18)

        2083. Plaintiff Tera Castillo (“Plaintiffs” for purposes of all Wisconsin

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        2084. This claim is brought on behalf of Wisconsin Subclass.




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        2085. The Wisconsin Deceptive Trade Practices Act (Wisconsin DTPA)

  prohibits a “representation or statement of fact which is untrue, deceptive or

  misleading.” WIS. STAT. § 100.18(1).

        2086. FCA is a “person, firm, corporation or association” within the meaning

  of WIS. STAT. § 100.18(1).

        2087. Plaintiffs and Class members are members of “the public” within the

  meaning of WIS. STAT. § 100.18(1). Plaintiffs purchased or leased one or more

  Defective Vehicles.

        2088. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety



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  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2089. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2090. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods



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  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2091. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2092. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2093. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2094. FCA knew or should have known that its conduct violated this statute.

        2095. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or


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        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2096. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2097. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2098. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.




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        2099. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2100. Plaintiffs and the Class are entitled to damages and other relief provided

  for under WIS. STAT. § 100.18(11)(b)(2). Because FCA’s conduct was committed

  knowingly and/or intentionally, Plaintiffs and the Class are entitled to treble

  damages. Plaintiffs and the Class also seek an award of punitive damages due to

  FCA’s aggravated and outrageous conduct.

        2101. Plaintiffs and the Class also seeks court costs and attorneys’ fees under

  WIS. STAT. § 110.18(11)(b)(2).

                                      COUNT 163

                              BREACH OF CONTRACT
                            (BASED ON WISCONSIN LAW)

        2102. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        2103. This claim is brought on behalf of Wisconsin Subclass.

        2104. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2105. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2106. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 164

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON WISCONSIN LAW)

        2107. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2108. This claim is brought on behalf of the Wisconsin Subclass.


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        2109. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2110. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2111. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2112. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2113. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2114. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 165

                         FRAUDULENT CONCEALMENT
                          (BASED ON WISCONSIN LAW)

        2115. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        2116. This claim is brought on behalf of the Wisconsin Subclass.

        2117. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2118. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           2119. FCA knew these representations were false when made.

           2120. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2121. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2122. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2123. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         2124. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         2125. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         2126. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2127. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2128. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2129. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2130. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        2131. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        2132. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 166

                        NEGLIGENT MISREPRESENTATION
                          (BASED ON WISCONSIN LAW)

           2133. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           2134. This claim is brought on behalf of the Wisconsin Subclass.

           2135. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           2136. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           2137. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 167

                               UNJUST ENRICHMENT
                            (BASED ON WISCONSIN LAW)

           2138. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.



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        2139. This claim is brought on behalf of the Wisconsin Subclass.

        2140. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2141. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2142. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Alabama Subclass

                                      COUNT 168

                       VIOLATION OF THE ALABAMA
                     DECEPTIVE TRADE PRACTICES ACT
                         (ALA. CODE § 8-19-1 et seq.)

        2143. Alabama Plaintiffs (“Plaintiffs” for purposes of all Alabama Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2144. This claim is brought on behalf of the Alabama Subclass.

        2145. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”)

  declares several specific actions to be unlawful, including: “engaging in any other



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  unconscionable, false, misleading, or deceptive act or practice in the conduct of trade

  or commerce.” ALA. CODE § 8-19-5.

        2146. Plaintiffs and the Alabama Subclass members are “consumers” within

  the meaning of ALA. CODE. § 8-19-3(2).

        2147. Plaintiffs, the Alabama Subclass members, and FCA are “persons”

  within the meaning of ALA. CODE § 8-19-3(3).

        2148. FCA was and is engaged in “trade or commerce” within the meaning of

  ALA. CODE § 8-19-3(8).

        2149. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety



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  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2150. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2151. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods



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  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2152. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2153. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2154. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2155. FCA knew or should have known that its conduct violated this statute.

        2156. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or


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        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2157. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2158. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2159. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.




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        2160. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2161. Pursuant to ALA. CODE § 8-19-10, Plaintiffs seek monetary relief

  against FCA measured as the greater of (a) actual damages in an amount to be

  determined at trial and (b) statutory damages in the amount of $100 for each plaintiff.

        2162. Plaintiffs also seek an order enjoining FCA’s unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available

  under ALA. CODE. § 8-19-1, et seq.

        2163. Plaintiffs also seek punitive damages because FCA engaged in

  aggravated and outrageous conduct.

        2164. On April 29, 2020 and October 14, 2020, Plaintiffs sent a letter

  complying with ALA. CODE § 8-19-10(e) to FCA. FCA failed to remedy its unlawful

  conduct within the requisite period. Thus, Plaintiffs seek all damages and relief to

  which they are entitled.

                                       COUNT 169

                               BREACH OF CONTRACT
                             (BASED ON ALABAMA LAW)

        2165. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2166. This claim is brought on behalf of the Alabama Subclass.


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        2167. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2168. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2169. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.



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                                      COUNT 170

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON ALABAMA LAW)

        2170. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2171. This claim is brought on behalf of the Alabama Subclass.

        2172. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2173. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2174. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2175. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2176. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The


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  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2177. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 171

                          FRAUDULENT CONCEALMENT
                           (BASED ON ALABAMA LAW)

        2178. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2179. This claim is brought on behalf of the Alabama Subclass.

        2180. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied


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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2181. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2182. FCA knew these representations were false when made.

        2183. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        2184. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        2185. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           2186. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2187. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           2188. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

           2189. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and emit excessive pollution, because details of the true facts were

  known and/or accessible only to FCA, because FCA had exclusive knowledge as to

  such facts, and because FCA knew these facts were not known to or reasonably

  discoverable by Plaintiffs and the Class members. FCA also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles



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  with respect to safety, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive harmful emissions, and whether

  the manufacturer tells the truth are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2190. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        2191. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2192. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2193. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        2194. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2195. FCA’s    acts   were   done   wantonly, maliciously,       oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 172

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON ALABAMA LAW)

           2196. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           2197. This claim is brought on behalf of the Alabama Subclass.

           2198. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           2199. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        2200. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 173

                             UNJUST ENRICHMENT
                           (BASED ON ALABAMA LAW)

        2201. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

        2202. This claim is brought on behalf of the Alabama Subclass.

        2203. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2204. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2205. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims brought on behalf of the Alaska Subclass

                                      COUNT 174

        VIOLATION OF THE ALASKA UNFAIR TRADE PRACTICES
                 AND CONSUMER PROTECTION ACT
                (ALASKA STAT. ANN. § 45.50.471 et seq.)

        2206. Alaska Plaintiffs (“Plaintiffs” for purposes of all Alaska Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2207. This claim is brought on behalf of the Alaska Subclass.

        2208. The Alaska Unfair Trade Practices and Consumer Protection Act

  (Alaska CPA) declared unfair methods of competition and unfair or deceptive acts

  or practices in the conduct of trade or commerce unlawful, including “using or

  employing deception, fraud, false pretense, false promise, misrepresentation, or

  knowingly concealing, suppressing, or omitting a material fact with intent that others

  rely upon the concealment, suppression or omission in connection with the sale or

  advertisement of goods or services whether or not a person has in fact been misled,

  deceived or damaged.” ALASKA STAT. ANN. § 45.50.471.

        2209. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles



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  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2210. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off



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  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2211. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2212. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2213. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2214. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.



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        2215. FCA knew or should have known that its conduct violated this statute.

        2216. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        2217. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.




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        2218. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2219. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2220. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2221. Pursuant to ALASKA STAT ANN. § 45.50.531, Plaintiffs seek monetary

  relief against FCA measured as the greater of (a) three times the actual damages in

  an amount to be determined at trial or (b) $500 for each plaintiff.

        2222. Plaintiffs also seek an order enjoining FCA’s unfair, unlawful, and/or

  deceptive practices pursuant to ALASKA STAT. ANN. § 45.50.535(b)(1), attorneys’

  fees, and any other just and proper relief available under the Alaska CPA.

        2223. Plaintiffs also seek punitive damages because FCA engaged in

  aggravated and outrageous conduct.




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        2224. Plaintiffs sent letters on April 29, 2020 and October 14, 2020

  complying with ALASKA STAT. ANN. § 45.50.535(b)(1) to FCA.

                                      COUNT 175

                               BREACH OF CONTRACT
                              (BASED ON ALASKA LAW)

        2225. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2226. This claim is brought on behalf of the Alaska Subclass.

        2227. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2228. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by


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  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2229. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 176

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON ALASKA LAW)

        2230. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2231. This claim is brought on behalf of the Alaska Subclass.

        2232. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2233. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2234. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective




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  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2235. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2236. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2237. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.



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                                      COUNT 177

                           FRAUDULENT CONCEALMENT
                             (BASED ON ALASKA LAW)

        2238. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2239. This claim is brought by on behalf of the Alaska Subclass.

        2240. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2241. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2242. FCA knew these representations were false when made.

        2243. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           2244. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2245. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2246. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2247. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           2248. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excessive vehicle



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  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2249. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excess emissions, and whether the

  manufacturer tells the truth, are material concerns to a consumer. FCA represented

  to Plaintiffs and Class members that they were purchasing or leasing safe and reliable



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  vehicles, when in fact the Defective Vehicles pose safety hazards and contain

  defects.

        2250. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2251. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2252. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2253. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for



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  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2254. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2255. FCA’s    acts   were   done   wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 178

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON ALASKA LAW)

           2256. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           2257. This claim is brought on behalf of the Alaska Subclass.




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          2258. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2259. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2260. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 179

                               UNJUST ENRICHMENT
                             (BASED ON ALASKA LAW)

          2261. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2262. This claim is brought on behalf of the Alaska Subclass.

          2263. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          2264. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.




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        2265. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Arkansas Subclass

                                     COUNT 180

                       VIOLATION OF THE ARKANSAS
                     DECEPTIVE TRADE PRACTICES ACT
                      (ARK. CODE ANN. § 4-88-101 et seq.)

        2266. Arkansas Plaintiffs (“Plaintiffs” for purposes of all Arkansas Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2267. This claim is brought on behalf of the Arkansas Subclass.

        2268. FCA, Plaintiffs, and the Arkansas Subclass are “persons” within the

  meaning of the Arkansas Deceptive Trade Practices Act (“Arkansas DTPA”), ARK.

  CODE. ANN. § 4-88-102(5).

        2269. Each Defective Vehicle at issue constitutes “goods” within the meaning

  of ARK. CODE ANN. § 4-88-102(4).

        2270. The Arkansas DTPA prohibits “[d]eceptive and unconscionable trade

  practices,” which include but are not limited to “[e]ngaging in any . . .

  unconscionable false, or deceptive act or practice in business, commerce, or trade.”

  ARK. CODE. ANN. § 4-88-107(a)(10). The Arkansas DTPA also prohibits, in



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  connection with the sale or advertisement of any goods, “(1) the act, use, or

  employment by any person of any deception, fraud, or pretense; or (2) the

  concealment, suppression, or omission of any material fact with intent that other rely

  upon the concealment, suppression, or omission.” ARK CODE. ANN. § 4-88-108.

        2271. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or



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  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2272. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2273. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended



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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2274. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2275. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2276. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2277. FCA knew or should have known that its conduct violated this statute.

        2278. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2279. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2280. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2281. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2282. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2283. Plaintiffs seek monetary relief against FCA in an amount to be

  determined at trial. Plaintiffs and the Class also seek punitive damages because FCA



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  acted wantonly in causing Plaintiffs and Class members’ injuries, or with such a

  conscious indifference to the consequences that malice may be inferred.

        2284. Plaintiffs and the Class also seek an order enjoining FCA’s unfair,

  unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

  relief available under the Arkansas DTPA.

                                      COUNT 181

                              BREACH OF CONTRACT
                            (BASED ON ARKANSAS LAW)

        2285. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2286. This claim is brought on behalf o the Arkansas Subclass.

        2287. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.


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        2288. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2289. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 182

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON ARKANSAS LAW)

        2290. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2291. This claim is brought on behalf of the Arkansas Subclass.

        2292. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2293. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        2294. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2295. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2296. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2297. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 183

                           FRAUDULENT CONCEALMENT
                            (BASED ON ARKANSAS LAW)

        2298. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2299. This claim is brought on behalf of the Arkansas Subclass.

        2300. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2301. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2302. FCA knew these representations were false when made.




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           2303. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2304. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2305. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2306. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2307. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        2308. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles,           excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2309. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excess harmful emissions, and whether the

  manufacturer tells the truth, are material concerns to a consumer. FCA represented

  to Plaintiffs and Class members that they were purchasing or leasing safe and reliable

  vehicles, when in fact the Defective Vehicles pose safety hazards and contain

  defects.

        2310. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2311. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2312. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2313. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2314. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2315. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 184

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON ARKANSAS LAW)


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          2316. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2317. This claim is brought on behalf of the Arkansas Subclass.

          2318. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2319. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2320. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 185

                              UNJUST ENRICHMENT
                           (BASED ON ARKANSAS LAW)

          2321. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2322. This claim is brought on behalf of the Arkansas Subclass.

          2323. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        2324. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2325. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Colorado Subclass

                                      COUNT 186

      VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT
                  (COLO. REV. STAT. § 6-1-101 et seq.)

        2326. Colorado Plaintiffs (“Plaintiffs” for purposes of all Colorado Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2327. This claim is brought on behalf of the Colorado Subclass.

        2328. The Colorado Consumer Protection Act (“Colorado CPA”) prohibits

  deceptive practices in the course of a person’s business, including but not limited to

  “fail[ing] to disclose material information concerning goods, services, or property

  which information was known at the time of an advertisement or sale if such failure

  to disclose such information was intended to induce the consumer to enter into a

  transaction.” COLO. REV. STAT. § 6-1-105.

        2329. FCA is a “person” under COLO. REV. STAT. § 6-1-102(6).


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        2330. Colorado Plaintiffs and the Colorado Subclass members are

  “consumers” for purposes of COLO. REV. STAT § 6-1-113(1)(a).

        2331. FCA’s conduct, as set forth above, occurred in the conduct of trade or

  commerce.

        2332. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or



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  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2333. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2334. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended



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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2335. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2336. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2337. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2338. FCA knew or should have known that its conduct violated this statute.

        2339. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2340. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2341. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2342. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2343. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2344. Pursuant to COLO. REV. STAT. § 6-1-113, Plaintiffs seek monetary relief

  against FCA measured as the greater of (a) actual damages in an amount to be



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  determined at trial and discretionary trebling of such damages, or (b) statutory

  damages in the amount of $500 for each Plaintiff and Class member.

        2345. Plaintiffs also seek punitive damages because FCA engaged in

  aggravated and outrageous conduct.

        2346. Plaintiffs also seek an order enjoining FCA’s unfair, unlawful, or

  deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper

  remedy under the Colorado CPA.

                                      COUNT 187

                              BREACH OF CONTRACT
                            (BASED ON COLORADO LAW)

        2347. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2348. This claim is brought on behalf of the Colorado Subclass.

        2349. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess


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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2350. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2351. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 188

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON COLORADO LAW)

        2352. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2353. This claim is brought on behalf of the Colorado Subclass.

        2354. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        2355. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2356. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2357. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2358. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2359. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 189

                           FRAUDULENT CONCEALMENT
                            (BASED ON COLORADO LAW)

        2360. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2361. This claim is brought on behalf of the Colorado Subclass.

        2362. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2363. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           2364. FCA knew these representations were false when made.

           2365. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2366. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2367. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2368. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2369. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        2370. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2371. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2372. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2373. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2374. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2375. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2376. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2377. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 190

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON COLORADO LAW)


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          2378. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          2379. This claim is brought on behalf of the Colorado Subclass.

          2380. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2381. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2382. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 191

                              UNJUST ENRICHMENT
                           (BASED ON COLORADO LAW)

          2383. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2384. This claim is brought on behalf of the Colorado Subclass.

          2385. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        2386. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2387. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Connecticut Subclass

                                      COUNT 192

                      VIOLATION OF THE CONNECTICUT
                       UNFAIR TRADE PRACTICES ACT
                      (CONN. GEN. STAT. § 42-110A et seq.)

        2388. Connecticut Plaintiffs (“Plaintiffs” for purposes of all Connecticut

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        2389. This claim is brought on behalf of the Connecticut Subclass.

        2390. Connecticut Plaintiffs, Connecticut Subclass members, and FCA are

  each a “person” within the meaning of CONN. GEN. STAT. § 42-110a(3).

        2391. FCA’s challenged conduct occurred in “trade” or “commerce” within

  the meaning of CONN. GEN. STAT. § 42-110a(4).

        2392. The Connecticut Unfair Trade Practices Act (Connecticut UTPA)

  provides: “No person shall engage in unfair methods of competition and unfair or



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  deceptive acts or practices in the conduct of any trade or commerce.” CONN. GEN.

  STAT. § 42-110b(a).

        2393. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any



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  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2394. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2395. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.



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        2396. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2397. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2398. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2399. FCA knew or should have known that its conduct violated this statute.

        2400. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2401. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,



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  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

          2402. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

          2403. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

          2404. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

          2405. Plaintiffs and Class members are entitled to recover their actual

  damages, punitive damages, and attorneys’ fees pursuant to CONN. GEN. STAT. § 42-

  110g.




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        2406. FCA acted with reckless indifference to another’s rights, or wanton or

  intentional violation of another’s rights, and otherwise engaged in conduct

  amounting to a particularly aggravated, deliberate disregard for the rights of others.

  Therefore, punitive damages are warranted.

        2407. Plaintiffs and the Class also seek an order enjoining FCA’s unfair,

  unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

  relief available under the Connecticut UTPA.

                                      COUNT 193

                             BREACH OF CONTRACT
                         (BASED ON CONNECTICUT LAW)

        2408. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2409. This claim is brought on behalf of the Connecticut Subclass.

        2410. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess


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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2411. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2412. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 194

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON CONNECTICUT LAW)

        2413. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2414. This claim is brought on behalf of the Connecticut Subclass.

        2415. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        2416. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2417. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2418. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2419. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2420. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 195

                          FRAUDULENT CONCEALMENT
                         (BASED ON CONNECTICUT LAW)

        2421. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2422. This claim is brought on behalf of the Connecticut Subclass.

        2423. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2424. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           2425. FCA knew these representations were false when made.

           2426. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2427. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2428. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2429. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2430. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        2431. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2432. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2433. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2434. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2435. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2436. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2437. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2438. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 196

                         NEGLIGENT MISREPRESENTATION
                          (BASED ON CONNECTICUT LAW)


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          2439. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2440. This claim is brought on behalf of the Connecticut Subclass.

          2441. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2442. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2443. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 197

                             UNJUST ENRICHMENT
                         (BASED ON CONNECTICUT LAW)

          2444. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2445. This claim is brought on behalf of the Connecticut Subclass.

          2446. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        2447. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2448. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Delaware Subclass

                                      COUNT 198

          VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                     (DEL. CODE TIT. 6, § 2513 et seq.)

        2449. Delaware Plaintiffs (“Plaintiffs” for purposes of all Delaware Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2450. This claim is brought on behalf of the Delaware Subclass.

        2451. FCA is a “person” within the meaning of DEL. CODE TIT. 6, § 2511(7).

        2452. FCA’s actions, as set forth above, occurred in the conduct of trade or

  commerce.

        2453. The Delaware Consumer Fraud Act (Delaware CFA) prohibits the “act,

  use, or employment by any person of any deception, fraud, false pretense, false

  promise, misrepresentation, or the concealment, suppression, or omission of any

  material fact with intent that others rely upon such concealment, suppression, or


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  omission, in connection with the sale, lease or advertisement of any merchandise,

  whether or nor any person has in fact been misled, deceived, or damaged thereby.”

  DEL. CODE TIT. 6, § 2513(a).

        2454. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,



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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2455. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2456. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended




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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2457. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2458. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2459. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2460. FCA knew or should have known that its conduct violated this statute.

        2461. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2462. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2463. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2464. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2465. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2466. Plaintiffs seek damages under the Delaware CFA for injury resulting

  from the direct and natural consequences of FCA’s unlawful conduct. See, e.g.,



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  Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1980). Plaintiffs also

  seek an order enjoining FCA’s unfair, unlawful, and/or deceptive practices,

  declaratory relief, attorneys’ fees, and any other just and proper relief available under

  the Delaware CFA.

        2467. FCA engaged in gross, oppressive, or aggravated conduct justifying the

  imposition of punitive damages.

                                       COUNT 199

                              BREACH OF CONTRACT
                            (BASED ON DELAWARE LAW)

        2468. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2469. This claim is brought on behalf of the Delaware Subclass.

        2470. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess




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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2471. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2472. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 200

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON DELAWARE LAW)

        2473. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2474. This claim is brought on behalf of the Delaware Subclass.

        2475. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        2476. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2477. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2478. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2479. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2480. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 201

                           FRAUDULENT CONCEALMENT
                            (BASED ON DELAWARE LAW)

        2481. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2482. This claim is brought on behalf of the Delaware Subclass.

        2483. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2484. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           2485. FCA knew these representations were false when made.

           2486. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2487. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2488. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2489. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2490. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        2491. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2492. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2493. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2494. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2495. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2496. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2497. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2498. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 202

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON DELAWARE LAW)


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          2499. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2500. This claim is brought on behalf of the Delaware Subclass.

          2501. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2502. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2503. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 203

                              UNJUST ENRICHMENT
                           (BASED ON DELAWARE LAW)

          2504. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2505. This claim is brought on behalf of the Delaware Subclass.

          2506. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        2507. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2508. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Georgia Subclass

                                      COUNT 204

     VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                  (GA. CODE ANN. § 10-1-390 et seq.)

        2509. Georgia Plaintiffs (“Plaintiffs” for purposes of all Georgia Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2510. This claim is brought on behalf of the Georgia Subclass.

        2511. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares

  “[u]nfair or deceptive acts or practices in the conduct of consumer transactions and

  consumer acts or practices in trade or commerce” to be unlawful, GA. CODE ANN.

  § 101-393(b), including but not limited to “representing that goods or services have

  sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that

  they do not have”; “[r]epresenting that goods or services are of a particular standard,

  quality, or grade . . . if they are of another”; and “[a]dvertising goods or services


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  with intent not to sell them as advertised and certified.” GA. CODE ANN. § 10-1-

  393(b).

        2512. Georgia Plaintiffs and Georgia Class members are “consumers” within

  the meaning of GA. CODE ANN. § 10-1-393(b).

        2513. FCA engaged in “trade or commerce” within the meaning of GA. CODE

  ANN. § 10-1-393(b).

        2514. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and



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  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2515. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2516. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to



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  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2517. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2518. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2519. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2520. FCA knew or should have known that its conduct violated this statute.

        2521. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.




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        2522. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2523. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2524. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2525. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.



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        2526. Plaintiffs and Class members are entitled to seek damages and

  exemplary damages (for intentional violations) per GA. CODE ANN. § 10-1-399(a).

        2527. Plaintiffs and Class members will also seek an order enjoining FCA’s

  unfair, unlawful, and/or deceptive practices, attorneys’ fees, and any other just and

  proper relief available under the Georgia FBPA per GA. CODE ANN. § 10-1-399.

        2528. Plaintiffs also seek punitive damages because FCA engaged in

  aggravated and outrageous conduct.

        2529. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with GA. CODE ANN. § 10-1-399(b) to FCA. Because FCA failed to

  remedy its unlawful conduct within the requisite time period, Plaintiffs seek all

  damages and relief to which Plaintiffs and the Class are entitled.

                                      COUNT 205

      VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE
                         PRACTICES ACT
                  (GA. CODE ANN § 10-1-370 et seq.)

        2530. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

        2531. This claim is brought on behalf of the Georgia Subclass.

        2532. Georgia’s Uniform Deceptive Trade Practices Act (“Georgia UDTPA”)

  prohibits “deceptive trade practices,” which include “representing that goods or

  services have sponsorship, approval, characteristics, ingredients, uses, benefits, or



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  quantities that they do not have”; “[r]epresenting that goods or services are of a

  particular standard, quality, or grade . . . if they are of another”; and “[a]dvertising

  goods or services with intent not to sell them as advertised and certified.” GA. CODE

  ANN. § 10-1-393(b).

        2533. FCA, Georgia Plaintiffs, and Georgia Subclass members are “persons”

  within the meaning of GA. CODE ANN. § 10-1-371(5).

        2534. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and



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  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2535. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2536. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to



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  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2537. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2538. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2539. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2540. FCA knew or should have known that its conduct violated this statute.

        2541. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.




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        2542. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2543. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2544. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2545. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.



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        2546. Plaintiffs seek an order enjoining FCA’s unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available

  under GA. CODE ANN. § 10-1-373.

                                      COUNT 206

                             BREACH OF CONTRACT
                           (BASED ON GEORGIA LAW)

        2547. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2548. This claim is brought on behalf of the Georgia Subclass.

        2549. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2550. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by


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  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2551. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 207

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON GEORGIA LAW)

        2552. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2553. This claim is brought on behalf of the Georgia Subclass.

        2554. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2555. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2556. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective


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  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2557. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2558. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2559. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.



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                                      COUNT 208

                         FRAUDULENT CONCEALMENT
                          (BASED ON GEORGIA LAW)

        2560. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2561. This claim is brought on behalf of the Georgia Subclass.

        2562. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2563. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2564. FCA knew these representations were false when made.

        2565. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           2566. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2567. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2568. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2569. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           2570. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle



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  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2571. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing



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  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2572. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2573. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2574. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2575. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for



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  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2576. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2577. FCA’s    acts   were   done   wantonly, maliciously,       oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 209

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON GEORGIA LAW)

           2578. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           2579. This claim is brought on behalf of the Georgia Subclass.




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          2580. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2581. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2582. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 210

                              UNJUST ENRICHMENT
                            (BASED ON GEORGIA LAW)

          2583. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2584. This claim is brought on behalf of the Georgia Subclass.

          2585. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          2586. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.




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        2587. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Hawaii Subclass

                                     COUNT 211

                   VIOLATION OF THE HAWAII ACT § 480-2(A)
                        (HAW. REV. STAT. § 480 et seq.)

        2588. Hawaii Plaintiffs (“Plaintiffs” for purposes of all Hawaii Subclass

  claims) hereby incorporates by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2589. This claim is brought on behalf of the Hawaii Subclass.

        2590. HAWAII REV. STAT. § 480-2(a) prohibits “unfair methods of

  competition and unfair or deceptive acts or practices in the conduct of any trade or

  commerce.”

        2591. FCA is a “person” under HAW. REV. STAT. § 480-1.

        2592. Hawaii Plaintiff and Hawaii Class members are “consumer[s]” as

  defined by HAW. REV. STAT. § 480-1, who purchased or leased the Defective

  Vehicles at issue.

        2593. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between


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  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2594. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they



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  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2595. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2596. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2597. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.




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        2598. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2599. FCA knew or should have known that its conduct violated this statute.

        2600. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2601. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their




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  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2602. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2603. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2604. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2605. Pursuant to HAW. REV. STAT. § 480-13, Plaintiffs and Class members

  seek monetary relief against FCA measured as the greater of (a) $1,000 and (b)

  threefold actual damages in an amount to be determined at trial.

        2606. Under HAW. REV. STAT. § 480-13.5, Plaintiffs and Class members seek

  an additional award against FCA of up to $10,000 for each violation directed at a

  Hawaii elder. FCA knew or should have known that its conduct was directed to one

  or more Plaintiffs who are elders. FCA’s conduct caused one or more of these elders



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  to suffer a substantial loss of property set aside for retirement or for personal or

  family care and maintenance, or assets essential to the health or welfare of the elder.

  Plaintiffs who are elders are substantially more vulnerable to FCA’s conduct because

  of age, poor health or infirmity, impaired understanding, restricted mobility, or

  disability, and each of them suffered a substantial physical, emotional, or economic

  damage resulting from FCA’s conduct.

        2607. Plaintiffs also seek punitive damages because FCA engaged in

  aggravated and outrageous conduct.

                                      COUNT 212

                               BREACH OF CONTRACT
                              (BASED ON HAWAII LAW)

        2608. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        2609. This claim is brought on behalf of the Hawaii Subclass.

        2610. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less


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  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2611. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2612. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 213

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON HAWAII LAW)

        2613. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2614. This claim is brought on behalf of the Hawaii Subclass.

        2615. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.


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        2616. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2617. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2618. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2619. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2620. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 214

                           FRAUDULENT CONCEALMENT
                             (BASED ON HAWAII LAW)

        2621. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        2622. This claim is brought on behalf of the Hawaii Subclass.

        2623. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2624. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           2625. FCA knew these representations were false when made.

           2626. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2627. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2628. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2629. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2630. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        2631. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle

  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2632. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and



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  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2633. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2634. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2635. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material



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  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2636. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2637. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2638. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 215

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON HAWAII LAW)


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          2639. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          2640. This claim is brought on behalf of the Hawaii Subclass.

          2641. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2642. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2643. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 216

                               UNJUST ENRICHMENT
                             (BASED ON HAWAII LAW)

          2644. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          2645. This claim is brought on behalf of the Hawaii Subclass.

          2646. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.



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        2647. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2648. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Indiana Subclass

                                      COUNT 217

                         VIOLATION OF THE INDIANA
                       DECEPTIVE CONSUMER SALES ACT
                            (IND. CODE § 24-5-0.5-3)

        2649. Indiana Plaintiffs (“Plaintiffs” for purposes of all Indiana Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2650. This claim is brought on behalf of the Indiana Subclass.

        2651. FCA is a “person” within the meaning of IND. CODE § 25-5-0.5-2(a)(2)

  and a “supplier” within the meaning of IND. CODE § 24-5-0.5-2(a)(3).

        2652. Plaintiffs’ vehicle purchases are “consumer transactions” within the

  meaning of IND. CODE § 24-5-0.5-2(a)(3).

        2653. Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a

  person from engaging in a “deceptive business practice[s]” or acts, including but not



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  limited to “(1) That such subject of a consumer transaction has sponsorship,

  approval, performance, characteristics, accessories, uses, or benefits that they do not

  have, or that a person has a sponsorship, approval, status, affiliation, or connection

  it does not have; (2) That such subject of a consumer transaction is of a particular

  standard, quality, grade, style or model, if it is not and if the supplier knows or should

  reasonably know that it is not; . . . (7) That the supplier has a sponsorship, approval

  or affiliation in such consumer transaction that the supplier does not have, and which

  the supplier knows or should reasonably know that the supplier does not have; . . .

  (b) Any representations on or within a product or its packaging or in advertising or

  promotional materials which would constitute a deceptive act shall be the deceptive

  act both of the supplier who places such a representation thereon or therein, or who

  authored such materials, and such suppliers who shall state orally or in writing that

  such representation is true if such other supplier shall know or have reason to know

  that such representation was false.”

        2654. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil



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  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2655. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels



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  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2656. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2657. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2658. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2659. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2660. FCA knew or should have known that its conduct violated this statute.




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        2661. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        2662. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2663. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of



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  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2664. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2665. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2666. Pursuant to IND. CODE § 24-5-0.5-4, Plaintiffs seek monetary relief

  against FCA measured as the greater of (a) actual damages in an amount to be

  determined at trial and (b) statutory damages in the amount of $500 for each plaintiff,

  including treble damages up to $1,000 for FCA’s willfully deceptive acts.

        2667. Plaintiffs seek punitive damages based on the outrageousness and

  recklessness of FCA’s conduct.

        2668. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with IND. CODE § 24-5-0.5-5(a) to FCA.




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                                      COUNT 218

                              BREACH OF CONTRACT
                             (BASED ON INDIANA LAW)

        2669. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2670. This claim is brought on behalf of the Indiana Subclass.

        2671. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2672. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects




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  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2673. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                     COUNT 219

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON INDIANA LAW)

        2674. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2675. This claim is brought on behalf of the Indiana Subclass.

        2676. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2677. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2678. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.


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        2679. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2680. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2681. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.




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                                      COUNT 220

                           FRAUDULENT CONCEALMENT
                             (BASED ON INDIANA LAW)

        2682. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2683. This claim is brought on behalf of the Indiana Subclass.

        2684. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2685. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2686. FCA knew these representations were false when made.

        2687. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           2688. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2689. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2690. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2691. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           2692. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, excess vehicle



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  emissions, and also because the representations played a significant role in the value

  of the vehicles. As FCA well knew, its customers, including Plaintiffs and the Class

  members, highly valued that the Defective Vehicles’ safety and reliability.

        2693. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing



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  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2694. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2695. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2696. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2697. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for



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  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2698. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2699. FCA’s    acts   were   done   wantonly, maliciously,       oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 221

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON INDIANA LAW)

           2700. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           2701. This claim is brought on behalf of the Indiana Subclass.




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          2702. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2703. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2704. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 222

                               UNJUST ENRICHMENT
                             (BASED ON INDIANA LAW)

          2705. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2706. This claim is brought on behalf of the Indiana Subclass.

          2707. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          2708. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.




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        2709. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Iowa Subclass

                                       COUNT 223

                   VIOLATION OF THE IOWA PRIVATE RIGHT
                   OF ACTION FOR CONSUMER FRAUDS ACT
                         (IOWA CODE § 714h.1 et seq.)

        2710. Iowa Plaintiffs (“Plaintiffs” for purposes of all Iowa Subclass claims)

  hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2711. This claim is brought on behalf of the Iowa Subclass.

        2712. FCA is a “person” under IOWA CODE § 714H.2(7).

        2713. Iowa Plaintiffs and Iowa Class members are “consumers” as defined by

  IOWA CODE § 714H.2(3) who purchased or leased one or more Defective Vehicles.

        2714. The Iowa Private Right of Action for Consumer Frauds Act (Iowa CFA)

  prohibits any “practice or act the person knows or reasonably should know is an

  unfair practice, deception, fraud, false pretense, or false promise, or the

  misrepresentation, concealment, suppression, or omission of a material fact, with the

  intent that others rely upon the unfair practice, deception, fraud, false pretense, false

  promise, misrepresentation, concealment, suppression or omission in connection



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  with the advertisement, sale, or lease of consumer merchandise.” IOWA CODE

  § 714H.3.

        2715. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any



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  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2716. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2717. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.



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        2718. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2719. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2720. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2721. FCA knew or should have known that its conduct violated this statute.

        2722. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2723. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,



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  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2724. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2725. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2726. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2727. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek an order enjoining

  FCA’s unfair and/or deceptive acts or practices, actual damages, statutory damages

  up to three times the amount of actual damages awarded as a result of FCA’s willful

  and wanton disregard for the rights of others, attorneys’ fees, and other such



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  equitable relief as the court deems necessary to protect the public from further

  violations of the Iowa CFA.

        2728. Plaintiffs seek punitive damages based on the outrageousness and

  recklessness of FCA’s conduct.

                                      COUNT 224

                                BREACH OF CONTRACT
                                (BASED ON IOWA LAW)

        2729. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2730. This claim is brought on behalf of the Iowa Subclass.

        2731. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.




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        2732. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2733. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 225

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      (BASED ON IOWA LAW)

        2734. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2735. This claim is brought on behalf of the Iowa Subclass.

        2736. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2737. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        2738. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2739. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2740. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2741. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 226

                           FRAUDULENT CONCEALMENT
                              (BASED ON IOWA LAW)

        2742. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2743. This claim is brought on behalf of the Iowa Subclass.

        2744. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2745. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2746. FCA knew these representations were false when made.




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           2747. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2748. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2749. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2750. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2751. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

        2752. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, compliance with

  applicable federal and state regulations regarding excess vehicle emissions, and also

  because the representations played a significant role in the value of the vehicles. As

  FCA well knew, its customers, including Plaintiffs and the Class members, highly

  valued that the Defective Vehicles’ safety and reliability.

        2753. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2754. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2755. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2756. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2757. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2758. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2759. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 227

                       NEGLIGENT MISREPRESENTATION
                           (BASED ON IOWA LAW)

          2760. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2761. This claim is brought on behalf of the Iowa Subclass.

          2762. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2763. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2764. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 228

                               UNJUST ENRICHMENT
                              (BASED ON IOWA LAW)

          2765. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2766. This claim is brought on behalf of the Iowa Subclass.




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        2767. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2768. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2769. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Kentucky Subclass

                                      COUNT 229

     VIOLATIONS OF THE KENTUCKY CONSUMER PROTECTION ACT
                 (KY. REV. STAT. § 367.110 ET SEQ.).

        2770. Kentucky Plaintiffs (“Plaintiffs” for purposes of all Kentucky Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2771. This claim is brought on behalf of the Kentucky Subclass.

        2772. FCA and Kentucky Class members are “persons” within the meaning

  of the KY. REV. STAT. § 367.110(1).

        2773. FCA engaged in “trade” or “commerce” within the meaning of KY.

  REV. STAT. § 367.110(2).


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        2774. The Kentucky Consumer Protection Act (“Kentucky CPA”) makes

  unlawful “[u]nfair, false, misleading, or deceptive acts or practices in the conduct of

  any trade or commerce ….” KY. REV. STAT. § 367.170(1).

        2775. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,



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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2776. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2777. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended




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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2778. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2779. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2780. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2781. FCA knew or should have known that its conduct violated this statute.

        2782. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2783. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2784. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2785. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2786. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2787. Pursuant to KY. REV. STAT. ANN. § 367.220, Plaintiffs and the Class

  seek to recover actual damages in an amount to be determined at trial; declaratory



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  relief; attorneys’ fees; and any other just and proper relief available under KY. REV.

  STAT. ANN. § 367.220.

        2788. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.

                                      COUNT 230

                              BREACH OF CONTRACT
                            (BASED ON KENTUCKY LAW)

        2789. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2790. This claim is brought on behalf of the Kentucky Subclass.

        2791. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.




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        2792. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2793. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 231

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON KENTUCKY LAW)

        2794. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2795. This claim is brought on behalf of the Kentucky Subclass.

        2796. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2797. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        2798. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2799. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2800. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2801. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 232

                           FRAUDULENT CONCEALMENT
                            (BASED ON KENTUCKY LAW)

        2802. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2803. This claim is brought on behalf of the Kentucky Subclass.

        2804. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2805. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2806. FCA knew these representations were false when made.




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           2807. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2808. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2809. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2810. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2811. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         2812. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         2813. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2814. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2815. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2816. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2817. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2818. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2819. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 233

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON KENTUCKY LAW)

          2820. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2821. This claim is brought on behalf of the Kentucky Subclass.

          2822. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2823. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2824. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 234

                              UNJUST ENRICHMENT
                           (BASED ON KENTUCKY LAW)

          2825. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2826. This claim is brought on behalf of the Kentucky Subclass.




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        2827. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2828. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2829. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Maine Subclass

                                      COUNT 235

        VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
               (ME. REV. STAT. ANN. TIT. 5, § 205-A et seq.)

        2830. Maine Plaintiffs (“Plaintiffs” for purposes of all Maine Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2831. This claim is brought on behalf of the Maine Subclass.

        2832. FCA, Plaintiffs, and Maine Class members are “persons” within the

  meaning of ME. REV. STAT. ANN. TIT. § 5, 206(2).

        2833. FCA is engaged in “trade” or “commerce” within the meaning of ME.

  REV. STAT. ANN. TIT. § 5, 206(3).


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        2834. The Maine Unfair Trade Practices Act (Maine UTPA) makes unlawful

  “[u]nfair methods of competition and unfair or deceptive acts or practices in the

  conduct of any trade or commerce.” ME. REV. STAT. ANN. TIT. 5, § 207.

        2835. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,



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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2836. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2837. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended




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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2838. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2839. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2840. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2841. FCA knew or should have known that its conduct violated this statute.

        2842. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        2843. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2844. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2845. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2846. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2847. Plaintiffs seek monetary relief against FCA in an amount to be

  determined at trial. Plaintiffs and the Class also seek punitive damages because FCA



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  acted wantonly in causing Plaintiffs and Class members’ injuries, or with such a

  conscious indifference to the consequences that malice may be inferred.

        2848. Pursuant to ME. REV. STAT. ANN. TIT. 5, § 213, Plaintiffs seek an order

  enjoining FCA’s unfair and/or deceptive acts or practices.

        2849. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.

        2850. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with ME. REV. STAT. ANN.        TIT.   5, § 213(1-A) to FCA. Because FCA

  failed to remedy its unlawful conduct within the requisite time period, Plaintiffs seek

  all damages and relief to which they and the Class are entitled.

                                      COUNT 236

                               BREACH OF CONTRACT
                               (BASED ON MAINE LAW)

        2851. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2852. This claim is brought on behalf of the Maine Subclass.

        2853. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2854. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2855. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 237

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (BASED ON MAINE LAW)

        2856. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2857. This claim is brought on behalf of the Maine Subclass.


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        2858. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2859. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2860. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2861. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2862. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2863. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 238

                           FRAUDULENT CONCEALMENT
                             (BASED ON MAINE LAW)

        2864. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2865. This claim is brought on behalf of the Maine Subclass.

        2866. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2867. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           2868. FCA knew these representations were false when made.

           2869. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2870. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2871. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2872. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         2873. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         2874. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         2875. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2876. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2877. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2878. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2879. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        2880. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        2881. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 239

                        NEGLIGENT MISREPRESENTATION
                            (BASED ON MAINE LAW)

           2882. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           2883. This claim is brought on behalf of the Maine Subclass.

           2884. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           2885. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           2886. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 240

                                UNJUST ENRICHMENT
                               (BASED ON MAINE LAW)

           2887. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.



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        2888. This claim is brought on behalf of the Maine Subclass.

        2889. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2890. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2891. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the Mississippi Subclass

                                      COUNT 241

      VIOLATION OF THE MISSISSIPPI CONSUMER PROTECTION ACT
                 (MISS. CODE. ANN. § 75-24-1 ET SEQ.)

        2892. Mississippi Plaintiffs (“Plaintiffs” for purposes of all Mississippi

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        2893. This claim is brought on behalf of the Mississippi Subclass.

        2894. The Mississippi Consumer Protection Act (Mississippi CPA) prohibits

  “unfair or deceptive trade practices in or affecting commerce.” MISS. CODE ANN.

  § 75-24-5(1). Unfair or deceptive practices include but are not limited to


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  “(e) Representing that goods or services have sponsorship, approval, characteristics,

  ingredients, uses, benefits, or quantities that they do not have or that a person has a

  sponsorship, approval, status, affiliation, or connection that he does not have”; “(g)

  Representing that goods or services are of a particular standard, quality, or grade, or

  that goods are of a particular style or model, if they are of another”; and “(i)

  Advertising goods or services with intent not to sell them as advertised and

  certified.” MISS. CODE ANN. § 75-24-5(2).

        2895. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive



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  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2896. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        2897. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s



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  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2898. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2899. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2900. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2901. FCA knew or should have known that its conduct violated this statute.

        2902. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


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        2903. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2904. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        2905. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.




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        2906. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2907. Plaintiffs seek actual damages in an amount to be determined at trial

  and any other just and proper relief available under the Mississippi CPA.

        2908. Plaintiffs seek punitive damages based on the outrageousness and

  recklessness of FCA’s conduct.

        2909. Plaintiffs have provided FCA with pre-suit notice.

                                      COUNT 242

                              BREACH OF CONTRACT
                           (BASED ON MISSISSIPPI LAW)

        2910. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2911. This claim is brought on behalf of the Mississippi Subclass.

        2912. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less


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  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2913. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2914. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 243

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON MISSISSIPPI LAW)

        2915. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2916. This claim is brought on behalf of the Mississippi Subclass.

        2917. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.


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        2918. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2919. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2920. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2921. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2922. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 244

                           FRAUDULENT CONCEALMENT
                            (BASED ON MISSISSIPPI LAW)

        2923. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2924. This claim is brought on behalf of the Mississippi Subclass.

        2925. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2926. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           2927. FCA knew these representations were false when made.

           2928. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           2929. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           2930. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           2931. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2932. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         2933. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         2934. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2935. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        2936. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2937. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           2938. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           2939. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           2940. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 245

                       NEGLIGENT MISREPRESENTATION
                         (BASED ON MISSISSIPPI LAW)

          2941. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2942. This claim is brought on behalf of the Mississippi Subclass.

          2943. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          2944. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          2945. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 246

                              UNJUST ENRICHMENT
                           (BASED ON MISSISSIPPI LAW)

          2946. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          2947. This claim is brought on behalf of the Mississippi Subclass.




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        2948. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        2949. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        2950. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the Montana Subclass

                                      COUNT 247

         VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION ACT OF 1973
                  (MONT. CODE ANN. § 30-14-101 et seq.)

        2951. Montana Plaintiffs (“Plaintiffs” for purposes of all Montana Subclass

  claims) hereby incorporates by reference the allegations contained in the preceding

  paragraphs of this complaint.

        2952. This claim is brought on behalf of the Montana Subclass.

        2953. The Montana Unfair Trade Practices and Consumer Protection Act

  (“Montana CPA”) makes unlawful any “unfair methods of competition and unfair




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  or deceptive acts or practices in the conduct of any trade or commerce.” MONT. CODE

  ANN. § 30-14-103.

        2954. FCA, Plaintiffs, and Class members are “persons” within the meaning

  of MONT. CODE ANN. § 30-14-102(6).

        2955. Plaintiffs and Class members are “consumer[s]” under MONT. CODE

  ANN. § 30-14-102(1).

        2956. The sale or lease of each Defective Vehicle at issue occurred within

  “trade and commerce” within the meaning of MONT. CODE ANN. § 30-14-102(8),

  and FCA committed deceptive and unfair acts in the conduct of “trade and

  commerce” as defined in that statutory section.

        2957. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign



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  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        2958. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.




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        2959. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        2960. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        2961. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        2962. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        2963. FCA knew or should have known that its conduct violated this statute.

        2964. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;


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        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        2965. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        2966. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.




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        2967. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        2968. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        2969. Plaintiffs and the Class seek monetary relief against FCA in an amount

  to be determined at trial. Plaintiffs and the Class also seek punitive damages because

  FCA acted wantonly in causing Plaintiffs and Class members’ injuries, or with such

  a conscious indifference to the consequences that malice may be inferred.

        2970. Plaintiffs and the Class additionally seek an order enjoining FCA’s

  unfair, unlawful, and/or deceptive practices, and any other relief the Court considers

  necessary or proper, under MONT. CODE ANN. § 30-14-133.

                                      COUNT 248

                              BREACH OF CONTRACT
                            (BASED ON MONTANA LAW)

        2971. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        2972. This claim is brought on behalf of the Montana Subclass.

        2973. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil


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  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        2974. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        2975. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 249

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON MONTANA LAW)


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        2976. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        2977. This claim is brought on behalf of the Montana Subclass.

        2978. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        2979. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        2980. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        2981. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        2982. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and




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  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        2983. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 250

                          FRAUDULENT CONCEALMENT
                           (BASED ON MONTANA LAW)

        2984. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        2985. This claim is brought on behalf of the Montana Subclass.

        2986. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied




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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        2987. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        2988. FCA knew these representations were false when made.

        2989. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        2990. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        2991. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           2992. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           2993. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           2994. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           2995. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty



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  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        2996. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        2997. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        2998. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        2999. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        3000. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3001. FCA’s    acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 251

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON MONTANA LAW)

           3002. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

           3003. This claim is brought on behalf of the Montana Subclass.

           3004. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           3005. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        3006. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 252

                              UNJUST ENRICHMENT
                           (BASED ON MONTANA LAW)

        3007. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

        3008. This claim is brought on behalf of the Montana Subclass.

        3009. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3010. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3011. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims Brought on Behalf of the Nebraska Subclass

                                     COUNT 253

      VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                   (NEB. REV. STAT. § 59-1601 et seq.)

        3012. Nebraska Plaintiffs (“Plaintiffs” for purposes of all Nebraska Subclass

  claims) hereby incorporates by reference the allegations contained in the preceding

  paragraphs of this complaint.

        3013. This claim is brought on behalf of the Nebraska Subclass.

        3014. The Nebraska Consumer Protection Act (“Nebraska CPA”) prohibits

  “unfair or deceptive acts or practices in the conduct of any trade or commerce.” NEB.

  REV. STAT. § 59-1602.

        3015. FCA, Plaintiffs, and Class members are “person[s]” under NEB. REV.

  STAT. § 59-1601(1).

        3016. FCA’s actions as set forth herein occurred in the conduct of trade or

  commerce as defined under NEB. REV. STAT. § 59-1601(2).

        3017. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil


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  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3018. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels



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  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3019. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3020. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3021. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3022. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3023. FCA knew or should have known that its conduct violated this statute.




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        3024. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        3025. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3026. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of



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  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3027. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        3028. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3029. Because FCA’s conduct caused injury to Plaintiffs and the Class’

  property through violations of the Nebraska CPA, Plaintiffs and the Class seek

  recovery of actual damages as well as enhanced damages up to $1,000, an order

  enjoining FCA’s unfair or deceptive acts and practices, costs of Court, reasonable

  attorneys’ fees, and any other just and proper relief available under NEB. REV. STAT.

  § 59-1609.

        3030. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.




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                                      COUNT 254

                            BREACH OF CONTRACT
                          (BASED ON NEBRASKA LAW)

        3031. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        3032. This claim is brought on behalf of the Nebraska Subclass.

        3033. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3034. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects




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  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3035. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                     COUNT 255

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON NEBRASKA LAW)

        3036. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3037. This claim is brought on behalf of the Nebraska Subclass.

        3038. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3039. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3040. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.


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        3041. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3042. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3043. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.




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                                      COUNT 256

                         FRAUDULENT CONCEALMENT
                          (BASED ON NEBRASKA LAW)

        3044. Plaintiff realleges and incorporates by reference all paragraphs as

  though fully set forth herein.

        3045. This claim is brought on behalf of the Nebraska Subclass.

        3046. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3047. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3048. FCA knew these representations were false when made.

        3049. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           3050. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           3051. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3052. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3053. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           3054. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels



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  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         3055. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA



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  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3056. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3057. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3058. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.




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           3059. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           3060. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3061. FCA’s    acts   were   done    wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 257

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON NEBRASKA LAW)

           3062. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.


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          3063. This claim is brought on behalf of the Nebraska Subclass.

          3064. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          3065. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          3066. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 258

                              UNJUST ENRICHMENT
                           (BASED ON NEBRASKA LAW)

          3067. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          3068. This claim is brought on behalf of the Nebraska Subclass.

          3069. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          3070. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.


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        3071. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the New Hampshire Subclass

                                       COUNT 259

                       VIOLATION OF THE NEW HAMPSHIRE
                          CONSUMER PROTECTION ACT
                       (N.H. REV. STAT. ANN. § 358-A:1 et seq.)

        3072. New Hampshire Plaintiffs (“Plaintiffs” for purposes of all New

  Hampshire Subclass claims) hereby incorporate by reference the allegations

  contained in the preceding paragraphs of this complaint.

        3073. This claim is brought on behalf of the New Hampshire Subclass.

        3074. FCA, Plaintiffs, and Class members are “persons” under N.H. REV.

  STAT. ANN. § 358-A:1.

        3075. FCA’s actions as set forth herein occurred in the conduct of trade or

  commerce as defined under N.H. REV. STAT. ANN. § 358-A:1.

        3076. The New Hampshire Consumer Protection Act (New Hampshire CPA)

  prohibits a person, in the conduct of any trade or commerce, from “using any unfair

  or deceptive act or practice,” including “but . . . not limited to, the following: . . .

  [r]epresenting that goods or services have . . . characteristics, . . . uses, benefits, or

  quantities that they do not have”; “[r]epresenting that goods or services are of a



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  particular standard, quality, or grade, . . . if they are of another”; and “[a]dvertising

  goods or services with intent not to sell them as advertised and certified.” N.H. REV.

  STAT. § 358-A:2.

        3077. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,



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  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3078. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3079. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended




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  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3080. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3081. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3082. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3083. FCA knew or should have known that its conduct violated this statute.

        3084. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        3085. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not



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  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3086. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3087. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        3088. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3089. Because FCA’s willful conduct caused injury to Plaintiffs and Class

  members’ property through violations of the New Hampshire CPA, Plaintiffs and



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  the Class seek recovery of actual damages or $1,000, whichever is greater; treble

  damages; costs and reasonable attorneys’ fees; an order enjoining FCA’s unfair

  and/or deceptive acts and practices; and any other just and proper relief under N.H.

  REV. STAT. ANN. § 358-A:10.

        3090. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.

                                     COUNT 260

                            BREACH OF CONTRACT
                       (BASED ON NEW HAMPSHIRE LAW)

        3091. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3092. This claim is brought on behalf of the New Hampshire Subclass.

        3093. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess




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  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3094. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3095. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 261

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                 (BASED ON NEW HAMPSHIRE LAW)

        3096. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3097. This claim is brought on behalf of the New Hampshire Subclass.

        3098. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.




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        3099. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3100. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        3101. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3102. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3103. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and



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  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 262

                          FRAUDULENT CONCEALMENT
                        (BASED ON NEW HAMPSHIRE LAW)

        3104. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3105. This claim is brought on behalf of the New Hampshire Subclass.

        3106. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3107. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.


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           3108. FCA knew these representations were false when made.

           3109. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           3110. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           3111. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3112. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3113. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception



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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         3114. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         3115. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3116. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3117. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3118. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           3119. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           3120. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3121. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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                                      COUNT 263

                       NEGLIGENT MISREPRESENTATION
                       (BASED ON NEW HAMPSHIRE LAW)

          3122. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          3123. This claim is brought on behalf of the New Hampshire Subclass.

          3124. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          3125. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          3126. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 264

                            UNJUST ENRICHMENT
                       (BASED ON NEW HAMPSHIRE LAW)

          3127. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          3128. This claim is brought on behalf of the New Hampshire Subclass.




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        3129. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3130. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3131. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the New Mexico Subclass

                                      COUNT 265

                          VIOLATION OF THE NEW MEXICO
                           UNFAIR TRADE PRACTICES ACT
                           (N.M. STAT. ANN. § 57-12-1 et seq.)

        3132. New Mexico Plaintiffs (“Plaintiffs” for purposes of all New Mexico

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        3133. This claim is brought on behalf of the New Mexico Subclass.

        3134. FCA, Plaintiffs, and Class members are “person[s]” under N.M. STAT.

  ANN. § 57-12-2.




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        3135. FCA’s actions as set forth herein occurred in the conduct of trade or

  commerce as defined under N.M. STAT. ANN. § 57-12-2.

        3136. The New Mexico Unfair Trade Practices Act (New Mexico UTPA)

  makes unlawful “a false or misleading oral or written statement, visual description

  or other representation of any kind knowingly made in connection with the sale,

  lease, rental or loan of goods or services . . . by a person in the regular course of the

  person’s trade or commerce, that may, tends to or does deceive or mislead any

  person,” including but not limited to “failing to state a material fact if doing so

  deceives or tends to deceive.” N.M. STAT. ANN. § 57-12-2(D).

        3137. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American



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  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3138. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3139. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false



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  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3140. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3141. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3142. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3143. FCA knew or should have known that its conduct violated this statute.

        3144. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material


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               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        3145. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3146. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3147. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.



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        3148. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3149. Because FCA’s unconscionable, willful conduct caused actual harm to

  Plaintiffs and Class members, Plaintiffs and the Class seek recovery of actual

  damages or $100, whichever is greater; discretionary treble damages; punitive

  damages; and reasonable attorneys’ fees and costs, as well as all other proper and

  just relief available under N.M. STAT. ANN. § 57-12-10.

        3150. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.

                                      COUNT 266

                             BREACH OF CONTRACT
                          (BASED ON NEW MEXICO LAW)

        3151. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3152. This claim is brought on behalf of the New Mexico Subclass.

        3153. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased


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  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3154. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3155. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 267

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON NEW MEXICO LAW)

        3156. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3157. This claim is brought on behalf of the New Mexico Subclass.


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        3158. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3159. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3160. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        3161. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3162. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3163. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing



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  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 268

                          FRAUDULENT CONCEALMENT
                          (BASED ON NEW MEXICO LAW)

        3164. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3165. This claim is brought on behalf of the New Mexico Subclass.

        3166. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3167. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the


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  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

           3168. FCA knew these representations were false when made.

           3169. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           3170. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           3171. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3172. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.




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         3173. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         3174. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         3175. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide



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  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3176. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3177. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3178. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of



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  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        3179. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        3180. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

        3181. FCA’s     acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient



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  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                       COUNT 269

                        NEGLIGENT MISREPRESENTATION
                         (BASED ON NEW MEXICO LAW)

           3182. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           3183. This claim is brought on behalf of the New Mexico Subclass.

           3184. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           3185. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

           3186. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                       COUNT 270

                              UNJUST ENRICHMENT
                          (BASED ON NEW MEXICO LAW)

           3187. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.



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        3188. This claim is brought on behalf of the New Mexico Subclass.

        3189. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3190. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3191. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims brought on behalf of the North Dakota Subclass

                                      COUNT 271

       VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                     (N.D. CENT. CODE § 51-15-02)

        3192. North Dakota Plaintiffs (“Plaintiffs” for purposes of all North Dakota

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        3193. This claim is brought on behalf of the North Dakota Subclass.

        3194. FCA, North Dakota Plaintiffs, and North Dakota Subclass members are

  “persons” within the meaning of N.D. CENT. CODE § 51-15-02(4).




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        3195. FCA engaged in the “sale” of “merchandise” within the meaning of

  N.D. CENT. CODE § 51-15-02(3), (5).

        3196. The North Dakota Consumer Fraud Act (North Dakota CFA) makes

  unlawful “[t]he act, use, or employment by any person of any deceptive act or

  practice, fraud, false pretense, false promise, or misrepresentation, with the intent

  that others rely thereon in connection with the sale or advertisement of any

  merchandise.” N.D. CENT. CODE § 51-15-02.

        3197. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive



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  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3198. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3199. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s



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  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3200. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3201. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3202. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3203. FCA knew or should have known that its conduct violated this statute.

        3204. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


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        3205. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3206. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3207. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.




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        3208. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3209. Plaintiffs seek monetary relief against FCA in an amount to be

  determined at trial.

        3210. FCA knowingly committed the conduct described above and therefore,

  under N.D. CENT. CODE § 51-15-09, FCA is liable to Plaintiffs and the Class for

  treble damages in amounts to be proven at trial, as well as attorneys’ fees, costs, and

  disbursements. Plaintiffs and the Class further seek an order enjoining FCA’s unfair

  and/or deceptive acts or practices, and other just and proper available relief under

  the North Dakota CFA.

        3211. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.

                                      COUNT 272

                             BREACH OF CONTRACT
                         (BASED ON NORTH DAKOTA LAW)

        3212. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3213. This claim is brought on behalf of the North Dakota Subclass.

        3214. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil


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  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3215. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3216. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 273

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                (BASED ON NORTH DAKOTA LAW)


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        3217. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3218. This claim is brought on behalf of the North Dakota Subclass.

        3219. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3220. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3221. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        3222. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3223. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and




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  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3224. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 274

                          FRAUDULENT CONCEALMENT
                        (BASED ON NORTH DAKOTA LAW)

        3225. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3226. This claim is brought on behalf of the North Dakota Subclass.

        3227. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied




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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3228. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3229. FCA knew these representations were false when made.

        3230. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        3231. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        3232. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           3233. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3234. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           3235. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           3236. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty



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  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3237. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        3238. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3239. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        3240. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        3241. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3242. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 275

                         NEGLIGENT MISREPRESENTATION
                         (BASED ON NORTH DAKOTA LAW)

           3243. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           3244. This claim is brought on behalf of the North Dakota Subclass.

           3245. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           3246. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        3247. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 276

                            UNJUST ENRICHMENT
                       (BASED ON NORTH DAKOTA LAW)

        3248. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

        3249. This claim is brought on behalf of the North Dakota Subclass.

        3250. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3251. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3252. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims brought on behalf of the Rhode Island Subclass

                                      COUNT 277

     VIOLATION OF THE RHODE ISLAND UNFAIR TRADE PRACTICES
                AND CONSUMER PROTECTION ACT
                   (R.I. GEN. LAWS § 6-13.1 et seq.)

        3253. Rhode Island Plaintiffs (“Plaintiffs” for purposes of all Rhode Island

  Subclass claims) hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

        3254. This claim is brought on behalf of the Rhode Island Subclass.

        3255. FCA, Plaintiffs, and Class members are “persons” within the meaning

  of R.I. GEN. LAWS § 6-13.1-1(3).

        3256. FCA was engaged in “trade” and “commerce” within the meaning of

  R.I. GEN. LAWS § 6-13.1-1(5).

        3257. Plaintiffs purchased or leased Defective Vehicles primarily for

  personal, family, or household purposes within the meaning of R.I. GEN. LAWS § 6-

  13.1-5.2(a).

        3258. Rhode Island’s Unfair Trade Practices and Consumer Protection Act

  (Rhode Island CPA) prohibits “unfair or deceptive acts or practices in the conduct

  of any trade or commerce,” including “[e]ngaging in any act or practice that is unfair

  or deceptive to the consumer” and “[u]sing any other methods, acts or practices




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  which mislead or deceive members of the public in a material respect.” R.I. GEN.

  LAWS § 6-13.1-1(6).

        3259. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any



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  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3260. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3261. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.



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        3262. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3263. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3264. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3265. FCA knew or should have known that its conduct violated this statute.

        3266. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        3267. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,



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  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3268. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3269. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        3270. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3271. Plaintiffs and the Class are entitled to recover the greater of actual

  damages or $200 pursuant to R.I. GEN. LAWS § 6-13.1-5.2(a).

        3272. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.



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                                      COUNT 278

                             BREACH OF CONTRACT
                         (BASED ON RHODE ISLAND LAW)

        3273. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3274. This claim is brought on behalf of the Rhode Island Subclass.

        3275. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3276. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects




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  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3277. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                     COUNT 279

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                  (BASED ON RHODE ISLAND LAW)

        3278. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3279. This claim is brought on behalf of the Rhode Island Subclass.

        3280. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3281. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3282. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.


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        3283. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3284. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3285. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.




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                                      COUNT 280

                          FRAUDULENT CONCEALMENT
                         (BASED ON RHODE ISLAND LAW)

        3286. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3287. This claim is brought on behalf of the Rhode Island Subclass.

        3288. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3289. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3290. FCA knew these representations were false when made.

        3291. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           3292. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           3293. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3294. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3295. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           3296. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels



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  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         3297. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA



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  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3298. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3299. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3300. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.




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           3301. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           3302. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3303. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 281

                         NEGLIGENT MISREPRESENTATION
                          (BASED ON RHODE ISLAND LAW)

           3304. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.


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          3305. This claim is brought on behalf of the Rhode Island Subclass.

          3306. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          3307. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          3308. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 282

                             UNJUST ENRICHMENT
                        (BASED ON RHODE ISLAND LAW)

          3309. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

          3310. This claim is brought on behalf of the Rhode Island Subclass.

          3311. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          3312. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.


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        3313. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

        Claims Brought on Behalf of the South Dakota Subclass

                                     COUNT 283

            VIOLATION OF THE SOUTH DAKOTA DECEPTIVE
          TRADE PRACTICES AND CONSUMER PROTECTION LAW
                    (S.D. CODIFIED LAWS § 37-24-6)

        3314. South Dakota Plaintiffs (“Plaintiffs” for purposes of all South Dakota

  Subclass claims) hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

        3315. This claim is brought on behalf of the South Dakota Subclass.

        3316. The South Dakota Deceptive Trade Practices and Consumer Protection

  Law (“South Dakota CPL”) prohibits deceptive acts or practices, which include

  “[k]nowingly act[ing], us[ing], or employ[ing] any deceptive act or practice, fraud,

  false pretense, false promises, or misrepresentation or to conceal, suppress, or omit

  any material fact in connection with the sale or advertisement of any merchandise,

  regardless of whether any person has in fact been misled, deceived, or damaged

  thereby.” S.D. CODIFIED LAWS §§ 37-24-6(1), 37-24-31.

        3317. All of the acts complained of herein were perpetrated by FCA in the

  course of trade or commerce.



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        3318. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.



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        3319. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3320. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3321. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.



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        3322. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3323. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3324. FCA knew or should have known that its conduct violated this statute.

        3325. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        3326. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to



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  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3327. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3328. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        3329. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3330. Under S.D. CODIFIED LAWS § 37-24-31, Plaintiffs and the Class are

  entitled to a recovery of their actual damages suffered as a result of FCA’s acts and

  practices.

        3331. Plaintiffs and the Class also seek punitive damages because FCA

  engaged in aggravated and outrageous conduct.




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                                      COUNT 284

                             BREACH OF CONTRACT
                         (BASED ON SOUTH DAKOTA LAW)

        3332. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        3333. This claim is brought on behalf of South Dakota Subclass.

        3334. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3335. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects




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  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3336. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                     COUNT 285

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                  (BASED ON SOUTH DAKOTA LAW)

        3337. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3338. This claim is brought on behalf of the South Dakota Subclass.

        3339. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3340. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3341. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.


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        3342. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3343. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3344. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.




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                                      COUNT 286

                         FRAUDULENT CONCEALMENT
                       (BASED ON SOUTH DAKOTA LAW)

        3345. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        3346. This claim is brought on behalf of the South Dakota Subclass.

        3347. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3348. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3349. FCA knew these representations were false when made.

        3350. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.




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           3351. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           3352. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3353. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3354. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           3355. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels



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  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         3356. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA



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  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3357. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3358. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3359. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.




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           3360. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           3361. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3362. FCA’s    acts   were   done    wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 287

                         NEGLIGENT MISREPRESENTATION
                         (BASED ON SOUTH DAKOTA LAW)

           3363. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.


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          3364. This claim is brought on behalf of the South Dakota Subclass.

          3365. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          3366. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          3367. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 288

                             UNJUST ENRICHMENT
                        (BASED ON SOUTH DAKOTA LAW)

          3368. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          3369. This claim is brought on behalf of the South Dakota Subclass.

          3370. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

          3371. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.


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         3372. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.

         Claims Brought on Behalf of the Utah Subclass

                                         COUNT 289

        VIOLATION OF THE UTAH CONSUMER SALE PRACTICES ACT
                  (UTAH CODE ANN. § 13-11-1 ET SEQ.)

         3373. Utah Plaintiffs (“Plaintiffs” for purposes of all Utah Subclass claims)

  hereby incorporates by reference the allegations contained in the preceding

  paragraphs of this complaint.

         3374. This claim is brought on behalf of the Utah Subclass.

         3375. The Utah Consumer Sales Practices Act (“Utah CSPA”) makes

  unlawful any “deceptive act or practice by a supplier in connection with a consumer

  transaction,” including but not limited to indicating that the subject of a consumer

  transaction has sponsorship, approval, performance characteristics, accessories,

  uses, or benefits, if it has not; indicating that the subject of a consumer transaction

  is of a particular standard, quality, grade, style, or model, if it is not; and “indicat[ing]

  that a specific price advantage exists, if it does not.” UTAH CODE ANN. § 13-11-4.

         3376. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between


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  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3377. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they



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  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3378. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3379. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3380. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.




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        3381. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3382. FCA knew or should have known that its conduct violated this statute.

        3383. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


        3384. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their




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  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3385. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3386. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        3387. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3388. FCA knew, or had reason to know, that consumers would rely on their

  failure to disclose the defects in its emissions system. FCA therefore engaged in an

  unconscionable act within the meaning of UTAH CODE ANN. § 13-11-5.

        3389. Pursuant to UTAH CODE ANN. § 13-11-4, Plaintiffs and the Class seek

  monetary relief measured as the greater of (a) actual damages in an amount to be

  determined at trial and (b) statutory damages in the amount of $2,000 for each

  Plaintiff; reasonable attorneys’ fees; and any other just and proper relief available



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  under the Utah CSPA. Plaintiffs and the Class also seek an award of punitive

  damages due to FCA’s aggravated and outrageous conduct.

        3390. On May 22, 2020, a copy of the Davis et al. v. FCA US LLC complaint,

  which has since been consolidated with this action, was mailed to the Attorney

  General of the State of Utah in accordance with UTAH CODE ANN. § 13-11-4, et seq.

                                      COUNT 290

                               BREACH OF CONTRACT
                               (BASED ON UTAH LAW)

        3391. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        3392. This claim is brought on behalf of the Utah Subclass.

        3393. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.


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        3394. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3395. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 291

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      (BASED ON UTAH LAW)

        3396. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3397. This claim is brought on behalf of the Utah Subclass.

        3398. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3399. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.




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        3400. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        3401. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3402. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3403. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty



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  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                      COUNT 292

                           FRAUDULENT CONCEALMENT
                              (BASED ON UTAH LAW)

        3404. Plaintiff incorporates by reference all paragraphs as though fully set

  forth herein.

        3405. This claim is brought on behalf of the Utah Subclass.

        3406. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3407. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3408. FCA knew these representations were false when made.




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           3409. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

           3410. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

           3411. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3412. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3413. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception




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  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

         3414. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

         3415. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased



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  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3416. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3417. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3418. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the



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  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

           3419. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

           3420. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3421. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.




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          3422. FCA’s    acts   were   done    wantonly, maliciously,      oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Utah Plaintiff’s and

  the Utah Subclass’s rights and the representations that FCA made to them in order

  to enrich FCA. FCA’s conduct warrants an assessment of punitive damages in an

  amount sufficient to deter such conduct in the future, which amount is to be

  determined according to proof.

                                       COUNT 293

                        NEGLIGENT MISREPRESENTATION
                            (BASED ON UTAH LAW)

          3423. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

          3424. This claim is brought on behalf of the Utah Subclass.

          3425. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

          3426. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

          3427. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.




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                                      COUNT 294

                               UNJUST ENRICHMENT
                              (BASED ON UTAH LAW)

        3428. Plaintiff realleges and incorporates by reference all paragraphs alleged

  herein.

        3429. This claim is brought on behalf of the Utah Subclass.

        3430. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3431. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3432. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims brought on behalf of the Vermont Subclass

                                    COUNT 295

           VIOLATION OF THE VERMONT CONSUMER FRAUD ACT
                  (VT. STAT. ANN. TIT. 9, § 2451 ET SEQ.)

        3433. Vermont Plaintiffs (“Plaintiffs” for purposes of all Vermont Subclass

  claims) hereby incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

        3434. This claim is brought on behalf of the Vermont Subclass.

        3435. FCA was a seller within the meaning of VT. STAT. ANN.           TIT.   9,

  § 2451(a)(c).

        3436. The Vermont Consumer Fraud Act (Vermont CFA) makes unlawful

  “[u]nfair methods of competition in commerce, and unfair or deceptive acts or

  practices in commerce.” VT. STAT. ANN. TIT. 9, § 2453(a).

        3437. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing


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  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive

  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3438. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.




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  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3439. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s

  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3440. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3441. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3442. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3443. FCA knew or should have known that its conduct violated this statute.




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        3444. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.    Possessed superior/exclusive knowledge of the design of the
              Defective Vehicles;
        b.    Made incomplete representations regarding the operation and
              emissions levels, as well as the safety and durability, of the
              Defective Vehicles, while purposefully withholding material
              facts from Plaintiffs and the Class that contradicted these
              representations; and/or
        c.    Intentionally concealed the Oil Consumption, Oil Indicator, and
              the Excess Emissions defects from Plaintiffs and the Class.


        3445. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3446. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of



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  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3447. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.

        3448. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3449. Plaintiffs and the Class are entitled to recover “appropriate equitable

  relief” and “the amount of [their] damages, or the consideration or the value of the

  consideration given by [them], reasonable attorney’s fees, and exemplary damages

  not exceeding three times the value of the consideration given by [them],” pursuant

  to VT. STAT. ANN. TIT. 9, § 2461(b).

        3450. Plaintiffs and the Class seek punitive damages based on the

  outrageousness and recklessness of FCA’s conduct.

                                      COUNT 296

                              BREACH OF CONTRACT
                            (BASED ON VERMONT LAW)

        3451. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.


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        3452. This claim is brought on behalf of the Vermont Subclass.

        3453. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to

  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3454. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3455. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall




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  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 297

        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    (BASED ON VERMONT LAW)

        3456. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3457. This claim is brought on behalf of the Vermont Subclass.

        3458. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3459. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3460. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        3461. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.




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        3462. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and

  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3463. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 298

                          FRAUDULENT CONCEALMENT
                           (BASED ON VERMONT LAW)

        3464. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3465. This claim is brought on behalf of the Vermont Subclass.


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        3466. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied

  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3467. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3468. FCA knew these representations were false when made.

        3469. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        3470. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        3471. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts



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  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.

           3472. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3473. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           3474. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           3475. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true



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  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty

  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3476. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would



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  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.

        3477. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3478. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        3479. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.




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           3480. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,

  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3481. FCA’s    acts   were   done   wantonly, maliciously,       oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 299

                         NEGLIGENT MISREPRESENTATION
                            (BASED ON VERMONT LAW)

           3482. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           3483. This claim is brought on behalf of the Vermont Subclass.

           3484. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.




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        3485. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.

        3486. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 300

                              UNJUST ENRICHMENT
                           (BASED ON VERMONT LAW)

        3487. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

        3488. This claim is brought on behalf of the Vermont Subclass.

        3489. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3490. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3491. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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        Claims brought on behalf of the Wyoming Subclass

                                     COUNT 301

       VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                     (WYO. STAT. § 40-12-105 et seq.)

        3492. Wyoming Plaintiffs (“Plaintiffs” for purposes of all Wyoming Subclass

  claims) hereby reallege incorporate by reference all paragraphs as though fully set

  forth herein.

        3493. This claim is brought on behalf of the Wyoming Subclass.

        3494. In the course of FCA’s business, FCA willfully failed to disclose and

  actively concealed that: (1) the Oil Consumption defect in the Defective Vehicles

  causes them to consume so much oil that the oil level becomes low in between

  recommended oil changes, resulting in the sudden shut off of the Defective Vehicles

  to protect the engine at the expense of vehicle occupant safety; (2) the Defective

  Vehicles fail to warn consumers of the low oil levels and/or pressure—i.e., the Oil

  Indicator defect—such that they have no opportunity to avert sudden shut off; and

  (3) the Oil Consumption defect results in damage to the emissions system causing

  the Defective Vehicles to emit harmful excess emissions. Particularly in light of the

  representations in FCA’s Owner’s Manual, and in its national advertising campaign

  touting the safety and reliability of the Defective Vehicles, a reasonable American

  consumer would expect the Defective Vehicles to operate without known safety

  hazards or excess emissions. Accordingly, FCA engaged in unfair and deceptive


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  trade practices, unfair methods of competition, unconscionable acts or practices, and

  unfair or deceptive acts or practices. FCA’s acts had the capacity, tendency or effect

  of deceiving or misleading consumers; failed to state a material fact that deceives or

  tends to deceive; and constitute deception, fraud, false pretense, false promise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same in connection

  therewith.

        3495. In purchasing or leasing the Defective Vehicles, Plaintiffs and the other

  Class members were deceived by FCA’s failure to disclose that the Oil Consumption

  defect in the Defective Vehicles causes them to consume so much oil that they

  become low in between recommended oil changes resulting in the sudden shut off

  of the Defective Vehicles. FCA also willfully failed to disclose and actively

  concealed that the Defective Vehicles fail to warn consumers of the low oil levels

  and/or pressure, such that consumers have no opportunity to avert sudden shut off.

  Moreover, FCA willfully failed to disclose and actively concealed that the Defective

  Vehicles release harmful excess emissions.

        3496. Plaintiffs and Class members reasonably relied upon FCA’s

  misrepresentations and had no way of knowing that said representations were false

  and gravely misleading. As alleged herein, FCA engaged in sophisticated methods

  of deception. Plaintiffs and class members did not, and could not, unravel FCA’s



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  deception on their own, as FCA engaged in a deliberately misleading campaign to

  describe in its TSB and otherwise that the excessive oil consumption was “normal”

  even though it caused Defective Vehicles to run low on oil in between recommended

  oil changes. Plaintiffs and other class members were not aware of this defect prior

  to purchase or lease.

        3497. FCA’s actions as set forth above occurred in the conduct of trade or

  commerce.

        3498. FCA’s methods of competition and unfair, deceptive acts were likely to

  and did in fact deceive reasonable consumers.

        3499. FCA intentionally and knowingly misrepresented material facts

  regarding the Defective Vehicles with intent to mislead Plaintiffs and the Class.

        3500. FCA knew or should have known that its conduct violated this statute.

        3501. FCA owed Plaintiffs and the Class a duty to disclose the truth regarding

  the Oil Consumption and Oil Indicator defects because the defects affect the safety

  of the vehicles and/or because FCA:

        a.     Possessed superior/exclusive knowledge of the design of the
               Defective Vehicles;
        b.     Made incomplete representations regarding the operation and
               emissions levels, as well as the safety and durability, of the
               Defective Vehicles, while purposefully withholding material
               facts from Plaintiffs and the Class that contradicted these
               representations; and/or
        c.     Intentionally concealed the Oil Consumption, Oil Indicator, and
               the Excess Emissions defects from Plaintiffs and the Class.


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        3502. FCA’s conduct proximately caused injuries to Plaintiffs and the other

  Class members. Plaintiffs and class members are reasonable consumers who do not

  expect the engines installed in their vehicles to exhibit problems such as excessive

  oil consumption causing sudden shut off, as well as premature engine wear, damage,

  and failure. This is a reasonable and objective consumer expectation relating to

  vehicle engines. Nor do reasonable consumers expect that their vehicles will fail to

  warn them in time to avoid dangerously low oil and sudden shut off or that their

  vehicles would release excess harmful emissions. This is a reasonable and objective

  consumer expectation relating to the Defective Vehicles.

        3503. Plaintiffs and the other class members were injured and suffered

  ascertainable loss, injury in fact, and/or actual damage as a proximate result of

  FCA’s conduct in that Plaintiffs and the other Class members overpaid for their

  Defective Vehicles and did not receive the benefit of their bargain. These injuries

  are the direct and natural consequence of FCA’s misrepresentations and omissions.

        3504. FCA’s violations present a continuing risk to Plaintiffs as well as to the

  general public. FCA’s unlawful acts and practices complained of herein affect the

  public interest.




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        3505. Because FCA fraudulently concealed the defects and the true level of

  emissions of the Defective Vehicles, a raft of negative publicity resulted once the

  defects finally began to be disclosed.

        3506. Pursuant to WYO. STAT. § 40-12-108(a), Plaintiffs and the Class seek

  monetary relief against FCA measured as actual damages in an amount to be

  determined at trial, in addition to any other just and proper relief available under the

  Wyoming CPA. Plaintiffs and the Class also seek an award of punitive damages due

  to FCA’s aggravated and outrageous conduct.

        3507. On April 29, 2020 and October 14, 2020, Plaintiffs sent letters

  complying with WYO. STAT. § 40-12-109 to FCA. Because FCA failed to remedy its

  unlawful conduct within the requisite time period, Plaintiffs and the Class seek all

  damages and relief to which they are entitled.

                                      COUNT 302

                               BREACH OF CONTRACT
                             (BASED ON WYOMING LAW)

        3508. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3509. This claim is brought on behalf of the Wyoming Subclass.

        3510. FCA’s misrepresentations and omissions alleged herein, including

  FCA’s failure to disclose the Defective Vehicles’ Oil Consumption defect, Oil

  Indicator defect, and Excess Emissions defect, caused Plaintiffs and the Class to


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  make their purchases or leases of the Defective Vehicles. Absent those

  misrepresentations and omissions, Plaintiffs and the Class would not have purchased

  or leased the Defective Vehicles, would not have purchased or leased the Defective

  Vehicles at the prices they paid, and/or would have purchased or leased less

  expensive alternative vehicles that did not contain these defects or release excess

  harmful emissions. Accordingly, Plaintiffs and the Class overpaid for the Defective

  Vehicles and did not receive the benefit of their bargain.

        3511. Each and every sale or lease of a Defective Vehicle constitutes a

  contract between FCA and the purchaser or lessee. FCA breached these contracts by

  selling or leasing to Plaintiffs and the Class the Defective Vehicles and by

  misrepresenting or failing to disclose that the Defective Vehicles contain the defects

  described above and release excess emissions, especially given the premium paid

  for these vehicles and the representations made by FCA.

        3512. As a direct and proximate result of FCA’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

                                      COUNT 303

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (BASED ON WYOMING LAW)




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        3513. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3514. This claim is brought on behalf of the Wyoming Subclass.

        3515. FCA manufactured and distributed Defective Vehicles throughout the

  United States for sale to Plaintiffs and Class members.

        3516. FCA impliedly warranted to Plaintiffs and the Class that their vehicles

  were free of defects and were merchantable and fit for their ordinary purpose.

        3517. As alleged herein, FCA breached the implied warranty of

  merchantability because the Defective Vehicles suffer from the Oil Consumption

  defect, Oil Indicator defect, and the Excess Emissions defect. The Defective

  Vehicles are therefore defective, unmerchantable, and unfit for their ordinary,

  intended purpose.

        3518. Plaintiffs and Class members have experienced the defects and have

  given notice to FCA that the Defective Vehicles were defective, unmerchantable,

  and unfit for their intended use or purpose.

        3519. Due to the Oil Consumption defect, Oil Indicator defect, and Excess

  Emissions defect, Plaintiffs and Class members are unable to operate their vehicles

  as intended in a safe condition, legally, and substantially free from defects. The

  Defective Vehicles do not provide safe and reliable transportation to Plaintiffs and




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  Class members. As a result, Plaintiffs and Class members are unable to safely drive

  their Defective Vehicles.

        3520. Plaintiffs and Class members did not receive or otherwise have the

  opportunity to review, at or before the time of sale, the written warranty containing

  the purported exclusions and limitations of remedies. Accordingly, any such

  exclusions and limitations of remedies are unconscionable and unenforceable, and

  Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

  Commercial Code and other state laws of each Subclass. Any purported warranty

  disclaimers, exclusions, and limitations were unconscionable and unenforceable. As

  a direct and proximate result of the breach of implied warranty of merchantability,

  Plaintiffs and Class members have been injured in an amount to be proven at trial.

                                     COUNT 304

                          FRAUDULENT CONCEALMENT
                           (BASED ON WYOMING LAW)

        3521. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

        3522. This claim is brought on behalf of the Wyoming Subclass.

        3523. FCA intentionally misrepresented and concealed the Oil Consumption

  defect, Oil Indicator defect, and Excess Emissions defect, and the other above-

  described safety hazards or acted with reckless disregard for the truth, and denied




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  Plaintiffs and Class members information that is highly relevant to their purchasing

  decision.

        3524. The vehicles Plaintiffs and Class members purchased or leased were, in

  fact, defective, unsafe, unreliable, and would fail to operate properly when driven in

  normal usage because they were subject to stalling or shutting down even while the

  vehicle was in operation, at normal driving speeds. Further, the Defective Vehicles

  release harmful excess emissions.

        3525. FCA knew these representations were false when made.

        3526. FCA had a duty to disclose this material safety information to Plaintiffs

  and Class members because of the safety hazards posed by the alleged defects and

  based on its representations to the contrary.

        3527. FCA’s concealment was material because if it had been disclosed,

  Plaintiffs and Class members would not have bought or leased the Defective

  Vehicles or paid as much for them.

        3528. As alleged in this complaint, at all relevant times, FCA has held out that

  the Defective Vehicles were EPA-compliant and produced an expected amount of

  emissions. But, nonetheless, FCA intentionally failed to disclose the important facts

  that the Defective Vehicles have defective emission controls, release a higher level

  of harmful emissions than expected by a reasonable consumer and state and federal

  law allows.



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           3529. The truth about the safety hazards, excess harmful emissions, and the

  defects described herein was known only to FCA; Plaintiffs and the Class did not

  know of these facts and FCA actively concealed these facts from Plaintiffs and the

  Class.

           3530. Plaintiffs and the Class reasonably relied upon FCA’s deception. They

  had no way of knowing that FCA’s representations were false and/or misleading. As

  consumers, Plaintiffs and the Class did not, and could not, unravel FCA’s deception

  on their own. Rather, FCA intended to deceive Plaintiffs and the Class by concealing

  the true facts about the Defective Vehicles’ defects and excess harmful emissions.

           3531. FCA’s false representations and omissions were material to consumers

  because they concerned the safety of the Defective Vehicles, release excessive levels

  of harmful emissions, and also because the representations played a significant role

  in the value of the vehicles. As FCA well knew, its customers, including Plaintiffs

  and the Class members, highly valued that the Defective Vehicles’ safety and

  reliability.

           3532. FCA had a duty to disclose that the Defective Vehicles are unsafe,

  contain defects and release excessive harmful emissions, because details of the true

  facts were known and/or accessible only to FCA, because FCA had exclusive

  knowledge as to such facts, and because FCA knew these facts were not known to

  or reasonably discoverable by Plaintiffs and the Class members. FCA also had a duty



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  to disclose because it made general affirmative representations about the qualities of

  its vehicles with respect to safety, which were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the actual oil

  consumption or emission levels of the vehicles. Having volunteered to provide

  information to Plaintiffs and the Class members, FCA had the duty to disclose not

  just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Defective Vehicles purchased

  or leased by Plaintiffs and the Class members. Whether an automobile is safe and

  reliable and contains defects are material concerns to a consumer. Also, whether a

  manufacturer’s products pollute, release excessive levels of harmful emissions, and

  whether the manufacturer tells the truth, are material concerns to a consumer. FCA

  represented to Plaintiffs and Class members that they were purchasing or leasing

  safe and reliable vehicles, when in fact the Defective Vehicles pose safety hazards

  and contain defects.

        3533. FCA actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were unsafe or unreliable or not clean vehicles, which perception would

  hurt the brand’s image and cost FCA money, and it did so at the expense of Plaintiffs

  and the Class.




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        3534. FCA has still not made full and adequate disclosures and continues to

  defraud Plaintiffs and the Class by concealing material information regarding the

  safety and emission levels of its Defective Vehicles.

        3535. Plaintiffs and the Class were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of

  the concealed and/or suppressed facts, in that they would not have purchased the

  Defective Vehicles manufactured by FCA, and/or would have taken other

  affirmative steps in light of the information concealed from them. Plaintiffs’ and the

  Class members’ actions were justified. FCA was in exclusive control of the material

  facts, and such facts were not generally known to the public, Plaintiffs, or Class

  members.

        3536. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Class have been injured and sustained damage because they overpaid for

  their vehicles and have suffered and continue to suffer repair/replacement and oil

  change costs over what was represented by FCA. Had they been aware of the true

  facts, Plaintiffs and Class members would not have purchased or leased the

  Defective Vehicles or would have paid less.

        3537. Accordingly, as a direct and proximate result of FCA’s actions, FCA is

  liable to Plaintiffs and the Class for damages in an amount to be proven at trial,




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  which shall include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.

           3538. FCA’s    acts   were   done   wantonly, maliciously,     oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and the

  Class’ rights and the representations that FCA made to them in order to enrich FCA.

  FCA’s conduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount is to be determined according to

  proof.

                                        COUNT 305

                         NEGLIGENT MISREPRESENTATION
                           (BASED ON WYOMING LAW)

           3539. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

           3540. This claim is brought on behalf of the Wyoming Subclass.

           3541. FCA made representations to Plaintiffs and members of the Class

  concerning the safety and emission levels of the Defective Vehicles that were not

  true.

           3542. FCA had no reasonable grounds for believing these representations

  were true when they made them, yet they intended that Plaintiffs and Class members

  rely on these misrepresentations.




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        3543. Plaintiffs reasonably relied on FCA’s representations and as a result

  Plaintiffs and Class members were harmed.

                                      COUNT 306

                              UNJUST ENRICHMENT
                           (BASED ON WYOMING LAW)

        3544. Plaintiffs reallege and incorporate by reference all paragraphs alleged

  herein.

        3545. This claim is brought on behalf of the Wyoming Subclass.

        3546. Because of FCA’s wrongful acts and omissions, FCA charged a higher

  price for the Defective Vehicles than the vehicles’ true value and FCA obtained

  monies which rightfully belong to Plaintiffs and Class members.

        3547. FCA enjoyed the benefit of increased financial gains, to the detriment

  of Plaintiffs and other Class members. It would be inequitable and unjust for FCA

  to retain these wrongfully obtained profits.

        3548. Plaintiffs, therefore, seek any and all available equitable relief,

  including but not limited to disgorgement and/or restitution to them and other

  members of the Class.




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           Claims Brought on Behalf of the Nationwide Class

                                       COUNT 307

           VIOLATION OF THE MAGNUSSON-MOSS WARRANTY ACT
                         (15 U.S.C. §§ 2301 et seq.)

           3549. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           3550. Plaintiffs bring this Count on behalf of themselves and the Nationwide

  Class.

           3551. This Court has jurisdiction to decide claims brought under the

  Magnuson-Moss Warranty Act (for the purpose of this Count, the “Act”) by virtue

  of 28 U.S.C. § 1332(a)-(d).

           3552. Plaintiffs and the other Nationwide Class members are “consumers”

  who purchased “consumer products” for purposes of 15 U.S.C. § 2301(1) and (3)

  because they purchased Defective Vehicles for personal, family, or household

  purposes.

           3553. FCA is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

  § 2301(4) and (5) because the company regularly sells FCA vehicles accompanied

  by written Limited Warranties.

           3554. The Defective Vehicles are “consumer products” within the meaning

  of the Act. 15 U.S.C. § 2301(1).




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        3555. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer

  who is damaged by the failure of a warrantor to comply with a written or implied

  warranty.

        3556. The amount in controversy of the Plaintiffs’ individual claims meets or

  exceeds $25.00 in value. In addition, the amount in controversy meets or exceeds

  $50,000 in value (exclusive of interest and costs) on the basis of all claims to be

  determined in this lawsuit.

        3557. FCA provided Plaintiffs and the members of the Nationwide Class with

  written and implied warranties, which are covered under 15 U.S.C. § 2301(6) and

  (7), respectively.

        3558. FCA breached these written and implied warranties as described in

  detail above. FCA expressly warranted in advertisements and consumer-facing

  communications, including on the window stickers themselves that were affixed to

  the Defective Vehicles, that the Defective Vehicles were safe and reliable. FCA

  impliedly warranted that the Defective Vehicles would conform to the descriptions

  promised in FCA’s advertisements and consumer-facing communications.

        3559. FCA breached these express warranties because the Defective Vehicles

  maintain the Oil Consumption, Oil Indicator, and Excess Emissions defects.

  Moreover, FCA breached these implied warranties because the Defective Vehicles

  did not and do not conform to the descriptions advertised.



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        3560. The terms of the warranties became part of the basis of the bargain

  between FCA and the Plaintiffs and all other Class members when deciding to

  purchase a Defective Vehicle.

        3561. Plaintiffs and each of the other Nationwide Class members have had

  sufficient direct dealings with either FCA or its agents (including FCA dealerships)

  to establish privity of contract between FCA, on the one hand, and Plaintiffs and

  each of the other Nationwide Class members, on the other hand. Moreover, privity

  is not required here because Plaintiffs and each of the other Nationwide Class

  members are intended third-party beneficiaries of contracts between FCA and its

  dealers. The dealers were not intended to be the ultimate consumers of the Defective

  Vehicles and have no rights under warranty agreements provided with the Defective

  Vehicles; the warranty agreements were designed for and intended to benefit the

  consumers only.

        3562. Because FCA knew of the defect at the time of the sale, it has waived

  any opportunity to cure.

        3563. As a direct and proximate result of FCA’s breach of written warranties

  and implied warranties of merchantability, Plaintiffs and Nationwide Class members

  have suffered damages in an amount to be determined at trial.

        3564. Plaintiffs, individually and on behalf of the Nationwide Class, seek all

  damages permitted by law, including without limitation compensation for the



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  additional oil changes required to drive the Defective Vehicles, compensation for

  the inconvenience associated with the additional oil changes, and the monetary

  difference between the Defective Vehicles as warranted and as sold, along with all

  other incidental and consequential damages, statutory attorney fees, and all other

  relief allowed by law.

        3565. Plaintiffs have provided FCA with an opportunity to cure and provided

  multiple forms of written notice that they will be initiating suit.

                               REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

  situated, respectfully request that the Court enter judgment in their favor and against

  Defendant, as follows:

        A.     Determining this action may be maintained as a Class action with

  respect to the Class and certify it as such under Rule 23(b)(2) and (b)(3), or

  alternatively certify all issues and claims that are appropriately certified, and

  designate and appoint Plaintiffs as Class Representatives and their counsel as Class

  Counsel;

        B.     Declaring, adjudging, and decreeing the conduct of the Defendant as

  alleged herein to be unlawful, unfair, and deceptive;




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         C.     Requiring that all Class members be notified about the Oil

  Consumption, Oil Indicator, and Excess Emissions defects, as explained herein, at

  FCA’s expense;

         D.     Awarding Plaintiffs and Class members restitution of all monies paid

  to Defendant as a result of unlawful, deceptive, and unfair business practices;

         E.     Awarding Plaintiffs and Class members actual, compensatory damages

  as proven at trial;

         F.     Ordering disgorgement of all profits wrongfully received by FCA for

  the Defective Vehicles.

         G.     Awarding Plaintiffs and Class members all statutory penalties and

  exemplary damages, as allowed by law;

         H.     Awarding Plaintiffs and Class members any and all equitable relief;

         I.     Awarding Plaintiffs and Class members reasonable attorneys’ fees,

  costs, and pre- and post-judgment interest;

         J.     Awarding restitution, including at the election of Class members,

  recovery of the purchase price of their Defective Vehicles, or the overpayment or

  diminution in value of their Defective Vehicles; and

         K.     Such other or further relief as may be appropriate.

                            DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a jury trial for all claims so triable.



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  DATED: October 21, 2020            Respectfully Submitted,

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                           CERTIFICATE OF SERVICE

        I hereby certify that, on October 21, 2020 I electronically filed the foregoing

  with the Clerk of the Court using the ECF system which will notify all counsel of

  record authorized to receive such filings.

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